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                                            No. 25-1282


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                        AMERICAN FEDERATION OF TEACHERS, et al.,

                                                        Plaintiffs-Appellees,

                                                  v.

         SCOTT BESSENT, IN HIS OFFICIAL CAPACITY AS SECRETARY OF THE TREASURY,
                                         et al.,

                                                        Defendants-Appellants.


                        On Appeal from the United States District Court
                                for the District of Maryland


                        JOINT APPENDIX – VOLUME II (JA579-JA805)


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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND


        AMERICAN FEDERATION OF
        TEACHERS, et al.,

                              Plaintiffs,
                                                               Case No. 8:25-cv-430-DLB
                        v.

        SCOTT BESSENT, et al.,

                              Defendants.



                                             NOTICE OF FILING

               As Defendants indicated in their opposition to Plaintiffs’ motion for preliminary injunction,

        filed on March 13, 2025, it has come to OPM’s attention that additional employees who would

        likely be considered “DOGE affiliates,” as defined by the Court, see ECF No. 38 at 5 n.2—beyond

        those identified by anonymized monikers in the administrative record filed on March 7, 2025—

        were granted access to relevant OPM data systems. Of those additional employees, only three

        people (OPM Chief of Staff Amanda Scales, and two employees OPM identifies as OPM-7 and

        OPM-8) ever logged into any of these OPM systems.               Defendants now supplement the

        administrative record with a revised version of the “Account Audit Creation” spreadsheet

        previously submitted as OPM-000076-88, additional system access and login information for all

        individuals that may be considered “DOGE-affiliates,” and additional materials regarding the

        access decisions. OPM also provides redacted employment documentation for the employees

        OPM identifies as OPM-7 and OPM-8. OPM’s supplement to its administrative record is attached

        as Exhibit A.




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               In addition, Defendants write to notify the Court of additional documents that the

        Department of the Treasury produced yesterday to the Court in Alliance for Retired Americans v.

        Bessent, No. 1:25-cv-00313-CKK (D.D.C.). Although Treasury maintains that the administrative

        record produced in this case on March 7, 2025 is complete, Treasury agreed in Alliance for Retired

        Americans to provide additional materials and a supplemental declaration in response to the

        plaintiffs’ objections to Treasury’s administrative record, in order to conserve the parties’

        resources and limit issues in dispute. Treasury also provided the court in that case with additional

        information regarding the Bureau of the Fiscal Service’s forensic analysis of the activities of

        former Treasury employee Marko Elez. The materials Treasury filed yesterday in Alliance for

        Retired Americans are attached as Exhibit B.

        Dated: March 15, 2025                          Respectfully submitted,

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                                                       Acting Assistant Attorney General
                                                       Civil Division

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                                                       Civil Division, Federal Programs Branch

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                                                       Civil Division

                                                        /s/ Bradley P. Humphreys
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                                                          2

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                                           Attorneys for Defendants




                                             3

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                                       CERTIFICATE OF SERVICE

                I certify that on March 15, 2025, I electronically filed the foregoing and the accompanying

         attachments, and thereby caused a copy to be served on counsel of record.


                                                               /s/ Bradley P. Humphreys
                                                               BRADLEY P. HUMPHREYS




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                                     Exhibit A




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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND



        AMERICAN FEDERATION OF
        TEACHERS, et al.,

                              Plaintiffs,
                                                               Case No. 8:25-cv-430-DLB
                       v.

        SCOTT BESSENT, et al.,

                              Defendants.



                            CERTIFICATION OF ADMINISTRATIVE RECORD

               I, Gregory J. Hogan, am currently employed as the Chief Information Officer for the Office

        of Personnel Management. I am familiar with the claims asserted against OPM in the above-

        captioned action regarding the granting of access to data systems to employees implementing

        Executive Order 14,158.

               I hereby certify, to the best of my knowledge, that the accompanying documents being

        added to the administrative record include personnel records of additional DOGE affiliated OPM

        employees covered by this matter, as well as an updated systems access spreadsheet that reflects

        administrative access of certain databases at issue as well as whether the individuals actually

        logged onto each system that is accurate as of the date it was created- March 13, 2025. The records

        contain all non-deliberative documents and materials directly or indirectly considered regarding

        the OPM actions challenged in this case.1 Among these documents and materials, OPM has duly

        evaluated all predecisional documents before excluding them from the record.


               1 Notwithstanding the Court’s order to file an administrative record in this case, Defendants

        maintain that the Amended Complaint does not challenge any final agency action and reserve their



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               In accordance with 28 U.S.C. § 1746, I hereby certify and declare under penalty of perjury

        that the foregoing is true and correct to the best of my knowledge, information, and belief.




                                                     Gregory J. Hogan




        right to argue in further proceedings in this case, including in any subsequent appeal, that the
        Administrative Procedure Act does not provide for review.
                                                         2

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    Account Creation Audit Between 1/20/25 - 2/12/2025

    Employee Name              Account Username                   System Name                                                          Date Created               Date Removed Admin Access    Login Yes/No
    [OPM-3]                    \mcn\app\MGA\Users\[OPM-3]         APP.mcn Domain                                                       1/20/20253:46:12 PM
    [OPM-3]                    [OPM-3]@opm.gov                    Azure DevOps                                                                          1/21/2025
    [OPM-3]                    \mcn\cld\MGA\Users\[OPM-3]         CLD.mcn Domain                                                       1/20/20253:38:26 PM
                                                                  OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    [OPM-3]                    [OPM-3]@opm.gov                    Az.cio.entraID.PowerBIAdmin)                                                         1/20/2025
    [OPM-3]                    [OPM-3]@opm.gov                    USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                               1/20/2025
    [OPM-3]                    [OPM-3]@opm.gov                    Web Admin                                                                            1/20/2025
    [OPM-16]                   [OPM-16]@opm.gov                   USA Performance - Office of the Director                                             1/31/2025
    Amanda Scale               \mcn\cld\MGA\Users\Amanda Scale    CLD.mcn Domain                                                       1/20/20253:30:19 PM
    Amanda Scales              amanda.scales@opm.gov              Agency Talent Portal                                                                 1/21/2025
    Amanda Scales              \mcn\app\MGA\Users\Amanda Scales   APP.mcn Domain                                                       1/20/20253:43:44 PM
    Amanda Scales              \mcn\cld\MGA\Users\Amanda Scales   CLD.mcn Domain                                                       1/20/20254:30:19 PM
    Amanda Scales              adscales@opm.gov                   OD Reports : New Hire Daily Tracker Power BI - USADATA                               1/31/2025
                                                                  OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions
    Amanda Scales              adscales@opm.gov                   [OPMData / USADATA]                                                                    2/3/2025
    Amanda Scales              amanda.scales@opm.gov              USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                               1/20/2025
    Amanda Scales              Amanda.Scales@opm.gov              Web Admin                                                                            1/20/2025
    [PII]                      [PII]                              ESCS                                                                                 2/11/2025
    [OPM-9]                    [OPM-9]@opm.gov                    OD Reports : New Hire Daily Tracker Power BI - USADATA                                 2/4/2025
                                                                  OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions
    [OPM-9]                    [OPM-9]@opm.gov                    [OPMData / USADATA]                                                                    2/4/2025
    [OPM-9]                    [OPM-9]@opm.gov                    USA Performance - Office of the Director                                             1/31/2025
    [OPM-2]                    [OPM-2]_opmgov                     GitHub Enterprise                                                                     1/28/2025
    [OPM-7]                    [OPM-7]_opmgov                     GitHub Enterprise                                                                     1/20/2025
    [OPM-7]                    [OPM-7]@opm.gov                    USA Performance - U.S. Office of Personnel Management                                1/20/2025
    [OPM-3]                    [OPM-3]_opmgov                     GitHub Enterprise                                                                     1/20/2025
    [OPM-3]                    [OPM-3]@opm.gov                    USA Performance - U.S. Office of Personnel Management                                1/20/2025
    [PII]                      [PII]                              USA Performance - Office of the Director                                             1/31/2025
    [PII]                      [PII]                              STAMP                                                                                1/27/2025
    [OPM-7]                    \mcn\app\MGA\Users\[OPM-7]         APP.mcn Domain                                                       1/20/20253:45:37 PM
    [OPM-7]                    \mcn\cld\MGA\Users\[OPM-7]         CLD.mcn Domain                                                       1/20/20253:37:48 PM
    [OPM-7]                    [OPM-7]@opm.gov                    USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                               1/20/2025
    [OPM-7]                    [OPM-7]@opm.gov                    Web Admin                                                                            1/20/2025
    Charles Ezell              \mcn\app\MGA\Users\Charles Ezell   APP.mcn Domain                                                       1/20/20253:46:34 PM
    Charles Ezell              \mcn\cld\MGA\Users\Charles Ezell   CLD.mcn Domain                                                       1/20/20253:41:54 PM
                                                                  OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    Charles Ezell              charles.ezell@opm.gov              Az.cio.entraID.PowerBIAdmin)                                                         1/20/2025
    Charles Ezell              charles.ezell@opm.gov              USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                               1/20/2025
    Charles Ezell              Charles.Ezell@opm.gov              Web Admin                                                                            1/20/2025
    [PII]                      [PII]                              Postal Reform                                                                        1/27/2025
    [PII]                      [PII]                              DFS                                                                                  1/22/2025
    [PII]                      [PII]                              ARS (DCCS)                                                                             2/5/2025
    [PII]                      [PII]                              ARS (DCCS)                                                                             2/6/2025
    [PII]                      [PII]                              ARS (AVAS)                                                                           1/21/2025
    [PII]                      [PII]                              ARS (AVAS)                                                                           1/21/2025
    [PII]                      [PII]                              ARS (AVAS)                                                                           1/21/2025
    [PII]                      [PII]                              ARS (AVAS)                                                                           1/22/2025
    [PII]                      [PII]                              ARS (AVAS)                                                                           1/23/2025
    [PII]                      [PII]                              BFMS (FMCD 2812)                                                                     1/22/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/22/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/22/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/22/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/23/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/23/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/23/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/23/2025
    [PII]                      [PII]                              BFMS (FMCD 2812)                                                                     1/23/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/23/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/23/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/24/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/28/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/28/2025
    [PII]                      (HB Carrier - RACF IDs)            BFMS (FMCD 2812)                                                                     1/28/2025
    [PII]                      [PII]                              ARS (DCCS)                                                                           1/31/2025
    [PII]                      [PII]                              ARS (AVAS)                                                                             2/6/2025
    [PII]                      [PII]                              ARS (DCCS)                                                                           2/10/2025
    [PII]                      [PII]                              ARS (DCCS)                                                                           2/10/2025
    [PII]                      [PII]                              ARS (DCCS)                                                                           2/10/2025
    [PII]                      [PII]                              ARS (DCCS)                                                                           2/10/2025
    [PII]                      [PII]                              CIITAR                                                                               1/21/2025
    [PII]                      [PII]                              CIITAR                                                                               1/21/2025
    [PII]                      [PII]                              CIITAR                                                                               1/30/2025
    [PII]                      [PII]                              CIITAR                                                                               2/12/2025
    [PII]                      [PII]                              USA Performance - CFO - Budget                                                       1/24/2025
    [PII]                      [PII]                              USA Performance - CFO - Budget                                                       1/24/2025
    [PII]                      [PII]                              USA Performance - CFO - Budget                                                       1/24/2025
    [PII]                      [PII]                              USA Performance - CFO - Budget                                                       1/24/2025
    [PII]                      [PII]                              USA Performance - CFO - Chief Financial Officer                                      1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - Chief Technology Officer                                     1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - Chief Technology Officer                                     1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - FITBS - Hiring Systems                                       1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - FITBS - HR Solutions IT PMO                                  1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - FITBS - Recruitment Systems                                  1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - FITBS - Recruitment Systems                                  1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - FITBS - Recruitment Systems                                  1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - FITBS - Systems Capacity                                     1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - FITBS - Systems Capacity                                     1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - FITBS - Systems Capacity                                     1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - ITS - IT Security Management                                 1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - ITS - Security Operations Center                             1/24/2025
    [PII]                      [PII]                              USA Performance - CIO - RM - Resource Management                                     1/24/2025
                                                                  USA Performance - FSEM - Facilities, Security & Emergency Mgmt -
    [PII]                      [PII]                              Emergency Management                                                                 1/24/2025
                                                                  USA Performance - HCDMM - Human Capital Data Management & Moderniz -
    [PII]                      [PII]                              Data Support and Analysis                                                            1/24/2025
    [PII]                      [PII]                              USA Performance - HI - Healthcare & Insurance - Actuaries                            1/24/2025
    [PII]                      [PII]                              USA Performance - HI - Healthcare & Insurance - Actuaries                            1/24/2025
                                                                  USA Performance - HI - Healthcare & Insurance - Audit Resolution &
    [PII]                      [PII]                              Compliance                                                                           1/24/2025
    [PII]                      [PII]                              USA Performance - HI - Healthcare & Insurance - Disputed Claims                      1/24/2025
    [PII]                      [PII]                              USA Performance - HI - Healthcare & Insurance - Disputed Claims                      1/24/2025
    [PII]                      [PII]                              USA Performance - HI - Healthcare & Insurance - Disputed Claims                      1/24/2025
    [PII]                      [PII]                              USA Performance - HI - Healthcare & Insurance - FEHB 3                               1/24/2025

    [PII]                      [PII]                              USA Performance - HI - Healthcare & Insurance - Life and Ancillary Benefits        1/24/2025
                                                                  USA Performance - HI - Healthcare & Insurance - Operations and Resource
    [PII]                      [PII]                              Management                                                                          2/7/2025
                                                                  USA Performance - HI - Healthcare & Insurance - Program Analysis &
    [PII]                      [PII]                              Development                                                                        1/24/2025
    [PII]                      [PII]                              USA Performance - HI - Healthcare and Insurance                                    1/24/2025
    [PII]                      [PII]                              USA Performance - HI - PSIO 1                                                      1/24/2025
    [PII]                      [PII]                              USA Performance - HRS - Applied Analytics Branch                                   1/24/2025
    [PII]                      [PII]                              USA Performance - HRS - Enterprise Leadership Solutions                            1/24/2025




                                                                                                 JA586                                                                                        OPM-00089
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            Case 8:25-cv-00430-DLB                                        Document 64-1 Filed 03/15/25 Page 5 of 44

    Employee Name       Account Username                    System Name                                                           Date Created                 Date Removed Admin Access    Login Yes/No
    [PII]               [PII]                               USA Performance - HRS - Federal Classification Center                                 1/31/2025
    [PII]               [PII]                               USA Performance - MSAC - ACE Western                                                  1/24/2025

    [PII]               [PII]                               USA Performance - MSAC - Merit System Accountability and Compliance                   1/24/2025
    [PII]               [PII]                               USA Performance - OCHCO - Executive Resources                                         1/24/2025
    [PII]               [PII]                               USA Performance - OCHCO - Talent Acquisition A                                        1/24/2025
    [PII]               [PII]                               USA Performance - OCR - Office of Civil Rights                                        1/24/2025
    [OPM-4]             [OPM-4]@opm.gov                     USA Performance - U.S. Office of Personnel Management                                 1/28/2025
    [PII]               [PII]                               USA Performance - Office of Communications                                            1/24/2025
    [PII]               [PII]                               USA Performance - Office of Exec Sec & Privacy & Info Management                      1/31/2025
    [PII]               [PII]                               USA Performance - Office of Exec Sec & Privacy & Info Management                       2/7/2025
    [PII]               [PII]                               USA Performance - Office of Exec Sec & Privacy & Info Management                      1/24/2025
    [PII]               [PII]                               STAMP                                                                                 1/31/2025
    [PII]               [PII]                               USA Performance - OGC - General Counsel                                               1/31/2025
    [OPM-15]            [OPM-15]@opm.gov                    USA Performance - Office of the Director                                               2/7/2025
    [OPM-4]             \mcn\cld\MGA\Users\[OPM-4]          CLD.mcn Domain                                                        1/28/202511:39:49 AM
    [OPM-12]            [OPM-12]@opm.gov                    USA Performance - Office of the Director                                               2/7/2025
    [OPM-11]            [OPM-11]@opm.gov                    USA Performance - Office of the Director                                               2/7/2025
                                                            OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions
    [OPM-4]             [OPM-6]@opm.gov                     [OPMData / USADATA]                                                                   1/28/2025
                                                            OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    [OPM-4]             [OPM-6]@opm.gov                     Az.cio.entraID.PowerBIAdmin)                                                          1/28/2025
                                                            OPM Data : Electronic Official Personnel Folder (eOPF) -
    [OPM-4]             [OPM-6]@opm.gov                     DEV/TST/QA/TRN/PRD                                                                    1/28/2025      2/6/2025
                                                            OPM Data : Enterprise Human Resources Integration (EHRI) -
    [OPM-4]             [OPM-6]@opm.gov                     Dev/TST/QA/PRD                                                                        1/28/2025      2/6/2025
    [OPM-4]             [OPM-6]@opm.gov                     USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                1/28/2025
    [OPM-4]             [OPM-6]@opm.gov                     Web Admin                                                                             1/28/2025
    [OPM-14]            [OPM-14]@opm.gov                    USA Performance - Office of the Director                                                2/7/2025
    [PII]               [PII]                               USA Performance - OGC - Comp, Ben, Prod & Svcs                                        1/24/2025
    Ezell, Charles E.   Charles.Ezell@opm.gov               STAMP                                                                                 1/23/2025
    [PII]               [PII]                               USA Performance - OGC - Merit Sys & Accountability                                    1/24/2025
    [PII]               [PII]                               USA Performance - OIG - Information Sys Audits Grp                                    1/24/2025
    [PII]               [PII]                               USA Performance - OSI - Office of Strategy and Innovation (OSI)                       1/24/2025
    [PII]               [PII]                               USA Performance - RS - Branch 1                                                       1/24/2025
    [PII]               [PII]                               USA Performance - RS - Branch 1                                                       1/24/2025
    [PII]               [PII]                               USA Performance - RS - Branch 1                                                       1/24/2025
    [PII]               [PII]                               USA Performance - RS - Branch 2                                                       1/24/2025
    [PII]               [PII]                               USA Performance - RS - Branch 3                                                       1/24/2025
    [PII]               [PII]                               USA Performance - RS - Branch 3                                                       1/24/2025
    [PII]               [PII]                               USA Performance - RS - Branch 3                                                       1/24/2025
    [PII]               [PII]                               USA Performance - RS - Imaging/Central                                                1/24/2025
    [PII]               [PII]                               USA Performance - RS - Retirement Benefits                                            1/24/2025
    [PII]               [PII]                               USA Performance - RS - Retirement Claims 6                                            1/24/2025
    [PII]               [PII]                               USA Performance - RS - Retirement Services System Support                             1/24/2025
    [PII]               [PII]                               USA Performance - RS - RIO 10                                                         1/24/2025
    [PII]               [PII]                               USA Performance - RS - RIO 6                                                          1/24/2025
    [PII]               [PII]                               USA Performance - RS - RIO 7                                                          1/24/2025
    [PII]               [PII]                               USA Performance - SuitEA - Policy & Strategy                                          1/24/2025
    [PII]               [PII]                               USA Performance - SuitEA - Policy & Strategy                                          1/24/2025
    [OPM-5]             \mcn\app\MGA\Users\[OPM-5]          APP.mcn Domain                                                        1/20/20253:44:47 PM
    [OPM-5]             \mcn\cld\MGA\Users\[OPM-5]          CLD.mcn Domain                                                        1/20/20253:35:33 PM
                                                            OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions
    [OPM-5]             [OPM-5]@opm.gov                     [OPMData / USADATA]                                                                   1/28/2025
                                                            OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    [OPM-5]             [OPM-5]@opm.gov                     Az.cio.entraID.PowerBIAdmin)                                                          1/20/2025
    [OPM-5]             [OPM-5]@opm.gov                     USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                1/20/2025
    [OPM-5]             [OPM-5]@opm.gov                     Web Admin                                                                             1/20/2025
    Greg Hogan          \mcn\app\MGA\Users\Greg Hogan       APP.mcn Domain                                                        1/20/20253:45:12 PM
    Greg Hogan          Greg.Hogan@opm.gov                  Azure DevOps                                                                           1/27/2025
    [PII]               [PII]                               USA Performance - WPI - Central Region                                                1/24/2025
    [PII]               [PII]                               USA Performance - WPI - Central Region                                                  2/7/2025
    [PII]               [PII]                               USA Performance - WPI - FEB - Field Operations                                        1/24/2025
    [PII]               [PII]                               USA Performance - WPI - Forecasting and Methods                                       1/24/2025
    [PII]               [PII]                               USA Performance - WPI - Hiring Policy (Staffing)                                        2/7/2025
    [PII]               [PII]                               USA Performance - WPI - Resource Mgmt Grp                                             1/23/2025
    [PII]               [PII]                               USA Performance - WPI - Western Region                                                1/24/2025
    Greg Hogan          \mcn\cld\MGA\Users\Greg Hogan       CLD.mcn Domain                                                        1/20/20253:36:46 PM
    [PII]               [PII]                               Agency Talent Portal                                                                  1/24/2025
    Greg Hogan          Greg.Hogan@opm.gov                  ITSP Project Intake app                                                               1/27/2025
    Greg Hogan          Greg.Hogan@opm365.onmicrosoft.com   ITSP Project Intake app                                                                 2/6/2025
                                                            OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions
    Greg Hogan          greg.hogan@opm.gov                  [OPMData / USADATA]                                                                   1/28/2025
                                                            OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    Greg Hogan          greg.hogan@opm.gov                  Az.cio.entraID.PowerBIAdmin)                                                          1/20/2025
    Greg Hogan          greg.hogan@opm.gov                  USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                1/20/2025
    Greg Hogan          Greg.Hogan@opm.gov                  Web Admin                                                                             1/20/2025
    Hogan, Greg         Greg-Hogan_opmgov                   GitHub Enterprise                                                                     1/20/2025
    Hogan,Greg          Greg.Hogan@opm.gov                  USA Performance - U.S. Office of Personnel Management                                 1/20/2025
    [OPM-8]             [OPM-8]@opm.gov                     OD Reports : New Hire Daily Tracker Power BI - USADATA                                 2/2/2025
                                                            OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions
    [OPM-8]             [OPM-8]@opm.gov                     [OPMData / USADATA]                                                                     2/3/2025
    [OPM-8]             [OPM-8]@opm.gov                     USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                  2/3/2025
    [OPM-5]             [OPM-5]_opmgov                      GitHub Enterprise                                                                      1/20/2025
    [OPM-5]             [OPM-5]@opm.gov                     USA Performance - U.S. Office of Personnel Management                                 1/20/2025
    [PII]               [PII]                               STAMP                                                                                 1/31/2025
    [PII]               [PII]                               CLD.mcn Domain                                                        1/21/20253:10:22 PM
    [PII]               [PII]                               APP.mcn Domain                                                        1/22/20258:36:39 AM
    [PII]               [PII]                               APP.mcn Domain                                                        1/22/20258:38:57 AM
    [PII]               [PII]                               CLD.mcn Domain                                                        1/22/20258:40:16 AM
    [PII]               [PII]                               CLD.mcn Domain                                                        1/22/20258:41:06 AM
    [OPM-17]            [OPM-17]@opm.gov                    USA Performance - Office of the Director                                              1/31/2025
    [OPM-6]             [OPM-6]@opm.gov                     Agency Talent Portal                                                                  1/31/2025
    [OPM-6]             \mcn\cld\MGA\Users\[OPM-6]          CLD.mcn Domain                                                        1/28/202511:39:00 AM
    [PII]               [PII]                               CLD.mcn Domain                                                        2/12/20257:08:50 AM
    [PII]               [PII]                               APP.mcn Domain                                                        2/12/20257:11:04 AM
    [OPM-6]             [OPM-6]@opm.gov                     OD Reports : New Hire Daily Tracker Power BI - USADATA                                1/31/2025
                                                            OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions
    [OPM-6]             [OPM-6]@opm.gov                     [OPMData / USADATA]                                                                   1/28/2025
                                                            OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    [OPM-6]             [OPM-6]@opm.gov                     Az.cio.entraID.PowerBIAdmin)                                                          1/28/2025
                                                            OPM Data : Electronic Official Personnel Folder (eOPF) -
    [OPM-6]             [OPM-6]@opm.gov                     DEV/TST/QA/TRN/PRD                                                                    1/28/2025      2/6/2025
                                                            OPM Data : Enterprise Human Resources Integration (EHRI) -
    [OPM-6]             [OPM-6]@opm.gov                     Dev/TST/QA/PRD                                                                        1/28/2025      2/6/2025
    [OPM-6]             [OPM-6]@opm.gov                     USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                1/28/2025
    [OPM-6]             [OPM-6]@opm.gov                     Web Admin                                                                             1/28/2025
    [OPM-18]            [OPM-18]@opm.gov                    STAMP                                                                                  2/3/2025
    [OPM-18]            [OPM-18]@opm.gov                    USA Performance - Office of the Director                                              1/24/2025
    [PII]               [PII]                               ITSP Cloud Intake app                                                                 1/23/2025
    [PII]               [PII]                               USA Performance - Office of Communications                                            1/31/2025
    [OPM-6]             [OPM-6]@opm.gov                     Azure DevOps                                                                          1/29/2025
    [PII]               [PII]                               FOIAXpress                                                                             2/4/2025
    [OPM-6]             [OPM-6]@opm.gov                     USA Performance - U.S. Office of Personnel Management                                 1/28/2025
    [OPM-10]            [OPM-10]@opm.gov                    USA Performance - Office of the Director                                               2/7/2025




                                                                                           JA587                                                                                           OPM-00090
USCA4 Appeal: 25-1282   Doc: 39-2                                Filed: 04/14/2025 Pg: 13 of 231
            Case 8:25-cv-00430-DLB                              Document 64-1 Filed 03/15/25 Page 6 of 44

    Employee Name    Account Username             System Name                                                         Date Created                Date Removed Admin Access    Login Yes/No
    [PII]            [PII]                        GitHub Enterprise                                                                   1/21/2025
    [OPM-2]          \mcn\cld\MGA\Users\[OPM-2]   CLD.mcn Domain                                                      1/28/202511:39:25 AM
    [PII]            [PII]                        GitHub Enterprise                                                                   1/31/2025
                                                  OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions
    [OPM-2]          [OPM-2]@opm.gov              [OPMData / USADATA]                                                                1/28/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/31/2025
                                                  OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    [OPM-2]          [OPM-2]@opm.gov              Az.cio.entraID.PowerBIAdmin)                                                       1/28/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/22/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/22/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/22/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/31/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/31/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/21/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/31/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/22/2025
    [PII]            [PII]                        GitHub Enterprise                                                                  1/22/2025
                                                  OPM Data : Electronic Official Personnel Folder (eOPF) -
    [OPM-2]          [OPM-2]@opm.gov              DEV/TST/QA/TRN/PRD                                                                 1/28/2025      2/6/2025
    [PII]            [PII]                        Carrier Connect                                                                     2/7/2025
    [PII]            [PII]                        Carrier Connect                                                                    1/23/2025
    [PII]            [PII]                        Carrier Connect                                                                     2/7/2025
    [PII]            [PII]                        Engagement Tracking System                                                          2/3/2025
    [PII]            [PII]                        STAMP                                                                              1/23/2025
                                                  OPM Data : Enterprise Human Resources Integration (EHRI) -
    [OPM-2]          [OPM-2]@opm.gov              Dev/TST/QA/PRD                                                                     1/28/2025      2/6/2025
    [PII]            [PII]                        STAMP                                                                              1/23/2025
    [PII]            [PII]                        STAMP                                                                              1/24/2025
    [OPM-2]          [OPM-2]@opm.gov              USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                             1/28/2025
    [OPM-2]          [OPM-2]@opm.gov              Web Admin                                                                          1/28/2025
    [OPM-2]          [OPM-2]@opm.gov              USA Performance - U.S. Office of Personnel Management                              1/28/2025
    Scale,Amanda     adscales@opm.gov             USA Performance - U.S. Office of Personnel Management                              1/20/2025
    Scales, Amanda   Amanda-Scales_opmgov         GitHub Enterprise                                                                  1/20/2025
    Scales, Amanda   Amanda.Scales@opm.gov        STAMP                                                                              1/31/2025
    [PII]            [PII]                        STAMP                                                                               2/3/2025
    [PII]            [PII]                        CLIA Tracking & CS Portal                                                          1/27/2025
    [PII]            [PII]                        CLIA Tracking & CS Portal                                                          1/27/2025
    [PII]            [PII]                        CLIA Tracking & CS Portal                                                          1/28/2025
    [PII]            [PII]                        CLIA Tracking & CS Portal                                                          1/28/2025
    [PII]            [PII]                        CXOne                                                                              1/24/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/21/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/21/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/21/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/21/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/21/2025
    [PII]            [PII]                        USA Performance - Office of the Director                                           1/31/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/21/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/22/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/22/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/22/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/22/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/22/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/22/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/23/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/23/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/23/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/23/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/24/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/24/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/24/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/24/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/24/2025
    [OPM-13]         [OPM-13]@opm.gov             USA Performance - Office of the Director                                           1/31/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/27/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/27/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/28/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/28/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/29/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/29/2025
    [PII]            [PII]                        STAMP                                                                              1/31/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/30/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/31/2025
    [PII]            [PII]                        Azure DevOps                                                                       1/31/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/3/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/3/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/3/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/3/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/4/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/5/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/5/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/5/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/7/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/7/2025
    [PII]            [PII]                        Azure DevOps                                                                        2/7/2025
    [PII]            [PII]                        Azure DevOps                                                                       2/11/2025
    [PII]            [PII]                        Azure DevOps                                                                       2/11/2025
    [PII]            [PII]                        Azure DevOps                                                                       2/11/2025
    [PII]            [PII]                        Azure DevOps                                                                       2/12/2025
    [PII]            [PII]                        Azure DevOps                                                                       2/13/2025
    [PII]            [PII]                        Federal Disputed Claims (FDC)                                                      2/10/2025
    [PII]            [PII]                        Federal Disputed Claims (FDC)                                                      2/10/2025
    [PII]            [PII]                        ESCS                                                                               1/20/2025
    [PII]            [PII]                        USA Performance - Office of the Director                                           1/31/2025
    [PII]            [PII]                        ESCS                                                                               2/11/2025     2/13/2025
    [PII]            [PII]                        ESCS                                                                               2/14/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        ARS (ORION) - Access for this system is handled by RS                              2/12/2025
    [PII]            [PII]                        SCRD - Access for this system is handled by RS                                     1/21/2025
    [PII]            [PII]                        SCRD - Access for this system is handled by RS                                     1/22/2025
    [PII]            [PII]                        SCRD - Access for this system is handled by RS                                     1/29/2025
    [PII]            [PII]                        SCRD - Access for this system is handled by RS                                     1/30/2025
    [PII]            [PII]                        SCRD - Access for this system is handled by RS                                      2/3/2025
    [PII]            [PII]                        SCRD - Access for this system is handled by RS                                      2/6/2025
    [PII]            [PII]                        SCRD - Access for this system is handled by RS                                     2/11/2025
    [PII]            [PII]                        SCRD - Access for this system is handled by RS                                     1/21/2025




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USCA4 Appeal: 25-1282   Doc: 39-2                                                           Filed: 04/14/2025 Pg: 14 of 231
            Case 8:25-cv-00430-DLB                                                         Document 64-1 Filed 03/15/25 Page 7 of 44

    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
      1/20/2025   22:07:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "opm‐AllEmailGov‐np‐01.Contributor.RBAC"
      1/20/2025   22:07:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "opm‐AllEmailGov‐np‐01.Contributor.RBAC"
      1/20/2025   22:07:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "opm‐AllEmailGov‐p‐01.Contributor.RBAC"
      1/20/2025   22:07:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "opm‐AllEmailGov‐p‐01.Contributor.RBAC"
      1/20/2025   21:17:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Charles.Ezell@opm.gov      "hrs‐usaj‐np‐001.SubContributor"
      1/20/2025   21:16:27 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Charles.Ezell@opm.gov      "hrs‐usaj‐p‐001.Contributor"
      1/20/2025   21:15:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Charles.Ezell@opm.gov      "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/20/2025   21:14:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Charles.Ezell@opm.gov      "hrs‐usas‐np‐001.SubContributor"
      1/20/2025   21:12:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Charles.Ezell@opm.gov      "hrs‐usap‐np‐001.Contributor"
      1/20/2025   21:11:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Charles.Ezell@opm.gov      "hrs‐usap‐p‐001.Contributor"
      1/20/2025   20:37:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "hrs‐usaj‐p‐001.Contributor"
      1/20/2025   20:37:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "hrs‐usaj‐p‐001.Contributor"
      1/20/2025   20:37:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "hrs‐usaj‐p‐001.Contributor"
      1/20/2025   20:37:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "hrs‐usaj‐p‐001.Contributor"
      1/20/2025   20:37:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov      "hrs‐usaj‐p‐001.Contributor"
      1/20/2025   20:36:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "hrs‐usaj‐np‐001.SubContributor"
      1/20/2025   20:36:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "hrs‐usaj‐np‐001.SubContributor"
      1/20/2025   20:36:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov      "hrs‐usaj‐np‐001.SubContributor"
      1/20/2025   20:36:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "hrs‐usaj‐np‐001.SubContributor"
      1/20/2025   20:36:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "hrs‐usaj‐np‐001.SubContributor"
      1/20/2025   20:35:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "hrs‐usap‐p‐001.Contributor"
      1/20/2025   20:35:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "hrs‐usap‐p‐001.Contributor"
      1/20/2025   20:35:02 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "hrs‐usap‐p‐001.Contributor"
      1/20/2025   20:34:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usap‐p‐001.Contributor"
      1/20/2025   20:34:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "hrs‐usap‐p‐001.Contributor"
      1/20/2025   20:33:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "hrs‐usap‐np‐001.Contributor"
      1/20/2025   20:33:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "hrs‐usap‐np‐001.Contributor"
      1/20/2025   20:33:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "hrs‐usap‐np‐001.Contributor"
      1/20/2025   20:33:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "hrs‐usap‐np‐001.Contributor"
      1/20/2025   20:33:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usap‐np‐001.Contributor"
      1/20/2025   20:31:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "hrs‐usas‐np‐001.Contributor.RBAC"
      1/20/2025   20:30:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "hrs‐usas‐np‐001.Contributor.RBAC"
      1/20/2025   20:30:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usas‐np‐001.Contributor.RBAC"
      1/20/2025   20:30:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usas‐np‐001.Contributor.RBAC"
      1/20/2025   20:30:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "hrs‐usas‐np‐001.Contributor.RBAC"
      1/20/2025   20:28:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/20/2025   20:28:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/20/2025   20:27:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/20/2025   20:27:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/20/2025   20:27:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/21/2025   23:58:32 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   23:56:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/21/2025   23:56:04 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   20:46:33 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   20:44:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "HRS – LAB – WIC Collaboration"
      1/21/2025   20:35:29 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   19:17:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   19:16:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:40:05 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:39:39 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:38:55 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:38:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:38:08 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:37:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:36:36 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:35:46 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   18:35:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocfo‐bms‐p.Contributor.RBAC"
      1/21/2025   18:35:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocfo‐bms‐p.Owner.RBAC"
      1/21/2025   18:34:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocfo‐bms‐np.Contributor.RBAC"
      1/21/2025   18:32:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocfo‐bms‐np.Owner.RBAC"
      1/21/2025   18:15:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "CIITAR Application Users"
      1/21/2025   17:41:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "CIITAR Application Users"
      1/21/2025   17:41:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "CIITAR Application Users"
      1/21/2025   16:27:00 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   16:22:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rg‐hrs‐opf‐dev‐document‐intelligence.RBAC"
      1/21/2025   15:19:14 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   15:19:14 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   14:44:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   14:40:03 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   14:34:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐FITBS‐HRSITPMO‐USAData‐Members"
      1/21/2025   14:34:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/21/2025   14:32:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐FITBS‐HRSITPMO‐USAData‐Members"
      1/21/2025   14:32:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/21/2025   14:19:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   14:16:10 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   13:59:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐eopf‐helpdesk‐footprints‐apppxy‐users"
      1/21/2025   13:58:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐eopf‐helpdesk‐footprints‐apppxy‐users"
      1/21/2025   13:38:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   13:35:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   13:18:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025   13:18:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:59:47 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:59:29 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:59:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:59:08 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:58:35 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:57:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:57:18 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:57:11 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:57:10 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:57:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "Az.OPM.LearningConnection.Prod.User"
      1/21/2025    8:56:55 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:56:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:56:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:56:15 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    8:55:31 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "AZ.OPM.KnowBe4.User"
      1/21/2025    8:55:26 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/21/2025    3:20:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "opm‐AllEmailGov‐p‐01.Contributor.RBAC"
      1/21/2025    3:20:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "opm‐AllEmailGov‐p‐01.Contributor.RBAC"
      1/21/2025    3:02:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "opm‐AllEmailGov‐p‐01.Contributor.RBAC"
      1/21/2025    3:02:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "opm‐AllEmailGov‐np‐01.Contributor.RBAC"
      1/21/2025    3:01:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "opm‐AllEmailGov‐np‐01.Contributor.RBAC"
      1/21/2025    2:35:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "opm‐AllEmailGov‐np‐01.Contributor.RBAC"
      1/21/2025    2:35:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "opm‐AllEmailGov‐p‐01.Contributor.RBAC"
      1/21/2025    0:14:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "AZ.Serv‐Support‐Admin"
      1/22/2025   22:45:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "OPM‐GHEC‐User‐Read"
      1/22/2025   22:45:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "GHEC‐OPM‐OD‐Owners"
      1/22/2025   22:45:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov      "OPM‐GHEC‐User‐Read"
      1/22/2025   22:45:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "OPM‐GHEC‐User‐Read"
      1/22/2025   22:45:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "GHEC‐OPM‐OD‐Owners"
      1/22/2025   22:45:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "OPM‐GHEC‐User‐Read"
      1/22/2025   22:45:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov      "GHEC‐OPM‐OD‐Owners"
      1/22/2025   22:45:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "GHEC‐OPM‐OD‐Owners"
      1/22/2025   22:45:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "OPM‐GHEC‐User‐Read"
      1/22/2025   22:45:36 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "GHEC‐OPM‐OD‐Owners"
      1/22/2025   22:45:36 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Charles.Ezell@opm.gov      "GHEC‐OPM‐OD‐Owners"
      1/22/2025   22:00:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:59:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   21:52:24 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov            "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"




                                                                                                            JA589                                                                                   OPM-00092
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
      1/22/2025   21:52:21 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:21 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov         "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov      "ghec.emu.Enterprise.Owners"
      1/22/2025   21:52:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ghec.emu.Enterprise.Owners"
      1/22/2025   19:29:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.CHCODocRepo.Prod.User"
      1/22/2025   19:29:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "Az.OPM.CHCODocRepo.Prod.User"
      1/22/2025   19:16:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.hcdmm.rio.web.dev.readonly"
      1/22/2025   18:58:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OCIO‐STAMP‐Users"
      1/22/2025   18:36:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Charles.Ezell@opm.gov      "OCIO‐STAMP‐Users"
      1/22/2025   17:03:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Security‐SOCJr‐Resources‐Team"
      1/22/2025   17:02:47 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   17:02:47 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   17:02:46 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   17:02:45 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   17:02:45 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   17:02:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   17:02:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   17:02:42 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   15:55:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Purview‐IRM‐Investigators"
      1/22/2025   15:55:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.rg‐cyber‐playbooks‐p‐001.Contributor"
      1/22/2025   15:54:09 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025   15:53:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Purview‐IRM‐Investigators"
      1/22/2025   15:53:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Security.Admin"
      1/22/2025   15:53:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.rg‐cyber‐playbooks‐p‐001.Contributor"
      1/22/2025   15:53:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocio‐cyber‐p‐001.Contributor.RBAC"
      1/22/2025   15:49:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocio‐cyber‐p‐001.Reader.RBAC"
      1/22/2025   15:49:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rg‐AzLogs‐p‐001.Contributor.RBAC"
      1/22/2025   15:49:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.Sentinel.LogApp.Contributor"
      1/22/2025   15:49:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rg‐AzLogs‐p‐001.Reader"
      1/22/2025   15:49:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OCIO – Cloud Services"
      1/22/2025   15:49:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Compliance‐Data‐Admin"
      1/22/2025   15:49:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Security‐DataProtection‐Team"
      1/22/2025   15:49:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Compliance.Admin"
      1/22/2025   15:49:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.AAD.GlobalReader"
      1/22/2025   15:49:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Global.Reader.RBAC"
      1/22/2025   15:49:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Security.Reader"
      1/22/2025   15:44:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "WIZ‐USAP‐Reader"
      1/22/2025   15:40:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "WIZ‐USAP‐Reader"
      1/22/2025   15:40:24 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "WIZ‐USAP‐Reader"
      1/22/2025   15:36:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐HI‐Members"
      1/22/2025   15:36:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/22/2025   15:34:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/22/2025   15:33:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐OPM‐APS‐PP‐Members"
      1/22/2025   15:32:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐FITBS‐HRSITPMO‐USALearning‐Members"
      1/22/2025   15:32:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/22/2025   15:32:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐OPM‐APS‐PP‐Members"
      1/22/2025   15:32:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/22/2025   15:32:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐OPM‐APS‐PP‐Members"
      1/22/2025   15:30:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/22/2025   15:30:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐OPM‐APS‐PP‐Members"
      1/22/2025   15:10:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OCIO‐STAMP‐Users"
      1/22/2025   14:53:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "iRetireStage"
      1/22/2025   14:51:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "iRetireProd"
      1/22/2025   14:26:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐usas‐footprints‐apppxy‐users"
      1/22/2025   14:26:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐usas‐footprints‐apppxy‐users"
      1/22/2025   14:26:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐usas‐footprints‐apppxy‐users"
      1/22/2025    5:07:12 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    5:07:11 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    1:46:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    1:37:55 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    1:09:35 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    1:09:19 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    1:08:10 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    1:05:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:49:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:47:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:47:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:47:36 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:47:18 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:45:46 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:18:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:18:34 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/22/2025    0:18:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   22:10:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   21:55:33 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   20:02:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐FITBS‐HRSITPMO‐USAS‐Architects"
      1/23/2025   19:56:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/23/2025   19:55:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   19:48:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   19:36:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/23/2025   19:29:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:18:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Invicti.User"
      1/23/2025   19:18:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Invicti.User"
      1/23/2025   19:12:32 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:42 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:42 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:40 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:39 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:39 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:38 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:11:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:10:40 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:10:39 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:10:38 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   19:10:38 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   18:48:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov            "AZ.OPM.KnowBe4.User"
      1/23/2025   18:47:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov            "AZ.OPM.KnowBe4.User"
      1/23/2025   18:44:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov            "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   18:42:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov            "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   18:23:17 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   18:23:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cto‐digitalservices‐np‐01.Contributor.RBAC"
      1/23/2025   17:56:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   ADScales@opm.gov           "AZ.OPM.KnowBe4.User"
      1/23/2025   17:55:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   ADScales@opm.gov           "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   17:44:09 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   17:43:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cto‐digitalservices‐np‐01.Owner.RBAC"
      1/23/2025   17:00:02 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   16:59:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/23/2025   16:56:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/23/2025   16:56:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/23/2025   16:56:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   16:55:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/23/2025   16:46:20 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   16:46:03 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]




                                                                                                            JA590                                                                                    OPM-00093
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName            Target1ModifiedProperty2NewValue
      1/23/2025   16:38:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "cto‐digitalservices‐np‐01.Contributor.RBAC"
      1/23/2025   16:02:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "cto‐digitalservices‐np‐01.Contributor.RBAC"
      1/23/2025   16:02:22 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   16:02:21 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   16:02:20 Core Directory   UserManagement    Update user                Azure AD Identity Governance ‐ Directory Management   [PII]                               "AccountEnabled"
      1/23/2025   16:02:20 Core Directory   UserManagement    Disable account            Azure AD Identity Governance ‐ Directory Management   [PII]                               "AccountEnabled"
      1/23/2025   15:59:01 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   15:58:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "OCIO‐STAMP‐Users"
      1/23/2025   15:12:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.Security‐Operators"
      1/23/2025   15:12:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.Security‐Operators"
      1/23/2025   15:10:09 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   15:09:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:57:22 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:56:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:56:35 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:55:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:55:35 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:55:08 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:53:14 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:52:38 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:51:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:49:31 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:47:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:45:45 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   14:44:33 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   13:49:21 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   13:34:01 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐opmdata‐p‐001.Reader"
      1/23/2025   13:30:21 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   13:22:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "az.databrx.data.analyst.ehri"
      1/23/2025   13:21:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025   13:21:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "az.databrx.data.engineer.hbdp.postal.prd"
      1/23/2025   13:21:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "az.databrx.data.engineer.hbdp.postal.prd"
      1/23/2025   13:19:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "az.databrx.data.analyst.usadata.dev"
      1/23/2025   13:17:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "az.databrx.data.analyst.usadata.prod"
      1/23/2025   13:16:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "az.databrx.data.analyst.usadata.dev"
      1/23/2025    9:24:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/23/2025    9:23:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/23/2025    9:22:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/23/2025    9:20:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/23/2025    9:18:39 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/23/2025    9:18:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/23/2025    9:18:01 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/23/2025    9:17:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/23/2025    9:17:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/23/2025    9:16:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/23/2025    9:16:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/23/2025    9:16:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/23/2025    9:16:02 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/23/2025    9:15:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/23/2025    9:15:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/23/2025    9:15:26 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/24/2025   22:08:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "cto‐digitalservices‐np‐01.Contributor.RBAC"
      1/24/2025   21:52:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/24/2025   21:34:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.Box.SFT.AppUsers"
      1/24/2025   21:22:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "cto‐digitalservices‐np‐01.Owner.RBAC"
      1/24/2025   21:10:19 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/24/2025   21:10:17 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/24/2025   20:58:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "OCIO‐STAMP‐Users"
      1/24/2025   20:58:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "OCIO‐STAMP‐Users"
      1/24/2025   18:31:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐opf‐p‐001.Contributor.RBAC"
      1/24/2025   18:30:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usap‐np‐001.Reader"
      1/24/2025   15:51:31 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usap‐p‐001.Reader"
      1/24/2025   15:15:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "OCIO‐STAMP‐Users"
      1/24/2025   15:09:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "ocio‐hcdmm‐ai‐np.Contributor.RBAC"
      1/24/2025   15:09:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.CogServices‐AI‐Contributor‐HCDMM"
      1/24/2025   11:57:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.USAStaffingLMSUdutu.Prod.User"
      1/25/2025   17:48:09 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/25/2025   17:28:07 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/25/2025    9:30:36 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/25/2025    9:30:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/25/2025    9:30:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/25/2025    9:29:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/25/2025    9:29:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/25/2025    9:29:31 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/25/2025    9:29:27 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/25/2025    9:28:24 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/25/2025    9:28:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/25/2025    9:27:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/25/2025    9:27:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/25/2025    9:27:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/25/2025    9:27:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/25/2025    9:27:02 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐16]@opm.gov                    "AZ.OPM.KnowBe4.User"
      1/25/2025    9:26:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐16]@opm.gov                    "Az.OPM.LearningConnection.Prod.User"
      1/25/2025    9:25:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/25/2025    9:25:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/25/2025    9:25:21 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/27/2025   22:09:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   22:09:28 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   22:08:21 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   22:06:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   22:06:20 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   22:05:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   21:06:27 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/27/2025   21:05:27 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/27/2025   20:34:09 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   20:30:24 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   20:28:21 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   20:25:33 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   20:25:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "eid‐bsgportal‐apppxy‐users"
      1/27/2025   19:21:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.Apptio.Cloudability.Admin"
      1/27/2025   18:40:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/27/2025   18:28:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/27/2025   18:24:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "OCIO‐STAMP‐Users"
      1/27/2025   18:24:14 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   18:14:42 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   18:09:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   18:07:31 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   18:05:36 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   17:29:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "ocio‐hcdmm‐ai‐np.DocumentIntelligence"
      1/27/2025   17:27:04 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   17:26:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   17:09:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.USAStaffingLMS.Prod.User"
      1/27/2025   16:17:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.USAPerformanceLMS.Prod.User"
      1/27/2025   16:17:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.USAPerformanceLMS.Prod.User"
      1/27/2025   15:53:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   15:52:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "az.hcdmm.rio.web.dev.businesssteward"
      1/27/2025   15:50:48 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/27/2025   14:32:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.KnowBe4.User"
      1/27/2025   14:27:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "eid‐bsgportal‐apppxy‐users"
      1/27/2025   14:27:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.LearningConnection.Prod.User"
      1/27/2025    4:09:02 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   22:34:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm365.onmicrosoft.com   "AZ.Global‐Admin"




                                                                                                            JA591                                                                                              OPM-00094
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName            Target1ModifiedProperty2NewValue
      1/28/2025   21:57:26 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm365.onmicrosoft.com
      1/28/2025   21:21:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐opf‐np‐001.Contributor.RBAC"
      1/28/2025   21:20:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐opf‐np‐001.Contributor.RBAC"
      1/28/2025   21:20:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐opf‐np‐001.Contributor.RBAC"
      1/28/2025   21:20:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐opf‐p‐001.Contributor.RBAC"
      1/28/2025   21:20:07 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐opf‐p‐001.Contributor.RBAC"
      1/28/2025   21:20:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐opf‐p‐001.Contributor.RBAC"
      1/28/2025   21:14:28 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   21:14:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   21:14:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   21:10:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov                     "GitHub‐Global‐Owner"
      1/28/2025   21:10:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov               "GitHub‐Global‐Owner"
      1/28/2025   21:10:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov                     "GitHub‐Global‐Owner"
      1/28/2025   21:10:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov                  "GitHub‐Global‐Owner"
      1/28/2025   21:10:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov                     "GitHub‐Global‐Owner"
      1/28/2025   21:05:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "GitHub‐Global‐Owner"
      1/28/2025   21:05:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "OPM‐GHEC‐User‐Read"
      1/28/2025   21:05:36 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "GitHub‐Global‐Owner"
      1/28/2025   21:05:36 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "OPM‐GHEC‐User‐Read"
      1/28/2025   21:05:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "GitHub‐Global‐Owner"
      1/28/2025   21:05:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "OPM‐GHEC‐User‐Read"
      1/28/2025   20:53:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm365.onmicrosoft.com   "AZ.Global‐Admin"
      1/28/2025   19:58:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "Az.OPM.CLDCentral.Prod.User"
      1/28/2025   19:48:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐opmdata‐qa‐001.SubContributor.RBAC"
      1/28/2025   19:48:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐opmdata‐qa‐001.SubContributor.RBAC"
      1/28/2025   19:48:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐opmdata‐qa‐001.SubContributor.RBAC"
      1/28/2025   19:47:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐opmdata‐p‐001.SubContributor"
      1/28/2025   19:47:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐opmdata‐p‐001.SubContributor"
      1/28/2025   19:47:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐opmdata‐p‐001.SubContributor"
      1/28/2025   19:45:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐opmdata‐001.Contributor"
      1/28/2025   19:45:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐opmdata‐001.Contributor"
      1/28/2025   19:45:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐opmdata‐001.Contributor"
      1/28/2025   19:40:27 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usad‐p‐001.Contributor.RBAC"
      1/28/2025   19:40:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usad‐p‐001.Contributor.RBAC"
      1/28/2025   19:40:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usad‐p‐001.Contributor.RBAC"
      1/28/2025   19:39:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usad‐qa‐001.Contributor.RBAC"
      1/28/2025   19:39:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usad‐qa‐001.Contributor.RBAC"
      1/28/2025   19:39:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usad‐qa‐001.Contributor.RBAC"
      1/28/2025   19:38:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usad‐dev‐001.Contributor.RBAC"
      1/28/2025   19:38:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usad‐dev‐001.Contributor.RBAC"
      1/28/2025   19:38:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usad‐dev‐001.Contributor.RBAC"
      1/28/2025   19:20:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm365.onmicrosoft.com   "AZ.Exchange‐Admin"
      1/28/2025   18:51:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.Global‐Admin"
      1/28/2025   18:27:24 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   18:27:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   18:27:22 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   18:15:58 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   18:15:50 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   18:15:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   18:15:42 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   16:22:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   16:22:47 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   16:22:46 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   16:22:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   16:17:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "ghec.emu.Enterprise.Owners"
      1/28/2025   16:17:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "ghec.emu.Enterprise.Owners"
      1/28/2025   16:17:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "ghec.emu.Enterprise.Owners"
      1/28/2025   16:17:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "ghec.emu.Enterprise.Owners"
      1/28/2025   16:17:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "ghec.emu.Enterprise.Owners"
      1/28/2025   16:17:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "ghec.emu.Enterprise.Owners"
      1/28/2025   16:17:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "ghec.emu.Enterprise.Owners"
      1/28/2025   16:16:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "OPM Amazon Business ‐ CIO"
      1/28/2025   16:13:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "OPM Amazon Business ‐ OCFO"
      1/28/2025   15:58:05 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025   15:44:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usaj‐p‐001.Contributor"
      1/28/2025   15:44:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usaj‐p‐001.Contributor"
      1/28/2025   15:44:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usaj‐p‐001.Contributor"
      1/28/2025   15:44:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.PSHB.CyberAdmin.UAT"
      1/28/2025   15:43:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usaj‐np‐001.SubContributor"
      1/28/2025   15:43:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usaj‐np‐001.SubContributor"
      1/28/2025   15:43:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usaj‐np‐001.SubContributor"
      1/28/2025   15:43:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.PSHB.CyberAdmin.DEV"
      1/28/2025   15:42:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.PSHB.CyberAdmin.PERF"
      1/28/2025   15:42:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usap‐p‐001.Contributor"
      1/28/2025   15:42:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.PSHB.CyberAdmin.SIT"
      1/28/2025   15:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usap‐p‐001.Contributor"
      1/28/2025   15:42:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usap‐p‐001.Contributor"
      1/28/2025   15:41:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usap‐np‐001.Contributor"
      1/28/2025   15:41:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usap‐np‐001.Contributor"
      1/28/2025   15:41:07 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usap‐np‐001.Contributor"
      1/28/2025   15:40:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/28/2025   15:40:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/28/2025   15:40:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usas‐prd‐001.Contributor.RBAC"
      1/28/2025   15:39:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "hrs‐usas‐np‐001.SubContributor"
      1/28/2025   15:39:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov                     "hrs‐usas‐np‐001.SubContributor"
      1/28/2025   15:38:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov                     "hrs‐usas‐np‐001.SubContributor"
      1/28/2025   15:29:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:27 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   15:29:24 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐retsys‐np‐001.Key.Vault.Contributor.RBAC"
      1/28/2025   13:04:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   13:03:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐usal‐np‐001.Contributor.RBAC"
      1/28/2025   12:08:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.OPM.Box.SFT.AppUsers"
      1/28/2025    5:05:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025    5:05:58 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/28/2025    5:05:57 Core Directory   UserManagement    Disable account            Azure AD Identity Governance ‐ Directory Management   [PII]                               "AccountEnabled"
      1/28/2025    5:05:57 Core Directory   UserManagement    Update user                Azure AD Identity Governance ‐ Directory Management   [PII]                               "AccountEnabled"
      1/28/2025    5:02:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "hrs‐opf‐p‐001.StorageBlobDataContributor.RBAC"
      1/28/2025    0:30:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov                     "AZ.Global.Reader.RBAC"
      1/28/2025    0:30:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov                  "AZ.Global.Reader.RBAC"
      1/28/2025    0:30:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov                     "AZ.AAD.GlobalReader"
      1/28/2025    0:30:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov                  "AZ.AAD.GlobalReader"
      1/29/2025   23:03:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov                     "AZ.AAD.GlobalReader"
      1/29/2025   22:35:01 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:34:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:34:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                               "AZ.PSHB.OPMAdmin.SIT"




                                                                                                            JA592                                                                                            OPM-00095
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
      1/29/2025   22:34:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:34:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:34:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:33:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:33:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:33:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:33:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:33:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   22:32:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.SIT"
      1/29/2025   21:57:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:57:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.UAT"
      1/29/2025   21:44:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.USAStaffingLMS.Prod.User"
      1/29/2025   21:36:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OCIO‐STAMP‐Users"
      1/29/2025   21:36:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OCIO‐STAMP‐Users"
      1/29/2025   20:31:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.USAS‐dev‐dataplane‐resources‐Team"
      1/29/2025   20:30:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.USAS‐dev‐controlplane‐resources‐Team"
      1/29/2025   19:51:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Alfabet.Prod"
      1/29/2025   19:51:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Alfabet.Prod"
      1/29/2025   19:49:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Alfabet.Test"
      1/29/2025   19:49:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Alfabet.Test"
      1/29/2025   19:48:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:48:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Dockerhub.User"
      1/29/2025   19:40:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Alfabet.Dev"
      1/29/2025   19:40:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Alfabet.Dev"
      1/29/2025   19:18:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov




                                                                                                            JA593                                                                                  OPM-00096
USCA4 Appeal: 25-1282   Doc: 39-2                                                           Filed: 04/14/2025 Pg: 19 of 231
           Case 8:25-cv-00430-DLB                                                         Document 64-1 Filed 03/15/25 Page 12 of 44

    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
      1/29/2025   19:18:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov
      1/29/2025   19:18:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov
      1/29/2025   19:18:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov
      1/29/2025   19:18:21 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov
      1/29/2025   19:18:13 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov
      1/29/2025   19:18:09 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov
      1/29/2025   17:43:05 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   Greg.Hogan@opm.gov
      1/29/2025   17:30:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:30:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:10:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:10:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:10:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:10:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   17:01:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐retsys‐np‐001.Key.Vault.Secrets.User.RBAC"
      1/29/2025   15:02:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Prod"
      1/29/2025   15:02:32 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Prod"
      1/29/2025   15:02:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Prod"
      1/29/2025   14:37:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐opmhi‐np‐001.Contributor.RBAC"
      1/29/2025   14:37:36 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐opmhi‐np‐001.Contributor.RBAC"
      1/29/2025   14:36:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐opmhi‐np‐001.Reader.RBAC"
      1/29/2025   14:36:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐opmhi‐np‐001.Reader.RBAC"
      1/29/2025   14:22:01 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐cliaconnect‐apppxy‐users"
      1/29/2025   14:20:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐bsgportal‐apppxy‐users"
      1/29/2025   14:20:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐bsgportal‐apppxy‐users"
      1/29/2025   14:20:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐bsgportal‐apppxy‐users"
      1/29/2025   14:20:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐bsgportal‐apppxy‐users"
      1/29/2025    9:50:05 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:50:05 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:49:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/29/2025    9:49:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐13]@opm.gov           "AZ.OPM.KnowBe4.User"
      1/29/2025    9:49:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/29/2025    9:49:18 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:49:16 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:48:12 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:48:04 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:48:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐13]@opm.gov           "Az.OPM.LearningConnection.Prod.User"
      1/29/2025    9:48:00 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:47:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐17]@opm.gov           "AZ.OPM.KnowBe4.User"
      1/29/2025    9:47:09 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:46:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:46:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐17]@opm.gov           "Az.OPM.LearningConnection.Prod.User"
      1/29/2025    9:46:17 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:46:05 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    9:45:29 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/29/2025    2:07:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov            "opm‐AllEmailGov‐np‐01.Contributor.RBAC"
      1/29/2025    2:07:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov            "opm‐AllEmailGov‐p‐01.Contributor.RBAC"
      1/30/2025   22:05:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Box.SFT.AppUsers"
      1/30/2025   19:14:29 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/30/2025   19:13:28 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/30/2025   17:47:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "CIITAR Application Users"
      1/30/2025   17:07:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      1/30/2025   17:02:34 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/30/2025   16:50:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.CogServices‐AI‐Contributor‐HCDMM"
      1/30/2025   16:50:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      1/30/2025   16:49:01 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocio‐hcdmm‐ai‐np.DocumentIntelligence"
      1/30/2025   16:18:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov            "opm‐AllEmailGov‐np‐01.Contributor.RBAC"
      1/30/2025   16:17:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov            "opm‐AllEmailGov‐p‐01.Contributor.RBAC"
      1/30/2025   14:49:27 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      1/30/2025   14:48:07 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/30/2025   14:43:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PERF"
      1/30/2025   14:43:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PERF"
      1/30/2025   14:43:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PERF"
      1/30/2025   14:43:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PERF"
      1/30/2025   14:43:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PERF"
      1/30/2025   14:42:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"




                                                                                                            JA594                                                                                   OPM-00097
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
      1/30/2025   14:42:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:42:07 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.PREPROD"
      1/30/2025   14:29:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      1/30/2025   14:24:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.Admin"
      1/30/2025   14:24:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.Admin"
      1/30/2025   14:24:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.Admin"
      1/30/2025   14:20:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:43 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:20:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025   14:18:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.PSHB.OPMAdmin.Dev"
      1/30/2025    1:05:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov            "hrs‐mgmt‐p‐001.USAS.AppInsights.Reader"
      1/30/2025    1:05:24 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov            "hrs‐mgmt‐p‐001.USAS.AppInsights.Reader"
      1/30/2025    1:04:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov            "hrs‐mgmt‐p‐001.USAS.AppInsights.Reader"
      1/30/2025    0:31:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov            "AZ.Global.Reader.RBAC"
      1/31/2025   22:59:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Box.SFT.AppUsers"
      1/31/2025   22:59:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Box.SFT.AppUsers"
      1/31/2025   22:04:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rs‐ora‐np‐01.Contributor"
      1/31/2025   22:03:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rs‐ora‐np‐01.Owner.RBAC"
      1/31/2025   22:03:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "iRetiredev"
      1/31/2025   22:03:21 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "iRetireTest"
      1/31/2025   22:02:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "iRetireProd"
      1/31/2025   22:01:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "iRetireStage"
      1/31/2025   21:19:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/31/2025   21:18:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/31/2025   21:17:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/31/2025   21:15:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/31/2025   20:57:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/31/2025   20:56:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/31/2025   20:17:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐18]@opm.gov           "OCIO‐STAMP‐Users"
      1/31/2025   20:17:02 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025   20:16:08 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025   19:17:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cto‐digitalservices‐np‐01.Contributor.RBAC"
      1/31/2025   18:05:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025   17:54:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐8]@opm.gov            "OCIO‐STAMP‐Users"
      1/31/2025   17:50:27 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov      "OCIO‐STAMP‐Users"
      1/31/2025   17:39:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025   17:39:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025   17:28:22 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025   17:27:10 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025   17:26:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025   16:57:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/31/2025   16:55:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/31/2025   16:38:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/31/2025   16:37:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/31/2025   16:36:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/31/2025   16:36:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/31/2025   14:25:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Architects"
      1/31/2025   14:24:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Members"
      1/31/2025   14:23:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Members"
      1/31/2025   14:23:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/31/2025   14:23:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov            "GHEC‐OPM‐OD‐Members"
      1/31/2025   14:23:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Members"
      1/31/2025   14:23:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐CTO‐Members"
      1/31/2025   14:23:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/31/2025   14:23:07 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Architects"
      1/31/2025   14:22:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Members"
      1/31/2025   14:22:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Members"
      1/31/2025   14:22:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐CTO‐Members"
      1/31/2025   14:22:13 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/31/2025   14:22:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐DevOps"
      1/31/2025   14:21:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov            "GHEC‐OPM‐OD‐Members"
      1/31/2025   14:21:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐DevOps"
      1/31/2025   14:21:31 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐DevOps"
      1/31/2025   14:21:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov            "GHEC‐OPM‐OD‐Members"
      1/31/2025   14:21:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Members"
      1/31/2025   14:21:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/31/2025   14:20:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Members"
      1/31/2025   14:20:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐DevOps"
      1/31/2025   14:20:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐CTO‐Members"
      1/31/2025   14:20:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OPM‐GHEC‐User‐Read"
      1/31/2025   14:17:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Owners"
      1/31/2025   14:16:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Owners"
      1/31/2025   14:16:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐BAS‐PAPS‐USALearning‐Owners"
      1/31/2025   10:01:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐14]@opm.gov           "AZ.OPM.KnowBe4.User"
      1/31/2025    9:59:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/31/2025    9:59:46 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025    9:59:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      1/31/2025    9:59:17 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      1/31/2025    9:58:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐10]@opm.gov           "Az.OPM.LearningConnection.Prod.User"
      1/31/2025    9:56:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      1/31/2025    9:55:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"




                                                                                                            JA595                                                                                    OPM-00098
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
      1/31/2025    9:55:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐10]@opm.gov           "AZ.OPM.KnowBe4.User"
      1/31/2025    9:55:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐14]@opm.gov           "Az.OPM.LearningConnection.Prod.User"
      1/31/2025    5:16:13 Core Directory   UserManagement    Delete user                Azure AD Identity Governance ‐ Directory Management   [PII]
       2/1/2025    5:07:36 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/1/2025    5:07:35 Core Directory   UserManagement    Update user                Azure AD Identity Governance ‐ Directory Management   [PII]                      "AccountEnabled"
       2/1/2025    5:07:35 Core Directory   UserManagement    Disable account            Azure AD Identity Governance ‐ Directory Management   [PII]                      "AccountEnabled"
       2/1/2025    5:06:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/1/2025    5:06:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/1/2025    5:06:55 Core Directory   UserManagement    Update user                Azure AD Identity Governance ‐ Directory Management   [PII]                      "AccountEnabled"
       2/1/2025    5:06:55 Core Directory   UserManagement    Disable account            Azure AD Identity Governance ‐ Directory Management   [PII]                      "AccountEnabled"
       2/2/2025   10:09:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/2/2025   10:07:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   23:11:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OCIO‐STAMP‐Users"
       2/3/2025   20:06:03 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   20:04:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   20:04:03 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   20:03:11 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   20:02:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   20:02:20 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   20:01:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   19:52:12 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   17:03:58 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   17:03:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   17:02:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   17:01:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/3/2025   15:20:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs.usadata.data.stusasprd001.blob.mod"
       2/3/2025   15:19:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs.usadata.data.stusasnp.blob.mod"
       2/3/2025   15:18:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs.usadata.d.data.blob.mod"
       2/3/2025   15:17:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usad‐p‐001.StorageBlobMod.RBAC"
       2/3/2025   15:16:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usad‐qa‐001.StorageBlobMod.RBAC"
       2/3/2025   15:16:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usad‐dev‐001.StorageBlobMod.RBAC"
       2/3/2025   15:11:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.engineer.dtt.postal.prd"
       2/3/2025   15:11:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.engineer.dtt.postal.prd"
       2/3/2025   15:11:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.engineer.dtt.postal.prd"
       2/3/2025   15:09:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.analyst.ehri"
       2/4/2025   23:18:09 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   23:15:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/4/2025   23:13:21 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Box.SFT.AppUsers"
       2/4/2025   23:12:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   22:59:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   22:36:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   22:18:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   22:18:33 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   21:57:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/4/2025   21:57:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   21:36:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.janus.backend.prod.Users"
       2/4/2025   21:17:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/4/2025   21:16:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   21:12:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.janus.frontend.prod.Users"
       2/4/2025   20:03:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usad‐qa‐001.Contributor.RBAC"
       2/4/2025   20:02:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usad‐dev‐001.Contributor.RBAC"
       2/4/2025   19:58:47 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   19:58:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   19:37:02 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/4/2025   19:36:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/4/2025   19:29:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.SharePoint‐Admin"
       2/4/2025   18:58:45 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   18:58:01 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   18:55:26 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   18:55:17 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   18:40:06 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   17:40:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Box.SFT.AppUsers"
       2/4/2025   17:40:22 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   17:39:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Box.SFT.AppUsers"
       2/4/2025   17:35:37 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "HI – FEDVIP – Carrier Communications"
       2/4/2025   17:01:19 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management
       2/4/2025   16:59:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management
       2/4/2025   15:39:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management                              "az.databrx.data.engineer.ehri.qa"
       2/4/2025   14:39:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/4/2025   14:39:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐15]@opm.gov           "AZ.OPM.KnowBe4.User"
       2/4/2025   14:38:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐12]@opm.gov           "AZ.OPM.KnowBe4.User"
       2/4/2025   14:38:25 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐11]@opm.gov           "AZ.OPM.KnowBe4.User"
       2/4/2025   14:35:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/4/2025   14:29:21 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐12]@opm.gov           "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   14:29:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   14:28:07 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   14:25:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐15]@opm.gov           "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   14:25:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐11]@opm.gov           "Az.OPM.LearningConnection.Prod.User"
       2/4/2025   13:48:11 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   13:37:04 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   13:16:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
       2/4/2025   12:11:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐eopf‐helpdesk‐footprints‐apppxy‐users"
       2/4/2025   10:19:59 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:19:48 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:19:48 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:19:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:19:24 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:19:14 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:19:13 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:19:13 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:18:58 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:18:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:18:40 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:18:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:18:11 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:17:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:17:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:17:33 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:17:18 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:17:12 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:17:10 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:17:06 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:17:03 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:16:55 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:16:55 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:16:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:16:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:16:28 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:16:20 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:16:15 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:15:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:15:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:15:49 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:15:29 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:15:20 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:15:16 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/4/2025   10:15:12 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   20:59:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rg‐ocio‐cyber‐cprm‐ai‐np.CogServicesContributor"
       2/5/2025   20:57:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rg‐ocio‐cyber‐cprm‐ai‐np.Contributor"
       2/5/2025   19:22:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usaj‐np‐001.SubContributor"
       2/5/2025   19:22:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usaj‐np‐001.SubContributor"
       2/5/2025   19:21:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐sfs‐np‐001.Contributor.RBAC"




                                                                                                            JA596                                                                                   OPM-00099
USCA4 Appeal: 25-1282   Doc: 39-2                                                           Filed: 04/14/2025 Pg: 22 of 231
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
       2/5/2025   19:21:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐sfs‐np‐001.Contributor.RBAC"
       2/5/2025   19:07:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐sfs‐p‐001.Contributor.RBAC"
       2/5/2025   19:07:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐sfs‐p‐001.Contributor.RBAC"
       2/5/2025   19:05:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usal‐p‐001.Contributor.RBAC"
       2/5/2025   19:04:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usal‐np‐001.Contributor.RBAC"
       2/5/2025   19:03:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usaj‐p‐001.Contributor"
       2/5/2025   19:03:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usaj‐np‐001.Contributor.RBAC"
       2/5/2025   19:03:02 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usaj‐np‐001.Contributor.RBAC"
       2/5/2025   18:16:58 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:47 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:45 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:20 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:19 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:19 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:04 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   18:16:03 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   15:07:36 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "PPCOEToolkitUsers"
       2/5/2025   14:15:46 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_scuba"
       2/5/2025   14:15:45 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_scuba"
       2/5/2025   14:15:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_scuba"
       2/5/2025   14:15:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_scuba"
       2/5/2025   14:15:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_scuba"
       2/5/2025   14:14:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_cyhy "
       2/5/2025   14:14:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_cyhy "
       2/5/2025   14:14:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_cyhy "
       2/5/2025   14:14:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:55 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:55 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:49 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_cyhy "
       2/5/2025   14:14:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_cyhy "
       2/5/2025   14:14:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "cdm_dbaas_cyhy "
       2/5/2025   14:14:30 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:25 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/5/2025   14:14:24 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   21:56:32 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   21:55:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   19:48:28 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/6/2025   19:39:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/6/2025   19:00:00 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   18:58:38 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   18:45:40 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   18:38:47 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   17:59:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/6/2025   17:55:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/6/2025   12:13:12 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐eopf‐helpdesk‐footprints‐apppxy‐users"
       2/6/2025   11:44:29 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   11:43:42 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:29:24 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:29:01 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:28:49 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:28:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:27:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:27:35 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:27:28 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:27:26 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:27:18 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:27:10 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:27:05 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:26:02 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:25:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:25:46 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:25:44 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/6/2025   10:25:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025   21:11:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.B2B‐DOJ‐Collaborators"
       2/7/2025   21:11:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.B2B‐DOJ‐Collaborators"
       2/7/2025   20:44:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rs‐janusrc‐p‐001.Reader"
       2/7/2025   20:38:48 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.B2B‐DOJ‐Collaborators"
       2/7/2025   20:38:16 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.B2B‐DOJ‐Collaborators"
       2/7/2025   19:59:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.analyst.usadata.prod"
       2/7/2025   19:59:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.analyst.usadata.dev"
       2/7/2025   19:38:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rs‐janusrc‐p‐001.Reader"
       2/7/2025   19:28:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.AAD.GlobalReader"
       2/7/2025   18:10:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Box.SFT.AppUsers"
       2/7/2025   18:08:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025   17:50:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "GHEC‐OPM‐OCIO‐FITBS‐HRSITPMO‐USAP‐DevOps"
       2/7/2025   16:10:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usal‐np‐001.Owner.RBAC"
       2/7/2025   15:05:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.analyst.usadata.dev"
       2/7/2025   15:05:02 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Exchange‐Admin"
       2/7/2025   15:05:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Exchange‐Admin"
       2/7/2025   15:03:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.scientist.usadata"
       2/7/2025   15:01:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.analyst.ehri"
       2/7/2025   14:56:29 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.engineer.dtt.postal.prd"
       2/7/2025   14:56:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.engineer.dtt.postal.prd"
       2/7/2025   14:56:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "az.databrx.data.engineer.dtt.postal.prd"
       2/7/2025   14:05:45 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov
       2/7/2025   14:03:18 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov
       2/7/2025   13:39:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocio‐cyber‐p‐001.Reader.RBAC"
       2/7/2025   13:39:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rg‐AzLogs‐p‐001.Contributor.RBAC"
       2/7/2025   13:39:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "rg‐AzLogs‐p‐001.Reader"
       2/7/2025   13:39:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.rg‐cyber‐playbooks‐p‐001.Contributor"
       2/7/2025   13:39:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Purview‐IRM‐Analysts"
       2/7/2025   13:39:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Global.Reader.RBAC"
       2/7/2025   13:39:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Security.Reader"
       2/7/2025   13:35:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025   13:35:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025   13:35:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025   13:35:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025   13:35:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025   13:35:50 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025   13:35:50 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/7/2025    2:31:26 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov            "hrs‐opmdata‐qa‐001.SubContributor.RBAC"
       2/7/2025    2:31:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov            "hrs‐opmdata‐qa‐001.SubContributor.RBAC"
       2/7/2025    2:29:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov            "hrs‐opmdata‐qa‐001.Reader.RBAC"
       2/7/2025    2:28:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov            "hrs‐opmdata‐qa‐001.Reader.RBAC"
       2/7/2025    2:24:17 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov
       2/7/2025    2:24:16 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov




                                                                                                            JA597                                                                                 OPM-000100
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
       2/7/2025    2:06:10 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov
       2/7/2025    2:06:10 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov
       2/7/2025    2:04:58 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov
       2/7/2025    2:04:58 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov
       2/8/2025   23:38:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usal‐np‐001.FullContributor.RBAC"
       2/8/2025   11:08:17 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
       2/8/2025   10:59:02 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
       2/8/2025    4:16:07 Core Directory   UserManagement    Delete user                Azure AD Identity Governance ‐ Directory Management   [PII]
       2/9/2025    4:07:58 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
       2/9/2025    4:07:34 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   21:49:55 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   21:48:28 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   21:48:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   21:45:18 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   20:12:35 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      2/10/2025   20:12:33 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      2/10/2025   20:01:30 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.Intune‐Admin"
      2/10/2025   19:59:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "ocio‐itops‐p‐001.Contributor.RBAC"
      2/10/2025   18:47:30 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   18:47:24 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   18:47:24 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   18:47:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   18:47:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:42 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:42 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:41 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:40 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:39 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:38 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:36 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:36 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:35 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:34 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:33:34 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:32:38 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:32:37 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:32:36 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:32:36 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   17:32:35 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   16:42:40 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.USAStaffingLMS.Prod.User"
      2/10/2025   16:00:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      2/10/2025   15:58:32 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   15:38:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      2/10/2025   15:36:13 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025   14:47:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      2/10/2025   14:46:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      2/10/2025   14:46:57 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      2/10/2025   14:46:52 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      2/10/2025   14:40:01 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usal‐p‐001.Full.Owner.RBAC"
      2/10/2025   14:39:04 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.USAStaffingLMS.Prod.User"
      2/10/2025   14:38:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usal‐np‐001.Full.Owner.RBAC"
      2/10/2025   14:26:39 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐usaj‐p‐001.Full.Owner.RBAC"
      2/10/2025    5:13:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:06:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:06:50 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:06:47 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:06:46 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:06:05 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:06:04 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:05:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:05:54 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:05:20 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    5:05:19 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    4:09:40 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    4:07:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    4:07:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/10/2025    4:07:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:13:08 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:11:34 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:08:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:08:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:08:23 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:07:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:07:39 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:05:22 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   22:02:22 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   20:50:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OCIO‐STAMP‐Users"
      2/11/2025   20:06:00 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.BMS.Admin.NP"
      2/11/2025   20:05:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.BMS.Admin.NP"
      2/11/2025   20:05:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.BMS.Admin.NP"
      2/11/2025   20:05:55 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.BMS.Admin.NP"
      2/11/2025   20:05:54 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.BMS.Admin.NP"
      2/11/2025   20:05:53 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.BMS.Admin.NP"
      2/11/2025   20:05:51 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.BMS.Admin.NP"
      2/11/2025   16:14:08 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "HRS – LAB – WIC Collaboration"
      2/11/2025   14:41:14 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "OCIO‐STAMP‐Users"
      2/11/2025   14:38:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   14:24:34 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Box.SFT.AppUsers"
      2/11/2025   14:24:07 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/11/2025   14:03:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.CLDCentral.Prod.User"
      2/12/2025   20:10:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      2/12/2025   20:08:13 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   20:07:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   20:07:50 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      2/12/2025   20:06:58 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      2/12/2025   20:06:46 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   20:05:15 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      2/12/2025   20:05:11 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   19:49:00 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   19:45:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   19:27:13 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   19:27:03 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   19:08:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   19:08:15 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   19:07:33 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   19:07:14 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   18:08:56 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   18:08:41 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      2/12/2025   18:07:43 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   18:07:34 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   18:07:24 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   18:06:59 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      2/12/2025   18:06:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   18:05:27 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [PII]
      2/12/2025   16:56:22 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "DFS Development"
      2/12/2025   16:42:18 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "DFS Testing"
      2/12/2025   16:13:10 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐opf‐p‐001.Reader.RBAC"
      2/12/2025   16:12:38 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "hrs‐opf‐np‐001.Reader.RBAC"
      2/12/2025   16:07:11 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"




                                                                                                            JA598                                                                                OPM-000101
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    Date (UTC) Time        Service          Category          Activity                   ActorDisplayName                                      Target1UserPrincipalName   Target1ModifiedProperty2NewValue
      2/12/2025   16:05:20 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      2/12/2025   15:57:42 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.CLDCentral.Dev.User"
      2/12/2025   15:56:56 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.CLDCentral.Prod.User"
      2/12/2025   15:56:06 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.CLDCentral.Test.User"
      2/12/2025   13:54:44 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "CIITAR Application Users"
      2/12/2025   11:48:36 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "Az.OPM.LearningConnection.Prod.User"
      2/12/2025   11:46:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.KnowBe4.User"
      2/12/2025    0:06:57 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐2]@opm.gov
      2/12/2025    0:06:53 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov
      2/12/2025    0:06:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov
      2/12/2025    0:06:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐6]@opm.gov
      2/12/2025    0:06:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   Amanda.Scales@opm.gov
      2/12/2025    0:06:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐3]@opm.gov
      2/12/2025    0:06:52 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐5]@opm.gov
      2/12/2025    0:06:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐4]@opm.gov
      2/12/2025    0:06:51 Core Directory   GroupManagement   Remove member from group   Azure AD Identity Governance ‐ Directory Management   [OPM‐7]@opm.gov
      2/13/2025   15:14:05 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐usas‐footprints‐apppxy‐users"
      2/13/2025   15:14:03 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "eid‐usas‐footprints‐apppxy‐users"
      2/13/2025   13:34:23 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"
      2/13/2025   13:34:19 Core Directory   GroupManagement   Add member to group        Azure AD Identity Governance ‐ Directory Management   [PII]                      "AZ.OPM.Apptio.Cloudability.User"




                                                                                                            JA599                                                                                OPM-000102
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                                                                                                                               Admin Access
    Employee Name   System Name                                                               Date Created      Date Removed   (Yes/No?)      Login (Yes/No?)
                    OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
    Amanda Scales   / USADATA]                                                                       2/3/2025                  Yes            No
    Amanda Scales   USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                          1/20/2025                  Yes            Yes Last Login 2025-02-28
    Amanda Scales   USA Performance - U.S. Office of Personnel Management                           1/20/2025       N/A        Yes            No
    Amanda Scales   USA Performance - Office of the Director                                        1/31/2025       N/A        Yes            No
    Amanda Scales   FEHB - Federal Employees Health Benefits                                         2/3/2025                  Yes            No
    Amanda Scales   PSHB HBDP - Postal Service Health Benefits Data Platform                         2/3/2025                  Yes            No
                    OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    Charles Ezell   Az.cio.entraID.PowerBIAdmin)                                                    1/20/2025                  Yes            No
                    OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
    Greg Hogan      / USADATA]                                                                      1/28/2025                  Yes            No
                    OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    Greg Hogan      Az.cio.entraID.PowerBIAdmin)                                                    1/20/2025                  Yes            No
    Greg Hogan      USA Performance - U.S. Office of Personnel Management                           1/20/2025       N/A        Yes            Yes
    Greg Hogan      FEHB - Federal Employees Health Benefits                                        1/28/2025                  Yes            No
    Greg Hogan      PSHB HBDP - Postal Service Health Benefits Data Platform                        1/30/2025                  Yes            No
    OPM-10          USA Performance - Office of the Director                                         2/7/2025       N/A        Yes            No
    OPM-11          USA Performance - Office of the Director                                         2/7/2025       N/A        Yes            No
    OPM-12          USA Performance - Office of the Director                                         2/7/2025       N/A        Yes            No
    OPM-13          USA Performance - Office of the Director                                        1/31/2025       N/A        Yes            No
    OPM-14          USA Performance - Office of the Director                                         2/7/2025       N/A        Yes            No
    OPM-15          USA Performance - Office of the Director                                         2/7/2025       N/A        Yes            No
    OPM-16          USA Performance - Office of the Director                                        1/31/2025       N/A        Yes            No
    OPM-17          USA Performance - Office of the Director                                        1/31/2025       N/A        Yes            No
    OPM-18          USA Performance - Office of the Director                                        1/24/2025       N/A        Yes            No
                    OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
    OPM-2           / USADATA]                                                                      1/28/2025                  Yes            No
                    OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    OPM-2           Az.cio.entraID.PowerBIAdmin)                                                    1/28/2025                  Yes            No
                                                                                                                                              No - never completed User
    OPM-2           OPM Data : Electronic Official Personnel Folder (eOPF) - DEV/TST/QA/TRN/PRD    1/28/2025      2/6/2025     No             registraion
                                                                                                                                              No - never completed User
    OPM-2           OPM Data : Enterprise Human Resources Integration (EHRI) - Dev/TST/QA/PRD      1/28/2025      2/6/2025     No             registraion
    OPM-2           FEHB - Federal Employees Health Benefits                                       1/28/2025                   Yes            No
    OPM-2           PSHB HBDP - Postal Service Health Benefits Data Platform                       1/28/2025                   Yes            No
    OPM-2h          USA Performance - U.S. Office of Personnel Management                          1/28/2025        N/A        Yes            No
                    OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    OPM-3           Az.cio.entraID.PowerBIAdmin)                                                   1/20/2025                   Yes            No
    OPM-3           USA Performance - U.S. Office of Personnel Management                          1/20/2025        N/A        Yes            No
    OPM-4           USA Performance - U.S. Office of Personnel Management                          1/28/2025        N/A        Yes            No
                    OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
    OPM-4           / USADATA]                                                                     1/28/2025                   Yes            No
                    OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    OPM-4           Az.cio.entraID.PowerBIAdmin)                                                   1/28/2025                   Yes            No
                                                                                                                                              No - never completed User
    OPM-4           OPM Data : Electronic Official Personnel Folder (eOPF) - DEV/TST/QA/TRN/PRD    1/28/2025      2/6/2025     No             registraion
                                                                                                                                              No - never completed User
    OPM-4           OPM Data : Enterprise Human Resources Integration (EHRI) - Dev/TST/QA/PRD      1/28/2025      2/6/2025     No             registraion
    OPM-4           FEHB - Federal Employees Health Benefits                                       1/28/2025                   Yes            No
    OPM-4           PSHB HBDP - Postal Service Health Benefits Data Platform                       1/28/2025                   Yes            No
                    OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
    OPM-5           / USADATA]                                                                     1/28/2025                   Yes            No
                    OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    OPM-5           Az.cio.entraID.PowerBIAdmin)                                                   1/20/2025                   Yes            No
    OPM-5           USA Performance - U.S. Office of Personnel Management                          1/20/2025        N/A        Yes            No
    OPM-5           FEHB - Federal Employees Health Benefits                                       1/28/2025                   Yes            No
    OPM-5           PSHB HBDP - Postal Service Health Benefits Data Platform                       1/30/2025                   Yes            No
                    OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
    OPM-6           / USADATA]                                                                     1/28/2025                   Yes            Yes
                    OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
    OPM-6           Az.cio.entraID.PowerBIAdmin)                                                   1/28/2025                   Yes            No
                                                                                                                                              No - never completed User
    OPM-6           OPM Data : Electronic Official Personnel Folder (eOPF) - DEV/TST/QA/TRN/PRD    1/28/2025      2/6/2025     No             registraion
                                                                                                                                              No - never completed User
    OPM-6           OPM Data : Enterprise Human Resources Integration (EHRI) - Dev/TST/QA/PRD      1/28/2025     2/6/2025      No             registraion
    OPM-6           USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                         1/28/2025     2/24/2025     Yes            Yes Last Login 2025-2-24
    OPM-6           USA Performance - U.S. Office of Personnel Management                          1/28/2025        N/A        Yes            No
    OPM-6           FEHB - Federal Employees Health Benefits                                       1/28/2025                   Yes            No
    OPM-6           PSHB HBDP - Postal Service Health Benefits Data Platform                       1/28/2025                   Yes            No
    OPM-7           USA Performance - U.S. Office of Personnel Management                          1/20/2025        N/A        Yes            No
    OPM-7           USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                         1/20/2025                   Yes            Yes Last Login 2024-11-07
                    OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
    OPM-8           / USADATA]                                                                      2/3/2025                   Yes            No
    OPM-8           USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                          2/3/2025                   Yes            Yes Last Login 2025-02-23
    OPM-8           USA Performance - Office of the Director                                       1/31/2025        N/A        Yes            No
    OPM-8           FEHB - Federal Employees Health Benefits                                        2/3/2025                   Yes            No
    OPM-8           PSHB HBDP - Postal Service Health Benefits Data Platform                        2/3/2025                   Yes            No
                    OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
    OPM-9           / USADATA]                                                                      2/4/2025                   Yes            No
    OPM-9           USA Performance - Office of the Director                                       1/31/2025        N/A        Yes            No
    OPM-9           FEHB - Federal Employees Health Benefits                                        2/4/2025                   Yes            No
    OPM-9           PSHB HBDP - Postal Service Health Benefits Data Platform                        2/3/2025                   Yes            No




                                                                                             JA600                                                                 OPM-000103
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         From:             Quinn, Quadrina L.
         To:               Scales, Amanda D.;    OPM-5    Hogan, Greg;       OPM-7          OPM-3   Ezell, Charles E.
         Cc:               Walicek, Wayne; Fordham, Marshall T.; Price, MC; Curtis, Teresa A.
         Subject:          USAJOBS admin accounts
         Date:             Monday, January 20, 2025 6:41:52 PM
         Attachments:      image001.png


         Hi all,

         We have created administrator accounts with super user permissions for the USAJOBS admin
         systems below. The Web Admin system utilizes OPM single-sign-on (EntraID) to automatically log
         you in. In Agency Talent Portal you can use PIV or login.gov to authenticate into the system. Please
         let me know if you have any questions or issues with accessing these sites!

         USAJOBS Web Admin
         https://webadmin.usajobs.gov (production)
         https://webadmin.uat.usajobs.gov (user acceptance testing environment)
         https://webadmin.test.usajobs.gov (test environment)
         https://webadmin.dev.usajobs.gov (development environment)

         USAJOBS Agency Talent Portal
         https://agencyportal.usajobs.gov/ (production)
         https://agencyportal.uat.usajobs.gov (user acceptance testing environment)
         https://agencyportal.test.usajobs.gov (test environment)
         https://agencyportal.dev.usajobs.gov (development environment)

         Thanks,
         Quadrina Quinn
         Supervisory IT Specialist
         U.S. Office of Personnel Management
         Office of the Chief Information Officer
         c: (202)
                          @opm.gov
         OPM.gov




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                                                                JA601                                                   OPM-000104
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         From:           Quinn, Quadrina L.
         To:                OPM-6             OPM-2          OPM-4

         Cc:             Walicek, Wayne; Curtis, Teresa A.; Price, MC; Fordham, Marshall T.; Sarazine, Luke W.; Scales, Amanda
         Subject:        Access to USAJOBS
         Date:           Tuesday, January 28, 2025 4:29:25 PM
         Attachments:    image001.png


         Hi all,

         The requested access, permissions and documentation are below. Please let us know if you have any
         questions or issues!

         • Code read and write permissions
               Code read and write permissions will be granted via GitHub. The USAJOBS repositories can be
               located here. If you have any issues please contact Christopher Inman
         • Deploy ability Octopus deploy
               Deploy ability in Octopus Deploy – If you have any issues please contact Christopher
               Inman.
         • Monitoring dashboards (e.g. displaying success rates, volume of traffic)
                 USAJ Production Azure Application Insights Dashboard
                 USAJ UAT Azure Application Insights
                 USAJ Test Azure Application Insights
                 USAJ DEV Azure Application Insights
         • Documentation (e.g. test and deploy instructions, system diagrams)
                 USAJOBS code repository readme
                 USAJOBS infrastructure readme
                 USAJOBS system diagram
         • The on-call rotation for the system
                 Tony Dalton - 202-           (Devops/system administration)
                 James Moon - 478-             (DBA)
         • Names of all engineers deeply familiar with the system
                 Keith Lawrence – Systems Architect
                 Saleim Abushanab – Lead Developer
                 Jacob Riley – Lead Developer
                 Wayne Kaye – Lead Developer
                 Marshall Fordham – Supervisor
                 Quadrina Quinn – Supervisor
                 Luke Sarazine – Supervisor
         • Ability to access the system as a regular user
                 USAJOBS.gov accounts will need to be self-registered.
         • Ability to access the system as an admin user.
                 USAJOBS Web Admin accounts created with super user permissions. The Web Admin system
                 utilizes OPM single-sign-on (EntraID) to automatically log you in
                 USAJOB Agency Talent Portal account invites sent. You can use PIV or login.gov to
                 authenticate into the system.

         Thanks,


                                                              JA602                                                    OPM-000105
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         Quadrina Quinn
         Supervisory IT Specialist
         U.S. Office of Personnel Management
         Office of the Chief Information Officer
         c: (202)
                          @opm.gov
         OPM.gov




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                                                        JA603                          OPM-000106
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         From:              Curtis, Teresa A.
         To:                Hurst, Corey D.; Price, MC
         Cc:                Walicek, Wayne; Corum, Brice M.; DesCombes, Daniel; Parham, Lee; Sarazine, Luke W.
         Subject:           Re: urgent request from political tech staff
         Date:              Thursday, January 30, 2025 10:28:47 AM
         Attachments:       Outlook-t4jdpy0h.png



         Yes - The request was from the Acting Director to MC on Monday January 20th to add these
         people to the system as admins.



         Teresa Curtis
         Deputy Associate Chief Information Officer
         U.S. Office of Personnel Management
         Office of the Chief Information Officer, Federal Information Technology Business Solutions
         c: (816)
                       @opm.gov
         OPM.gov


         From: Hurst, Corey D. <            @opm.gov>
         Sent: Thursday, January 30, 2025 8:37 AM
         To: Price, MC <            @opm.gov>; Curtis, Teresa A. <                               @opm.gov>
         Cc: Walicek, Wayne <                @opm.gov>; Corum, Brice M. <                              @opm.gov>;
         DesCombes, Daniel <                     @opm.gov>; Parham, Lee <                             @opm.gov>;
         Sarazine, Luke W. <             @opm.gov>
         Subject: Re: urgent request from political tech staff

         Good Morning MC/Teresa,

         I can't seem to find the first request for the 6 individuals that we granted this access for. I'm
         thinking it was due to the 911-esque call we had that evening. Can you please confirm
         guidance/approval for the access for these folks from 1/20/25, for documentation purposes?

         Individuals from the Political Team:

               amanda.scales@opm.gov
                   OPM-5
                              @opm.gov
               greg.hogan@opm.gov
                    OPM-7
                               @opm.gov
                    OPM-3
                                @opm.gov
               charles.ezell@opm.gov

         Thank you,



                                                               JA604                                             OPM-000107
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         Corey Hurst
         Supervisory IT Specialist
         U.S. Office of Personnel Management
         OCIO – HR Solutions IT PMO – USA Staffing
         Office (Teams): 202-936-2745
         Cell: 478-
                     @opm.gov
         OPM.gov




         Follow us on LinkedIn | Twitter | YouTube




         From: Price, MC <            @opm.gov>
         Sent: Tuesday, January 28, 2025 9:07 AM
         To: Meck, Aaron R.              @opm.gov>; Boles, Jason R             @opm.gov>; Burke, Paul T.
                     @opm.gov>; Corum, Brice M.                @opm.gov>; Curtis, Teresa A.
                       @opm.gov>; Davis, Leslie B. <          @opm.gov>; Decker, DJ
         <             @opm.gov>; DesCombes, Daniel <                     @opm.gov>; Eavenson, Keith W.
         <                @opm.gov>; Ezell, Phillip A. <        @opm.gov>; Fordham, Marshall T.
         <                  @opm.gov>; Foster, Ozie L. <          @opm.gov>; Hurst, Corey D.
         <            @opm.gov>; Inman, Christopher M. <                   @opm.gov>; Leski, David R.
         <           @opm.gov>; Mathews, Brian C.                  @opm.gov>; Meck, Aaron R.
         <            @opm.gov>; Micko, Robert J. <              @opm.gov>; Parham, Lee
         <            @opm.gov>; Price, MC <               @opm.gov>; Quinn, Quadrina L.
         <                @opm.gov>; Raval, Divya <           @opm.gov>; Sarazine, Luke W.
         <             @opm.gov>; Shelton, Angela K.                  @opm.gov>; Walicek, Wayne
                          @opm.gov>; Williams, Melanie                    @opm.gov>; Williamson, Kim H.
                          @opm.gov>; Papp, David              @opm.gov>; Williams, Melanie
                            @opm.gov>
         Subject: urgent request from political tech staff

         Quadrina, Brice, Corey, Daniel, Ozie, Dave, Luke, Paul, others as needed.

         We have already given several of the political devs/engineers comprehensive access to USAJOBS and
         USA Staffing, and local admin, Enterprise Github licenses, etc. Now we have 3 more individuals with
         the same requirement. We’ll start with USAJOBS, USA Staffing, and eOPF/EHRI. USAP will be next,
         so might as well go ahead there. I will give them the leads to work with for these three and they will
         most likely reach out to discuss the bullets below (the how to’s, along with the access).

         The need to have access today, so please work through all the wickets, and Luke/Quadrina/Marshall,
         Brice/Daniel, Ozie, send them an intro message letting them know (please copy me).

             OPM-6
                        @opm.gov
                OPM-2
                          @opm.gov


                                                          JA605                                    OPM-000108
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               OPM-4
                         @opm.gov


         • Code read and write permissions
         • Deploy ability Octopus deploy
         • Monitoring dashboards (e.g. displaying success rates, volume of traffic)
         • Documentation (e.g. test and deploy instructions, system diagrams)
         • The on-call rotation for the system
         • Names of all engineers deeply familiar with the system
         • Names of all product/project managers deeply familiar with the system
         • Ability to access the system as a regular user (e.g. hiring manager and onboarding user
             for USA Staffing)
         • Ability to access the system as an admin user




                                                 JA606                                  OPM-000109
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                                         JA607                          OPM-000110
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                                                      JA608                              OPM-000111
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                                                      JA609                              OPM-000112
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                                    Acceptance of Uncompensated Services

        I understand that I may be employed with the United States Office of Personnel Management

        (OPM) under the authority of 5 U.S.C. § 3109. Under certain circumstances, OPM may use this

        authority to employ experts or consultants with or without pay, provided that such personnel

        agree in advance in writing to waive any claims for compensation for those services.

        I desire to offer my services to OPM. Accordingly, I agree to being appointed as an

        uncompensated employee of OPM; I understand that I will not receive any pay or any other form

        of compensation from OPM, the federal Government, or any other source for the services I

        render to OPM.

        In addition, I hereby waive any and all claims I may have in the future against OPM and/or the

        federal Government on account of the services I render to OPM.


                            OPM-7



        Signed:
                                         OPM-7
        Printed Name of Appointee:               _____________________________________

        Date: ____January 20, 2025_________________




                                                   JA610                                       OPM-000113
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                                                      JA611                              OPM-000114
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                                                      JA612                              OPM-000115
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                                                      JA613                              OPM-000116
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                      Privacy Impact Assessment for

         Government-Wide Email System (GWES)

                               February 28, 2025

                                Contact Point
                                Riccardo Biasini
                         Senior Advisor to the Director
                             Office of the Director

                              Reviewing Official
                                   Greg Hogan
                            Chief Information Officer




                                                                   OPM Form 5003
                                         JA614                          OPM-000117
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                                                 Government-Wide Email System (GWES)
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        Legal Requirements for Privacy Impact Assessment
        Longstanding Office of Management and Budget (OMB) and Office of
        Personnel Management (OPM) guidance explains that Privacy Impact
        Assessments (PIAs) are not required for IT systems or projects that collect,
        maintain, or disseminate information solely about federal government
        employees. For example, the OMB guidance states that “[n]o PIA is required
        . . . for government-run websites, IT systems or collections of information to
        the extent that they do not collect or maintain information in identifiable
        form about members of the general public.” M-03-22, OMB Guidance for
        Implementing the Privacy Provisions of the E-Government Act of 2002,
        Attachment A(II)(B)(3) (Sept. 26, 2003); see also id. Attachment
        A(II)(B)(1) (“The E-Government Act requires agencies to conduct a PIA
        before: 1. developing or procuring IT systems or projects that collect,
        maintain or disseminate information in identifiable form from or about
        members of the public, or 2. initiating, consistent with the Paperwork
        Reduction Act, a new electronic collection of information in identifiable form
        for 10 or more persons (excluding agencies, instrumentalities or employees
        of the federal government).”); OPM Privacy Impact Assessment (PIA) Guide,
        at 2 (Apr. 22, 2010) (stating that a PIA is required for “an IT system or
        project that collects, maintains, or disseminates information in identifiable
        form from or about members of the public”); id. at 3.

        The Government-Wide Email System (GWES) collects, maintains, and
        disseminates information about federal government employees. Therefore,
        no PIA is required. OPM has nevertheless chosen to conduct this PIA in its
        discretion.



        Abstract
        OPM has a variety of personnel management functions, including executing,
        administering, and enforcing the civil service system. In order to carry out
        these duties, OPM internally developed the GWES to enable widespread,



                                                                         OPM Form 5003
                                            JA615                             OPM-000118
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                                                 Government-Wide Email System (GWES)
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        rapid email communication with federal government employees. The GWES
        is designed to maintain the names and government email addresses of
        federal government employees, as well as emails sent from the system and
        responses to those emails.



        Overview
        To execute its authorized role with respect to personnel matters and fulfill its
        duty to enforce the civil service laws, OPM has developed a system to send
        government-wide emails to federal government employees and receive
        responses. This system increases efficiency and transparency by allowing
        fast and widespread communication with the federal workforce OPM has
        been tasked with overseeing.

        The GWES system operates entirely on government computers and in
        Microsoft applications procured in the normal course. OPM uses this system
        to communicate with federal employees, in a capacity within its statutory
        authority. The GWES is designed to collect, maintain, and use the (1) names
        of federal employees, (2) their government email addresses, and (3) email
        messages and responses, which may include additional information about
        the employee provided by that employee. The GWES blocks responses from
        emails that do not have government domains.

        The information in the GWES is accessible by a limited number of individuals
        within OPM who have a need for the information in the performance of their
        duties, overseen by the Chief Information Officer.

        The GWES is built largely upon employee email contact information found in
        the Enterprise Human Resources Integration (EHRI) and Official Personnel
        Folder (OPF) record systems. Additional email contact data is collected from
        the employing agencies of federal workers. OPM applies filters to these
        various sources to remove erroneous domains before emails are sent. The
        GWES is subject to existing and approved OPM security plans and the data is



                                                                         OPM Form 5003
                                            JA616                             OPM-000119
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        stored in secure Microsoft applications and on government computers
        requiring PIV access.



        Section 1.0. Authorities and Other Requirements
        1.1. What specific legal authorities and/or agreements permit and
        define the collection of information by the project in question?
        The President may delegate “authority for personnel management functions”
        to the Director of OPM. 5 U.S.C. § 1104(a)(1). OPM has been delegated
        authority to “exercise and provide leadership in personnel matters,” among
        other functions. Executive Order 9830 § 01.2(b). The Director also has the
        duty to “execut[e], administer[], and enforce[e] … the civil service rules and
        regulations of the President and the Office and the laws governing the civil
        service.” 5 U.S.C. § 1103(a)(5). Other relevant authorities include: 5 U.S.C.
        §§ 301, 2951, 3301, 4302, 6504, 8347, and 8461. These authorities permit
        OPM to maintain and request information regarding federal employees. The
        President may also, from time to time, direct OPM to collect information or
        communicate with the federal workforce on particular subject matters.

        1.2. What Privacy Act System of Records Notice(s) (SORN(s)) apply
        to the information?
        Email systems are not generally subject to the Privacy Act of 1974.
        However, to the extent the GWES contain records subject to the Privacy Act,
        or information stored on secure government computers, the information in
        this system is covered by various OPM SORNs, including but not limited to
        OPM GOVT-1, GOVT-2, Central-21, and Internal-21 SORNs.

        1.3. Has a system security plan been completed for the information
        system(s) supporting the project?
        The GWES is located within Microsoft applications and on secure government
        computers. These Microsoft Applications have been granted an Authorization
        to Operate (ATO) that includes an approved system security plan. The




                                                                       OPM Form 5003
                                           JA617                              OPM-000120
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        government computers storing the data are subject to standard security
        requirements, including limited PIV access.

        1.4. Does a records retention schedule approved by the National
        Archives and Records Administration (NARA) exist?
        Depending on the nature and type of record within the GWES, various NARA-
        approved records schedules may apply. Item 040 (DAA-GRS-2017-0007-
        0004) covers any eOPF records and item 080 (DAA-GRS2017-0007-0012)
        covers other personnel contact information. Email records are governed by
        GRS 6.1, Capstone E-mail Retention.

        1.5. If the information is covered by the Paperwork Reduction Act
        (PRA), provide the OMB Control number and the agency number for
        the collection. If there are multiple forms, include a list in an
        appendix.
        Information contained in the GWES is not subject to the PRA because it is
        not collected from the public.



        Section 2.0. Characterization of the Information
        2.1. Identify the information the project collects, uses, disseminates,
        or maintains.
        The GWES is designed to collect, maintain, and use the names and
        government email addresses of federal government employees. The GWES
        also maintains emails sent to those addresses, and collects and maintains
        responses to those emails. Specifically, the GWES contains the following:

           •   Employee Contact Data: The GWES is designed to collect, maintain,
               and use the names and government email addresses of federal
               government employees. Other identifying information is not used.


           •   Employee Response Data: After an email is sent using Employee
               Contact Data, the GWES stores that email and may collect and
               maintain responses. In some circumstances, responses may also be


                                                                        OPM Form 5003
                                              JA618                          OPM-000121
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              sent directly to or redistributed to employing agencies or other
              agencies consistent with applicable restrictions on the particular data
              at issue and using authorized means of transmission.

        2.2. What are the sources of the information and how is the
        information collected for the project?
        The Employee Contact Data is compiled using the EHRI and OPF record
        systems. Additionally, some email contact data is collected from the
        employing agencies of federal workers. The system applies filters to remove
        erroneous domains before emails are sent.

        The Employee Response Data is sent by federal government employees to
        OPM by email.

        2.3. Does the project use information from commercial sources or
        publicly available data? If so, explain why and how this information
        is used.
        No, although many names and email addresses of federal government
        employees are publicly available.

        2.4. Discuss how accuracy of the data is ensured.
        The Employee Contact Data comes from the EHRI and OPF systems, which
        are subject to their own accuracy measures as outlined in their respective
        PIAs, as well as directly from the employing agencies.

        The Employee Response Data comes directly from employees through their
        secure government email addresses. OPM anticipates that the responses will
        cover information within employees’ personal knowledge or information
        provided to them in the course of their official duties.

        2.5. Privacy Impact Analysis: Related to Characterization of the
        Information
        Privacy Risk: There is a risk that erroneous email addresses have been
        collected.




                                                                        OPM Form 5003
                                            JA619                            OPM-000122
USCA4 Appeal: 25-1282   Doc: 39-2     Filed: 04/14/2025 Pg: 45 of 231
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                                                       Privacy Impact Assessment
                                               Government-Wide Email System (GWES)
                                                                             Page 6


        Mitigation: This risk has been mitigated by compiling the Employee Contact
        Data through the EHRI and OPF systems, and directly from the employing
        agencies. The GWES uses email addresses with government domains and
        uses a filtering mechanism to remove contact data erroneously captured
        before emails are sent.

        Privacy Risk: There is a risk that the Employee Response Data will be
        erroneous.

        Mitigation: Because OPM uses the GWES to send emails to employees’
        official government email addresses, OPM has a high degree of confidence
        that the Employee Response Data will represent actual employee responses.
        Additionally, employees have the ability to correct any erroneous responses
        by working with the human capital officer or manager in their employing
        agency.



        Section 3.0. Uses of the Information
        3.1. Describe how and why the project uses the information.
        The GWES enables OPM to communicate directly and quickly with federal
        government employees and help OPM fulfill its statutory and delegated
        duties to lead and oversee personnel management functions in the federal
        workforce. OPM may also further communicate employee responses to
        employing agencies to facilitate those agencies’ own personnel management,
        or other agencies as appropriate to facilitate government-wide workforce
        initiatives.

        3.2. Does the project use technology to conduct electronic searches,
        queries, or analyses in an electronic database to discover or locate a
        predictive pattern or an anomaly? If so, state how OPM plans to use
        such results.
        OPM employees programmatically evaluate responses to verify the quality of
        the system and analyze the substance of the Employee Response Data. OPM



                                                                      OPM Form 5003
                                          JA620                           OPM-000123
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                                                         Privacy Impact Assessment
                                                 Government-Wide Email System (GWES)
                                                                               Page 7


        anticipates enhancing and refining its response analyses over time. OPM
        may also query specific responses or emails to evaluate them as needed.
        Responses may be used to assist in making personnel decisions and to
        inform broader workplace initiatives.

        3.3. Are there other programs or offices with assigned roles and
        responsibilities within the system?
        No.

        3.4. Privacy Impact Analysis: Related to the Uses of Information
        Privacy Risk: There is a risk that the GWES information may be accessed
        by unauthorized users or by authorized users for an unauthorized purpose.

        Mitigation: This risk is mitigated by restricting disclosure to a limited
        number of individuals who have a need to know the GWES information. The
        data is stored in secure Microsoft applications, and on secure government
        computers requiring a PIV card to access.



        Section 4.0. Notice
        4.1. How does the project provide individuals notice prior to the
        collection of information? If notice is not provided, explain why not.
        The names and government email addresses of federal government
        employees are already housed in OPM systems or provided by employing
        agencies and, in any event, do not contain substantive information about
        employees. As a result, there is no reason to provide advance notice for the
        collection of Employee Contact Data. Employees are provided notice of
        collection of the Employee Response Data in the emails disseminated using
        the GWES. Employees provide the data themselves in response to the email.
        This PIA also serves as a public resource explaining the purpose of the
        GWES, applicable SORNs, and other privacy-related information.




                                                                         OPM Form 5003
                                            JA621                             OPM-000124
USCA4 Appeal: 25-1282   Doc: 39-2       Filed: 04/14/2025 Pg: 47 of 231
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                                                          Privacy Impact Assessment
                                                  Government-Wide Email System (GWES)
                                                                                Page 8


        4.2. What opportunities are available for individuals to consent to
        uses, decline to provide information, or opt out of the project?
        Individual federal government employees can decline to provide information
        by not responding to the email. The consequences for failure to provide the
        requested information will vary depending on the particular email at issue.

        4.3. Privacy Impact Analysis: Related to Notice
        Privacy Risk: There is a risk that individuals will not know their information
        is being collected, maintained, and distributed through the GWES.

        Mitigation: This risk is mitigated by the publication of this PIA and through
        various statements provided to government employees explaining the
        information collection at issue.



        Section 5.0. Data Retention by the Project
        5.1. Explain how long and for what reason the information is
        retained.
        The records in the GWES are maintained according to the retention
        schedules identified in Section 1.4.

        5.2. Privacy Impact Analysis: Related to Retention
        Privacy Risk: There is a risk that the GWES information will be retained for
        longer than is necessary.

        Mitigation: The risk is mitigated because OPM can delete all the GWES
        information, consistent with applicable retention schedules.




                                                                       OPM Form 5003
                                               JA622                        OPM-000125
USCA4 Appeal: 25-1282   Doc: 39-2       Filed: 04/14/2025 Pg: 48 of 231
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                                                 Government-Wide Email System (GWES)
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        Section 6.0. Information Sharing
        6.1. Is information shared outside of OPM as part of the normal
        agency operations? If so, identify the organization(s) and how the
        information is accessed and how it is to be used.
        OPM anticipates regularly sharing GWES information relating to particular
        employees with their employing agency. In certain situations, data may also
        be shared with other agencies. Any data sharing will be undertaken
        consistent with applicable laws and policies, including pursuant to routine
        uses of applicable SORNs or employee consent. Data will be shared via
        authorized systems hosted either by OPM or the receiving agency.

        6.2. Describe how the external sharing noted in 6.1 is compatible
        with the SORN noted in 1.2.
        To the extent that GWES information is shared outside of OPM, it is shared
        consistent with applicable provisions of the Privacy Act, including through
        the routine uses of pertinent SORNs. The principal personnel SORN, GOVT-1,
        is owned by OPM but information may be accessed by employing agencies as
        needed.

        6.3. Does the project place limitations on re-dissemination?
        Government agencies that receive GWES information are generally subject
        to both the government-wide SORNs referenced in Section 1.2 as well as
        their own SORNs. Their use or disclosure of the information may occur only
        as consistent with applicable legal limitations.

        6.4. Describe how the project maintains a record of any disclosures
        outside of OPM.
        OPM keeps a record of distributions to the employing agencies in Microsoft
        applications. All actions taken by a user in Microsoft systems are logged,
        monitored, and accessed by those with a need to know for the performance
        of their official duties.




                                                                        OPM Form 5003
                                            JA623                           OPM-000126
USCA4 Appeal: 25-1282   Doc: 39-2      Filed: 04/14/2025 Pg: 49 of 231
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                                                Government-Wide Email System (GWES)
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        6.5. Privacy Impact Analysis: Related to Information Sharing
        Privacy Risk: There is a risk that GWES information will be shared outside
        of OPM without authorization.

        Mitigation: This risk is mitigated by limiting access to the GWES and
        disseminating GWES information only as consistent with relevant SORNs or
        as otherwise permitted by applicable law.



        Section 7.0. Redress
        7.1. What are the procedures that allow individuals to access their
        information?
        The federal government employees in the GWES have access to their own
        individual information. Employees will have a copy of any email that is sent,
        as well as their response. In addition, access procedures are outlined in each
        relevant SORN referenced in 1.2.

        7.2. What procedures are in place to allow the subject individual to
        correct inaccurate or erroneous information?
        If the Employee Response Data is erroneous, any federal government
        employee covered by the GWES may inform the human capital officer or a
        manager in their employing agency, who can work with the employee and
        OPM as necessary to correct the problem.

        7.3. How does the project notify individuals about the procedures for
        correcting their information?
        Emails sent through the GWES, or related guidance disseminated through
        agency human capital officers or managers, may inform individual federal
        employees of the procedures for correcting erroneous information through
        their employing agency. Also, employees may follow the publicly accessible
        access and amendment procedures outlined in the relevant SORNs
        referenced in 1.2.




                                                                       OPM Form 5003
                                           JA624                            OPM-000127
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        7.4. Privacy Impact Analysis: Related to Redress
        Privacy Risk: There is a risk that federal government employees will not
        have information regarding how to amend erroneous information.

        Mitigation: Lodging the primary corrective mechanism in the human capital
        officer or manager at the employing agency gives each employee intuitive
        and easy access to the corrective mechanism. Also, each SORN has clear
        access and amendment procedures that employees may follow.



        Section 8.0. Auditing and Accountability
        8.1. How does the project ensure that the information is used in
        accordance with stated practices in the PIA?
        GWES information is captured by OPM’s auditing tools and retained in an
        auditing archive. The Office of the Chief Information Security Officer reviews
        for suspicious or unusual activity and suspected violations, and appropriate
        action is taken as necessary.

        8.2. Describe what privacy training is provided to users either
        generally or specifically relevant to the project.
        OPM employees are required to take IT Security and Privacy Awareness
        training on an annual basis, and agree to OPM’s Rules of Behavior before
        accessing the system.

        8.3. What procedures are in place to determine which users may
        access the information and how does the project determine who has
        access?
        Only a limited number of OPM employees with a need to know will have
        access to the full extent of the GWES data. No employee has access unless
        specifically authorized by the system owner and the authorizing official. Data
        sharing outside OPM is permitted only insofar as consistent with applicable
        law and as described above.




                                                                       OPM Form 5003
                                             JA625                          OPM-000128
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                                                  Government-Wide Email System (GWES)
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        8.4. How does the project review and approve information sharing
        agreements, MOUs, new uses of the information, and new access to
        the system by organizations within OPM and outside?
        Any changes in GWES access, uses, sharing agreements, or Memoranda of
        Understanding (MOUs) would need to be reviewed and approved by the
        system owner in coordination with the Office of the Chief Information
        Officer, as consistent with applicable law.



        Responsible Officials
        Office of the Chief Information Officer

        Office of the Director



        Approval Signature



        Signed copy on file with the Chief Information Officer

        Greg Hogan
        Chief Information Officer




                                                                       OPM Form 5003
                                            JA626                           OPM-000129
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                                     Exhibit B




                                         JA627
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                                     Exhibit 1




                                         JA628
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                                         JA629
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            Case 8:25-cv-00430-DLB   Document 64-2 Filed 03/15/25 Page 4 of 29




                                         JA630
USCA4 Appeal: 25-1282   Doc: 39-2     Filed: 04/14/2025 Pg: 56 of 231
            Case 8:25-cv-00430-DLB   Document 64-2 Filed 03/15/25 Page 5 of 29




                                         JA631
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                      Supplemental AR Tab 1




                                         JA632
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         From:              Jonathan Greenstein (Volunteer)
         To:                TreasuryExecutiveResources; Michael Friedman
         Cc:                               ; Hampton, Ravin;
         Subject:           RE: [EXTERNAL] White House Liaison - Meet and Greet
         Date:              Thursday, January 9, 2025 1:21:43 PM
         Attachments:       Tom Krause.pdf




         ** Caution: External email from: [JonathanG.Volunteer@47transition.com] Pay attention
         to suspicious links and attachments. Send suspicious email to suspect@treasury.gov **



         CONFIDENTIAL / SUBJECT TO PRESIDENTIAL MOU




         From: Jonathan Greenstein (Volunteer)
         Sent: Wednesday, January 8, 2025 10:42 PM
         To: TreasuryExecutiveResources@treasury.gov; Michael Friedman <michaelf@47transition.com>;
         David Eisner (Volunteer) <DavidE.Volunteer@47transition.com>
         Cc:                 @treasury.gov; Ravin.Hampton@treasury.gov;            @treasury.gov
         Subject: RE: [EXTERNAL] White House Liaison - Meet and Greet

         CONFIDENTIAL / SUBJECT TO PRESIDENTIAL MOU



         Sherri and Kim –



         Please find attached and below the contact information of another member we would like to have on
         the day 1 team, to lead on Fiscal Services modernization efforts. Resume attached. Happy to discuss
         on the call tomorrow at 1pm ET.



               Tom Krause

         Jonathan




                                                               JA633              Supp_25-cv-00313_DDC_UST_0001
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                      Supplemental AR Tab 2




                                         JA634
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                                         JA635
USCA4 Appeal: 25-1282          Doc: 39-2                           Filed: 04/14/2025 Pg: 61 of 231
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 Proposed by:                                                                   Proposed:
 Promoted by:                                                                   Promoted:

 Business impact:

 Probable cause:


 Post Incident Report

 Overview:

 Findings:

 Timeline:




 Related List Title:         Task SLA List
 Table name:                 task_sla
 Query Condition:            Task = INC0130757
 Sort Order:                 None


                                                                                                                                                 1 Task SLAs

                                                                                                                Business ela
                  SLA definitio                                                 Business tim   Business ela
 Task                             Type                Target      Stage                                         psed percent Start time       Stop time
                  n                                                             e left         psed time
                                                                                                                age

 INC0130757       Priority 4                                      Completed     4 Days 23      4 Minutes        0.07          2025-02-03      2025-02-10
                  Resolution                                                    Hours 55                                      12:52:09        13:00:02
                                                                                Minutes




 Related List Title:         Incident List
 Table name:                 incident
 Query Condition:            Caller =
 Sort Order:                 Number in descending order


                                                                                                                                                 24 Incidents

                                                                                Additional assign
 ▼ Number              Action status         Active            Activity due                       Agile story          Approval            Approval history
                                                                                ee list

 INC0131552                                  false             UNKNOWN                                                 Not Yet
                                                                                                                       Requested
 INC0131550                                  false             UNKNOWN                                                 Not Yet
                                                                                                                       Requested
 INC0130757                                  false             UNKNOWN                                                 Not Yet
                                                                                                                       Requested
 INC0130583                                  false             UNKNOWN                                                 Not Yet
                                                                                                                       Requested



 Run By :
                                                                              JA636                              2025-02-28 13:53:44 Eastern Standard Time
                                                                                                      Supp_25-cv-00313_DDC_UST_0003
USCA4 Appeal: 25-1282          Doc: 39-2       Filed: 04/14/2025 Pg: 62 of 231
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                                                            Additional assign
 ▼ Number     Action status   Active       Activity due                       Agile story        Approval          Approval history
                                                            ee list

 INC0130227                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0130223                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0129558                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0115971                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0107847                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0079940                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0079585                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0079163                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0077531                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0077492                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0075643                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0073212                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0070455                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0069476                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0069352                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0062924                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0048620                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0047969                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0024436                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested
 INC0023254                   false        UNKNOWN                                               Not Yet
                                                                                                 Requested




 Run By :
                                                          JA637                             2025-02-28 13:53:44 Eastern Standard Time
                                                                                  Supp_25-cv-00313_DDC_UST_0004
USCA4 Appeal: 25-1282          Doc: 39-2                       Filed: 04/14/2025 Pg: 63 of 231
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 Related List Title:      CIs Affected List
 Table name:              task_ci
 Query Condition:         Task = INC0130757
 Sort Order:              None


                                                                                                                                             1 CIs Affected

 Configuration Item                                 Asset action                                        Swapped CI

 SailPoint IdentityIQ




 Related List Title:      Impacted CIs List
 Table name:              task_cmdb_ci_service
 Query Condition:         Task = INC0130757
 Sort Order:              None


                                                                                                                                            1 Impacted CIs

 Configuration Item     Managed by            Owned by             Approval group        Location              Operational status    Manually added

 CAIA (Common                                                                                                  Operational           true
 Approach to Identity
 Assurance)




 Related List Title:      Knowledge List
 Table name:              kb_knowledge
 Query Condition:         Sys ID in
 Sort Order:              Number in descending order


                                                                                                                                                      None




 Related List Title:      Security Incident List
 Table name:              sn_si_incident
 Query Condition:         Parent = INC0130757 AND Enforce restriction = false .or. Enforce restriction is empty OR Enforce restriction = true AND Allowed
                          members CONTAINS (              ) .or. Allowed groups CONTAINS ( Fiscal Supervisor, BFS Employees, CAM System Owner )
                          AND Parent = INC0130757
 Sort Order:              Number in ascending order


                                                                                                                                                      None




 Run By :
                                                                       JA638                                  2025-02-28 13:53:44 Eastern Standard Time
                                                                                                      Supp_25-cv-00313_DDC_UST_0005
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 Related List Title:   Security Incident List
 Table name:           sn_si_incident
 Query Condition:      Incident = INC0130757 AND Enforce restriction = false .or. Enforce restriction is empty OR Enforce restriction = true AND Allowed
                       members CONTAINS (              ) .or. Allowed groups CONTAINS ( Fiscal Supervisor, BFS Employees, CAM System Owner )
                       AND Incident = INC0130757
 Sort Order:           Number in ascending order


                                                                                                                                                    None




 Run By :
                                                                    JA639                                   2025-02-28 13:53:44 Eastern Standard Time
                                                                                                    Supp_25-cv-00313_DDC_UST_0006
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 Requested Item Details                                             Document 64-2 Filed 03/15/25 Page 14 of 29                                 Page 1




 Report Title:                Requested Item Details
 Run Date and Time:           2025-02-28 08:48:16 Eastern Standard Time
 Run by:
 Table name:                  sc_req_item



 Requested Item

 Number:                                    RITM0180112                         Opened:                           2025-01-29 15:34:25
 Item:                                      Top Secret (TSS) Mainframe Access   Opened by:
                                            Request                             Stage:                            Completed
 Request:                                   REQ0177917                          State:                            Closed Complete
 Request Requested for:                                                         Quantity:                         1
 Due date:                                  2025-02-12 15:34:25                 Estimated delivery:
 Configuration item:                                                            Delayed:                          false
 Watch list:                                                                    Order Guide:

 Additional comments:
 2025-01-31 18:07:24 -                      (Additional comments)
 sorry read/write is needed

 2025-01-31 18:07:10 -                      (Additional comments)
 again disregard, read/write

 2025-01-30 09:12:59 -                   (Additional comments)
 Please disregard - go with read only at this time

 2025-01-30 07:37:40 -        (Additional comments)
 #AUDITRD , GLOBALPF, TSOALLPF are the new groups needed.

 2025-01-29 18:02:58 -             (Additional comments)
 Change #PAMDADM to a read/write access

 2025-01-29 16:30:01 -              (Additional comments)
 add readonly access to FROPK.*.SPR.*




 Related List Title:          Catalog Task List
 Table name:                  sc_task
 Query Condition:             Request item = RITM0180112
 Sort Order:                  Number in ascending order


                                                                                                                                        1 Catalog Tasks




 Run By :
                                                                          JA640                              2025-02-28 08:48:16 Eastern Standard Time
                                                                                                      Supp_25-cv-00313_DDC_UST_0007
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 Requested Item Details                                            Document 64-2 Filed 03/15/25 Page 15 of 29                                          Page 2




                                               Assignment grou
 ▲ Number              State                                   Assigned to     Short description Due date            Actual start         Actual end
                                               p

 SCTASK0185700 Closed Complete                 MACB                            TSS Access                            2025-01-31           2025-01-31
                                                                               Request Created                       18:08:05             20:40:56
                                                                               Account for Marko
                                                                               Elez, CA86




 Related List Title:           Approval List
 Table name:                   sysapproval_approver
 Query Condition:              Approval for = RITM0180112
 Sort Order:                   Created in descending order


                                                                                                                                                1 Approvals

 State                              Approver                       Comments                   Approving                      ▼ Created

 Approved                                                                                     Requested Item:                2025-01-29 15:34:27
                                                                                              RITM0180112




 Related List Title:           Task SLA List
 Table name:                   task_sla
 Query Condition:              Task = RITM0180112
 Sort Order:                   None


                                                                                                                                               1 Task SLAs

                                                                                                             Business ela
                  SLA definitio                                                Business tim   Business ela
 Task                               Type              Target       Stage                                     psed percent Start time         Stop time
                  n                                                            e left         psed time
                                                                                                             age

 RITM0180112 Catalog Item           SLA               Resolution   Completed   13 Days 21     2 Hours 32     0.76            2025-01-29      2025-01-31
             SLA - 2                                                           Hours 27       Minutes                        15:34:25        20:40:57
             weeks                                                             Minutes




 Related List Title:           Attachment List
 Table name:                   sys_attachment
 Query Condition:              Table name in sc_request, sc_req_item, sc_task, ZZ_YYsc_req_item AND Table sys ID in 7089fc9b1b179e5011230f67624bcb8b,
                               7889fc9b1b179e5011230f67624bcb8b, 87df6f738753561003dd85550cbb35c9
 Sort Order:                   Created in descending order




 Run By :
                                                                             JA641                              2025-02-28 08:48:16 Eastern Standard Time
                                                                                                     Supp_25-cv-00313_DDC_UST_0008
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 Requested Item Details                        Document 64-2 Filed 03/15/25 Page 16 of 29                                Page 3




                                                                                                                    2 Attachments

 File name          Content type     Table name         Table sys ID            ▼ Created              Size bytes

 CA86.PNG           image/png        sc_task            87df6f738753561003dd    2025-02-02 13:50:06    42337
                                                        85550cbb35c9
 CA86 PAM Profile   image/png        sc_task            87df6f738753561003dd    2025-02-01 17:26:53    4836
 Removed.png                                            85550cbb35c9




 Run By :
                                                    JA642                             2025-02-28 08:48:16 Eastern Standard Time
                                                                               Supp_25-cv-00313_DDC_UST_0009
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                                         JA643
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 Catalog Task DetailsCase 8:25-cv-00430-DLB                     Document 64-2 Filed 03/15/25 Page 18 of 29                                      Page 2




 Related List Title:        Task SLA List
 Table name:                task_sla
 Query Condition:           Task = SCTASK0185700
 Sort Order:                None


                                                                                                                                            1 Task SLAs

                                                                                                          Business ela
                  SLA definitio                                             Business tim   Business ela
 Task                             Type            Target        Stage                                     psed percent Start time      Stop time
                  n                                                         e left         psed time
                                                                                                          age

 SCTASK0185 Cask- Two             SLA             Resolution    Completed   13 Days 21     2 Hours 32     0.76            2025-01-31   2025-01-31
 700        weeks- with                                                     Hours 27       Minutes                        18:08:05     20:40:56
            Approval                                                        Minutes




 Related List Title:        Attachment List
 Table name:                sys_attachment
 Query Condition:           Table name in sc_request, sc_req_item, sc_task, ZZ_YYsc_req_item AND Table sys ID in 7089fc9b1b179e5011230f67624bcb8b,
                            7889fc9b1b179e5011230f67624bcb8b, 87df6f738753561003dd85550cbb35c9
 Sort Order:                Created in descending order


                                                                                                                                           2 Attachments

 File name                  Content type              Table name            Table sys ID            ▼ Created                 Size bytes

 CA86.PNG                   image/png                 sc_task               87df6f738753561003dd    2025-02-02 13:50:06       42337
                                                                            85550cbb35c9
 CA86 PAM Profile           image/png                 sc_task               87df6f738753561003dd    2025-02-01 17:26:53       4836
 Removed.png                                                                85550cbb35c9




 Related List Title:        Requested Item List
 Table name:                sc_req_item
 Query Condition:           Request = (empty)
 Sort Order:                Number in ascending order


                                                                                                                                                   None




 Run By :
                                                                        JA644                              2025-02-28 08:49:32 Eastern Standard Time
                                                                                                   Supp_25-cv-00313_DDC_UST_0011
USCA4 Appeal: 25-1282   Doc: 39-2     Filed: 04/14/2025 Pg: 70 of 231
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 Related List Title:        Task SLA List
 Table name:                task_sla
 Query Condition:           Task = SCTASK0185701
 Sort Order:                None


                                                                                                                                       1 Task SLAs

                                                                                                         Business ela
                  SLA definitio                                            Business tim   Business ela
 Task                             Type            Target       Stage                                     psed percent Start time     Stop time
                  n                                                        e left         psed time
                                                                                                         age

 SCTASK0185 Cask- Two             SLA             Resolution   Completed   13 Days 13     10 Hours 54    3.24          2025-01-31    2025-02-01
 701        weeks- with                                                    Hours 5        Minutes                      18:10:51      05:04:52
            Approval                                                       Minutes




 Related List Title:        Attachment List
 Table name:                sys_attachment
 Query Condition:           Table name in sc_request, sc_req_item, sc_task, ZZ_YYsc_req_item AND Table sys ID in 918005d31b979e5011230f67624bcb87,
                            d98005d31b979e5011230f67624bcb87, 6370fbf38753561003dd85550cbb3573
 Sort Order:                Created in descending order


                                                                                                                                              None




 Related List Title:        Requested Item List
 Table name:                sc_req_item
 Query Condition:           Request = (empty)
 Sort Order:                Number in ascending order


                                                                                                                                              None




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                                                                       JA646                              2025-02-28 08:51:51 Eastern Standard Time
                                                                                                 Supp_25-cv-00313_DDC_UST_0013
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                      Supplemental AR Tab 3




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         From:            Matthew.Garber2@treasury.gov
         To:              Timothy E. Gribben
         Cc:              Matthew J. Miller; Susan Robinson; Lillian Cheng; Joseph Gioeli III; Nathaniel Reboja
         Subject:         Confirmation to Proceed
         Date:            Sunday, January 26, 2025 5:42:08 PM


                                          This message was sent securely using Zix®


         Tim,

         Please consider this note your approval/direction to move forward with the process outlined below.

         Thanks to the DDM and ISS teams for actioning against the request over the weekend.

         Matt


         From: Katz, Daniel <Daniel.Katz@treasury.gov>
         Sent: Sunday, January 26, 2025 6:34 PM
         To: Garber, Matthew <Matthew.Garber2@treasury.gov>

         Thanks Matt for actioning this so quickly. The below process looks good and appropriate to me. Let
         me know if you need any help getting State working with this protocol - I’m happy to reach out to
         them again.

         Appreciate the work over the weekend as well.

         Dan Katz


         From: Garber, Matthew <Matthew.Garber2@treasury.gov>
         Sent: Sunday, January 26, 2025 4:31:02 PM
         To: Katz, Daniel <Daniel.Katz@treasury.gov>

         Dan,

         We’ve successfully set up the technical and process adjustments at Fiscal to support this request
         within the appropriate bounds. A reminder of the process we discussed and will execute against
         beginning Monday:

                Fiscal will intercept USAID payments files prior to ingestion into our PAM/SPS systems (this
                is in place now and can begin immediately)
                        We developed a process to intercept the file, and additional flags to ensure we catch all
                        USAID payment requests through our systems
                        Fiscal will manually pull an unredacted and unmodified copy to share with State
                        officials
                        Individual ITS payment requests will be flagged and shared for review as needed


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                       NOTE: Fiscal will not provide any preliminary review or determination on the payments,
                       and will not edit or modify the file at any point in this process
                Fiscal will deliver the USAID payment file to the designated State officials for review
                       Fiscal has set up a secure portal where the designated officials will be able to access
                       the files (this will have encryption and MFA, and has completed third party pen testing)
                       We developed a user guide and instructions to support State officials in using the portal
                               We can provide additional technical support as needed
                       We will deliver the file once-a-day according to the normal USAID payment schedule
                State officials will review and provide a determination to Fiscal on whether or not to
                release the file into our normal payment processes
                       We will provide a template for State officials to provide the determination back to
                       Fiscal
                       Files that are determined by State as able to move forward will be released by Fiscal
                       into PAM/SPS or ITS systems
                       Files that are determined by State as unable to move forward will be returned to USAID
                       for correction
                               State will work directly with USAID to provide any necessary corrections prior to
                               resubmission.
                Payment files that are cleared by State and released into our normal payment processes
                will continue to be certified by USAID certifying officers prior to payment


         While we will begin intercepting the USAID files prior to ingestion immediately on Monday, we will
         not transmit files to State until we receive confirmation from the appropriate security officers
         (likely in the CIO office) that:
                        the individuals at State accessing and reviewing the information have the appropriate
                        clearances, etc
                        the necessary data security methods are in place at State and those standards have
                        been communicated and agreed to by the individuals accessing the files
                        NOTE: We are still working to connect with the appropriate IT/Security/Technical
                        individuals at State, which we believe will happen as soon as Monday morning.

         Additional note:
                As mentioned, these files are mixed and contain a variety of payments. We recommend State
                ensures they can review these files and provide a determination same-day to avoid any
                unintended downstream issues.


         Please confirm we are still good to execute this plan beginning Monday. Happy to hop on a call if
         needed.

         Thanks,

         Matt



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                                    Exhibit 2




                                         JA650
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                                       UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF NEW YORK



         State of New York, et al.

                         Plaintiffs,

                                          v.                         Case No. 1:25-cv-1144-JAV

         U.S. Department of the Treasury, et. al.

                         Defendants.


               I, David Ambrose, declare under penalty of perjury:

        1. I currently serve as the Bureau of the Fiscal Service’s (BFS or the Bureau) Chief Security

           Officer/Chief Privacy Officer/Acting Chief Information Security Officer. I report to

           Nathaniel Reboja (Reboja), Assistant Commissioner for Information and Security Services

           and Chief Information Officer for the Bureau. I am a career civil servant. I have been

           employed at the Bureau for over 19 years.

        2. In my current role, I am one of the Bureau employees responsible for overseeing the security

           of the Bureau’s technology infrastructure and the information contained therein. As Chief

           Security Officer, I am involved in protecting the security of, and access to, the Bureau’s data,

           computer and payment systems, and equipment (collectively Systems and Equipment), and

           understand the security posture of these Systems and Equipment. I have extensive

           knowledge of the security strategies and measures that support the Bureau’s enterprises, and

           am familiar with Bureau requirements around access to sensitive systems.




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             Ryan Wunderly Bureau Access

        3.   I was informed that Ryan Wunderly (Wunderly) is an employee of the United States

             Department of the Treasury.

        4. I reviewed the executed declaration of Kari Mencl (Mencl), Chief of Personnel Security in

             the Office of Security Programs (OSP) in the Office of Intelligence and Analysis (OIA) for

             the U.S. Department of the Treasury. ECF No. 98-4. Mencl’s declaration states that in

             February 2025, OSP conducted a security clearance vetting for Wunderly, cleared him for

             onboarding at Treasury, and granted him a Top-Secret clearance. ECF No. 98-4 ¶ 13.

        5. I reviewed the executed declaration of Michael J. Wenzler (Wenzler), the Associate Chief

             Human Capital Officer for Executive and Human Capital Services at the Departmental

             Offices of the Department of the Treasury. ECF No. 98-3. Wenzler’s declaration states that

             Wunderly received and reviewed the Bureau’s Rules of Behavior (Rules). ECF No. 98-3 ¶

             22. The Rules define responsibilities and procedures for the secure use of Bureau data,

             equipment, payment systems, and facilities. By receiving and reading this document, Bureau

             System and Equipment users acknowledge their responsibility for complying with the Rules.

        6. On March 13, 2025, at the direction of Reboja, I briefed Wunderly, via Microsoft Teams

             video conferencing, on the Bureau’s cybersecurity and Personally Identifiable Information

             (PII) practices and precautions. Specifically, I briefed Wunderly on the Bureau’s (1) policies

             and rules associated with safeguarding information maintained in the Bureau’s Systems and

             Equipment, including the Bureau’s Email and Instant-Messaging Policy and the Rules; (2)

             policy that data and equipment could not leave his work station and be removed or sent

             outside the Bureau without formal approval; (3) policy on safeguarding sensitive information




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           received from outside sources or other agencies; and (4) policy that sensitive information

           should be stored on the Bureau’s network drive(s), not locally on the laptop.

        7. Reboja also instructed me that, moving forward, Bureau security personnel should ensure

           that, prior to granting access to Bureau Systems and Equipment to any member of the

           Treasury Department of Government Efficiency (DOGE) Team, such Treasury DOGE Team

           Member must receive the Rules and a briefing similar to the one I gave to Wunderly detailed

           above.

        8. To my knowledge, Wunderly has not, as of the date of this declaration, accessed any BFS

           Systems and Equipment, and has not been issued any BFS computer equipment.

        Marko Elez Bureau Access

        9. As discussed in the declarations of Joe Gioeli III, Marko Elez (Elez) was a Treasury

           employee who received access to Bureau Systems and Equipment in late January and early

           February of 2025. See generally ECF No. 34; see also ECF No 98-2 ¶ 12.

        10. Prior to accessing Bureau Systems and Equipment, I briefed Elez, via Microsoft Teams, on

           the same topics mentioned in Wunderly’s briefing detailed above.

        11. After Elez resigned in early February, Bureau security personnel performed a forensic

           analysis on Elez’s email account and issued laptop. The forensic analysis consisted of a

           review of all emails Elez sent or received from his BFS email account, and all attachments to

           those emails. The laptop review included forensic disk imaging and memory capture. The

           forensic analysis revealed that Elez did not make any alterations or changes to Bureau

           payment systems.

        12. The forensic analysis also revealed that Elez sent an email with a spreadsheet containing PII

           to two United States General Services Administration officials. The PII detailed a name (a

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           person or an entity), a transaction type, and an amount of money. The names in the

           spreadsheet are considered low risk PII because the names are not accompanied by more

           specific identifiers, such as social security numbers or birth dates. Elez’s distribution of this

           spreadsheet was contrary to BFS policies, in that it was not sent encrypted, and he did not

           obtain prior approval of the transmission via a “Form 7005,” describing what will be sent and

           what safeguards the sender will implement to protect the information. The briefing that I

           provided to Wunderly specifically addressed these issues. Briefings that will be provided to

           future DOGE Team Treasury members who have been trained and cleared in order to access

           the Bureau’s Systems and Equipment will also address these issues.

           Marko Elez’s Security Clearance

        13. OSP conducts security clearance vetting for Treasury employees; the Bureau does not

           conduct any additional vetting for non-Bureau Treasury employees seeking access to Bureau

           Systems and Equipment. In order to access Bureau Systems and Equipment, an individual

           must complete various stages of the security vetting process, including a background

           investigation with a favorable adjudication. Treasury employees with an interim Secret

           clearance can be granted access to Bureau Systems and Equipment while the appropriate

           background investigation is being completed if there are favorable results from an initial

           screen of the security vetting paperwork (Standard Form 86), a verification of his U.S.

           citizenship, and preliminary fingerprint checks for any criminal record.

        14. On January 22, 2025, OSP informed me that Elez was granted an interim Secret clearance,

           which meant that there were favorable results from an initial screen of the security vetting

           paperwork (Standard Form 86), a verification of his U.S. citizenship, and preliminary




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           fingerprint checks for any criminal record, and Elez was therefore eligible to access the

           Bureau's Systems and Equipment.

           l declare under penalty of perjury that the foregoing is true and correct.


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                                                                         brose
                                                                      urity Officer/Chief Privacy
                                                             Officer Acting Chief Information Security
                                                             Officer
                                                             Bureau of the Fiscal Service
                                                             United States Department of the Treasury




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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

        AMERICAN FEDERATION OF                          *
        TEACHERS, et al.,
                                                        *
               Plaintiffs,
                                                        *
        v.                                                          Civ. No. DLB-25-0430
                                                        *
        SCOTT BESSENT, et al.,
                                                        *
               Defendants.
                                                        *

                                         MEMORANDUM OPINION

               On the first day of President Donald J. Trump’s second term in office, he issued an

        Executive Order that created the Department of Government Efficiency (“DOGE”) and renamed

        the United States Digital Service as the United States DOGE Service (“USDS”). Exec. Order No.

        14,158, 90 Fed. Reg. 8441 (Jan. 29, 2025) (“DOGE Executive Order”). The stated purpose of

        DOGE is “to implement the President’s DOGE Agenda, by modernizing Federal technology and

        software to maximize governmental efficiency and productivity.” Id. at § 1. The DOGE Executive

        Order commands federal agency heads to “take all necessary steps . . . to the maximum extent

        consistent with law, to ensure USDS has full and prompt access to all unclassified agency records,

        software systems, and IT systems.” Id. § 4(b). Almost immediately after the DOGE Executive

        Order was issued, federal government agencies hired or accepted as detailees individuals whose

        mission is to implement the DOGE Executive Order. Among those agencies were the U.S.

        Department of Education (“Education”), the U.S. Office of Personnel Management (“OPM”), and

        the U.S. Department of the Treasury (“Treasury”). Pursuant to the DOGE Executive Order,

        Education, OPM, and Treasury gave individuals affiliated with DOGE access to agency systems

        that hold records with the personally identifiable information (“PII”) of millions of Americans.




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               This lawsuit is one of several filed by plaintiffs who seek to enjoin federal government

        agencies from disclosing records with their sensitive personal information to government

        personnel implementing the DOGE Executive Order. In this case, the plaintiffs are unions and

        membership organizations representing current and former federal employees and federal student

        aid recipients and six military veterans who have received federal benefits or student loans. In their

        amended complaint, filed on February 12, 2025, the plaintiffs assert claims under the

        Administrative Procedure Act, 5 U.S.C. § 551 et seq. (“APA”) against Education, OPM, and

        Treasury; Denise L. Carter, the Acting Secretary of Education; Charles Ezell, the Acting Director

        of OPM; and Scott Bessent, the Secretary of the Treasury (collectively, “the government” or “the

        agencies”). The plaintiffs allege that the agencies unlawfully granted access to records that contain

        their PII to DOGE representatives.

               On February 24, 2025, the Court granted in part and denied in part the plaintiffs’ motion

        for a temporary restraining order (“TRO”), enjoining Education and OPM from granting access to

        the plaintiffs’ sensitive personal information to individuals who are implementing the President’s

        DOGE agenda. See ECF 38. Since then, the government has produced the administrative records

        for each agency, and the plaintiffs have filed a motion for a preliminary injunction. Having

        considered the administrative records, the parties’ TRO and preliminary injunction briefing, their

        exhibits, and oral argument by counsel, the Court grants the plaintiffs’ motion for a preliminary

        injunction. They have shown a likelihood that they will succeed on their claim that the defendants

        violated the APA by not acting in accordance with the Privacy Act of 1974, 5 U.S.C. § 552a; that

        they will suffer irreparable harm if the defendants are not enjoined; and that the balance of the

        equities and public interest weigh favor of preliminary injunctive relief.




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        I.     Background

               A. DOGE Executive Order

               On January 20, 2025, President Donald J. Trump signed the DOGE Executive Order. It

        established the Department of Government Efficiency “to implement the President’s DOGE

        Agenda, by modernizing Federal technology and software to maximize governmental efficiency

        and productivity.” DOGE Executive Order § 1. The order establishes “the U.S. DOGE Service

        Temporary Organization” to be “dedicated to advancing the President’s 18-month DOGE agenda.”

        Id. § 3(b). It directs each agency head to establish “a DOGE Team of at least four employees,

        which may include Special Government Employees, hired or assigned within thirty days of the

        date of this Order.” Id. § 3(c). “Each DOGE Team will typically include one DOGE Team Lead,

        one engineer, one human resources specialist, and one attorney.” Id. DOGE Team Leads will

        “coordinate their work with USDS and advise their respective Agency Heads on implementing the

        President’s DOGE Agenda.” Id.

               The DOGE Executive Order directs the USDS Administrator to “commence a Software

        Modernization Initiative to improve the quality and efficiency of government-wide software,

        network infrastructure, and information technology (IT) systems,” which includes “work[ing] with

        Agency Heads to promote inter-operability between agency networks and systems, ensure data

        integrity, and facilitate responsible data collection and synchronization.” Id. § 4(a). The DOGE

        Executive Order commands agency heads to “take all necessary steps, in coordination with the

        USDS Administrator and to the maximum extent consistent with law, to ensure USDS has full and

        prompt access to all unclassified agency records, software systems, and IT systems.” Id. § 4(b). It

        also directs that “USDS shall adhere to rigorous data protection standards.” Id.




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               B. Agency Defendants

               The defendants include Education, OPM, Treasury, and the respective agency heads in

        their official capacities. Members of the DOGE team or “DOGE affiliates” are working at each of

        these agencies. 1

                   1. Education

               Education manages the federal student loan system. ECF 13, ¶ 94. Within this system, the

        Federal Student Aid Office maintains the National Student Loan Data System (“NSLDS”), the

        Common Origination and Disbursement System (“CODS”), the FUTURE Act System (“FAS”),

        and the Financial Management System (“FMS”). See id. ¶¶ 95, 98, 100, 102. These systems house

        records that contain the PII of individuals who receive federal student aid, such as Social Security

        numbers and taxpayer identification numbers, names, dates of birth, mailing and email addresses,

        driver’s license information, income and asset information, federal tax information, demographic

        information including marital and citizenship status, and family members’ personal and financial

        information. See, e.g., id. ¶¶ 95–102; Privacy Act of 1974; System of Records, 89 Fed. Reg. 44652,

        44656–57 (May 21, 2024) (listing categories of records in the NSLDS); Privacy Act of 1974;

        System of Records, 88 Fed. Reg. 41942, 41947–48 (June 28, 2023) (listing categories of records




        1
          Unless otherwise noted, the Court uses the term “DOGE affiliates” throughout the opinion to
        refer to the personnel at Education, OPM, and Treasury whose principal role is to implement the
        DOGE agenda as described in the DOGE Executive Order and who were granted access to agency
        record systems for the principal purpose of implementing that agenda. The administrative records
        refer to these personnel as “employees implementing [the DOGE Executive Order].” See ECF 51-
        1, at 2; ECF 64-1, at 2; ECF 51-3, at 2; ECF 58, at 1; ECF 51-2, at 2. The government has redacted
        the names of DOGE affiliates at Education and OPM and refers to them by the agency initials and
        a number (e.g., ED-1, OPM-1). Because the government produced three separate administrative
        records—one for each agency—citations to the administrative records also begin with the agency
        initials, followed by a four- or six-digit number (e.g., ED-000001, OPM-000001, TR-0001).



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        in the CODS); Privacy Act of 1974; System of Records, 88 Fed. Reg. 42200, 42222 (June 29,

        2023) (listing categories of records in the FAS); Privacy Act of 1974; System of Records—

        Financial Management System (FMS), 73 Fed. Reg. 177, 178 (Jan. 2, 2008) (listing categories of

        records in the FMS).

               The government represents that there are six DOGE affiliates at Education. 2 ECF 62, at 7

        (citing ECF 27-6, ¶¶ 4–6 (A. Ramada Suppl. Decl.)). Several of the DOGE affiliates at Education

        are detailed from other agencies. The administrative record shows that Education executed two

        memoranda of understanding with the DOGE affiliates’ home agencies on February 12, 2025,

        “formaliz[ing] . . .prior oral agreement[s].” See ED-000005–07, ED-000013–16. One detailee, ED-

        1, is a Senior Advisor in the Office of the Secretary. ED-000005. Another detailee, ED-3, is a

        special government employee detailed from their position as a “Software Engineer (Consultant)”

        at the General Services Administration (“GSA”) to the Office of the Secretary. ED-000013. Two

        other DOGE affiliates, ED-2 and ED-4, were appointed to Education on January 31, 2025 and

        February 4, 2025 as a Senior Advisor and a Consultant, respectively, in the Office of the Secretary.

        ED-000009–10, ED-000017.

               In a February 5, 2025 memorandum, Thomas Flagg, the Chief Information Officer (“CIO”)

        at Education, authorized IT system access to “USDS personnel onboarded to the Department of

        Education DOGE team”:

               President Trump signed an Executive Order (EO) “Establishing and Implementing
               the President’s “Department of Government Efficiency”” to implement the


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         The government has consistently represented to the Court that “[t]here are six employees at the
        Department of Education whose principal role is to help advance the goals of [the DOGE
        Executive Order],” and submitted declarations to that effect. See ECF 62, at 7; ECF 27, at 9; ECF
        27-5, ¶¶ 4–7 (A. Ramada Decl.); ECF 27-6, ¶ 2 (A. Ramada Suppl. Decl.). However, the
        administrative record only identifies four DOGE affiliates—two detailees and two appointees. See
        ED-000005–7, ED-000009, ED-000013–19, ED-000021.



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               President’s DOGE Agenda by modernizing Federal technology and software to
               maximize governmental efficiency and productivity. The EO also tasked Agencies
               to establish an internal DOGE team and allow full access to the DOGE
               Administrator to all unclassified agency records, software systems and IT systems.
               This is to support the USDS Administrator Software Modernization Initiative to
               improve the quality and efficiency of government-wide software, network
               infrastructure, and information technology (IT) systems. All ED Information
               System Owners (ISO) shall work with the USDS Administrator and internal DOGE
               Team members to promote inter-operability between agency networks and systems,
               ensure data integrity, and facilitate responsible data collection and synchronization.

               This memorandum documents the need to know and authorizes USDS personnel
               onboarded to the Department of Education DOGE team full and prompt access to
               all unclassified IT systems and data. These new requirements support the
               implementation of the EO “Establishing and Implementing the President’s
               [‘]Department of Government Efficiency[.’]”

        ED-000025.

               One week later, Education and USDS executed “Terms and Conditions for Reimbursable

        Work” that “formalize[d] and supersede[d] [a] prior oral agreement, written interim assignment

        agreement, and supporting documentation between USDS and ED.” ED-000001. These terms and

        conditions state that “ED will provide USDS detailees with access to all ED systems on USDS

        employees’ EOP devices to the maximum extent allowable by law.” ED-000002.

                  2. OPM

               OPM acts as the “chief human resources agency and personnel policy manager for the

        Federal Government.” ECF 13, ¶ 71 (quoting About Us, OPM, https://www.opm.gov/about-us

        [https://perma.cc/CQ7X-LLYA] (last visited Mar. 20, 2025)). OPM maintains a host of systems

        with information about federal government personnel. See id. ¶ 72. For example, OPM maintains

        the Electronic Official Personnel Folder (“eOPF”), which contains digital versions of federal

        employees’ personnel files that cover their entire period of federal civilian service. See OPM,

        Privacy Impact Assessment for Electronic Official Personnel Folder System (eOPF) 1 (2020),

        https://www.opm.gov/information-management/privacy-policy/privacy-policy/eopf-pia.pdf



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        [https://perma.cc/T6KM-RGHU]. The eOPF contains current and former federal employees’ PII

        such as Social Security numbers, bank account numbers, names and addresses, dates of birth,

        health and life insurance policy numbers, civil and criminal history information, and personnel

        actions such as promotions and suspensions. Id. at 5, 11–12. OPM also maintains the Enterprise

        Human Resources Integration Data Warehouse (“EHRI”), USA Performance, USA Staffing, and

        USAJOBS. ECF 13, ¶ 78. These systems also contain PII, including names, Social Security

        numbers, dates of birth, and citizenship status. See ECF 13, ¶¶ 78, 81–83; OPM, Privacy Impact

        Assessment for Enterprise Human Resources Integration Data Warehouse (EHRI DW) 3 (2019),

        https://www.opm.gov/information-management/privacy-policy/privacy-policy/ehridw.pdf

        [https://perma.cc/5UCS-N5V8]; OPM, Privacy Impact Assessment for USA Staffing® 6–7 (2021),

        https://www.fhfa.gov/sites/default/files/2023-12/OPM%20USA%20Staffing_pia.pdf

        [https://perma.cc/W3ER-CAWS]; OPM, Privacy Impact Assessment for USA Performance

        (USAP)    4    (2020),   https://www.opm.gov/information-management/privacy-policy/privacy-

        policy/usap-pia.pdf [https://perma.cc/NR3C-WGMS].

               At OPM, there are several DOGE affiliates. 3 See ECF 64-1, at 2; ECF 64, at 1; OPM-

        000103. The record contains employment documents for some of them. OPM-2, OPM-3, OPM-4,

        OPM-6, and OPM-7 are “Expert[s]” hired to work in the Office of the Director. OPM-000008,

        OPM-000010–11, OPM-000014, OPM-000021–22, OPM-000111–12. OPM-2 is also listed as a

        “Senior Advisor.” OPM-000006. OPM-5 is a “Senior Advisor to the Director for Information

        Technology” in the Office of the Director, and OPM-8 is a “Senior Advisor to the Director.” OPM-




        3
          “DOGE affiliates” does not include OPM’s CIO Greg Hogan, OPM Acting Director Charles
        Ezell, or OPM Chief of Staff Amanda Scales, because these individuals, by virtue of their positions
        at OPM, would otherwise have access to OPM systems and were not granted access for the
        principal purpose of implementing the President’s DOGE agenda.


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        000016–17, OPM-000019, OPM-000114–15. All of these DOGE affiliates were appointed to

        OPM on either January 20, 2025 or January 24, 2025. OPM-000006, OPM-000010, OPM-000014,

        OPM-000016, OPM-000021, OPM-000112, OPM-000116. Most of them are developers,

        engineers, or “political tech staff.” See OPM-000027–29, OPM-0000107–08.

               On January 20, 2025, OPM Acting Director Ezell requested that several “[i]ndividuals

        from the [p]olitical [t]eam,” including OPM-3, OPM-5, and OPM-7, be added to OPM systems as

        “admins.” OPM-000107. That same day, these individuals were given “super user permissions”

        for USAJOBS administrative systems. OPM-000104. On January 27, 2025, Ezell sent an email

        with the subject line “Getting DoGE Engineers access.” OPM-000028. The email told an OPM

        employee, MC Price, that “[w]e are rapidly ramping up some engineers here,” and “[t]o

        accomplish this goal, these engineers”—OPM-2, OPM-3, OPM-4, OPM-5, and OPM-6—

        “need[ed] the following items urgently,” including “a short list of all the systems OPM operates

        and manages” and a range of access permissions “for each computer system.” OPM-000027–29.

        The access requested was “[c]ode read and write permissions,” the “[a]bility to access the system

        as a regular user (e.g. hiring manager and onboarding user for USA Staffing),” and the “[a]bility

        to access the system as an admin user,” with the instruction to “[p]rioritize USA Staffing,

        USAJOBS, and EHRI.” OPM-000029. On January 28, 2025, Price stated in an email that “[w]e

        have already given several of the political devs/engineers comprehensive access to USAJOBS and

        USA Staffing” and that “[n]ow we have 3 more individuals with the same requirement,” listing

        OPM-2, OPM-4, and OPM-6. OPM-000108–09. Price explained that this access would “start with

        USAJOBS, USA Staffing, and eOPF/EHRI,” and “USAP will be next, so might as well go ahead

        there.” OPM-000108. He noted that the individuals “need to have access today.” Id. On February

        3, 2025, Price was forwarded a request from OPM Chief of Staff Amanda Scales for OPM-8 to




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        have “account creation info” with “admin access” for USA Staffing, “[s]imilar to . . . [OPM-6].”

        OPM-000110.

               Other OPM DOGE affiliates were granted access to OPM systems, including USA

        Performance, the Federal Employee Health Benefits system, and the Postal Service Health

        Benefits Data Platform, between January 24, 2025 and February 7, 2025. OPM-000103.

                    3. Treasury

               The Treasury Department’s Bureau of the Fiscal Service (“Fiscal Service”) maintains

        systems for disbursement of payments for federal programs such as Social Security benefits,

        federal income tax refunds, and veterans’ pay. ECF 13, ¶¶ 46, 48. Fiscal Service payment systems

        include the Payment Automation Manager (“PAM”), the Automated Standard Application for

        Payments (“ASAP”), and the Secure Payment System (“SPS”). See ECF 27-3, ¶ 5 (J. Gioeli Decl.).

        These payment systems contain PII including names, Social Security numbers, and bank

        information. See Fiscal Service, Privacy and Civil Liberties Impact Assessment: Payment

        Automation     Manager     5     (2019),     https://www.fiscal.treasury.gov/files/pia/pampclia.pdf

        [https://perma.cc/5JW9-S42K]; Fiscal Service, Privacy and Civil Liberties Impact Assessment

        Secure Payment System (SPS) 7 (2021), https://fiscal.treasury.gov/files/pia/spspclia.pdf

        [https://perma.cc/U6HS-AJE5]; Fiscal Service, Privacy and Civil Liberties Impact Assessment:

        Automated      Standard        Application      for    Payments       (ASAP)       6–7     (2019),

        https://fiscal.treasury.gov/files/pia/spspclia.pdf [https://perma.cc/XA33-TRXC].

               There are two DOGE affiliates at Treasury: Thomas Krause and Ryan Wunderly. Krause

        was appointed as the Senior Advisor for Technology and Modernization on January 23, 2025. See

        TR-0024, TR-0007, TR-0015, TR-0024. On February 5, 2025, Krause was delegated the duties of

        the Fiscal Assistant Secretary. See TR-0002–03. Wunderly took over a role previously held by




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        Marko Elez, who was hired by Treasury as a Special Advisor for Information Technology and

        Modernization on January 21, 2025 and resigned on February 6, 2025. TR-0004; see TR-0022–

        23; ECF 27-4, ¶ 8 (M. Wenzler Decl.); ECF 35-1, ¶ 2 (J. York Decl.). 4

               On January 24, 2025, Treasury Administrative Services set forth an “[e]ngagement [p]lan”

        for “supporting the USDS/DOGE team during their 4–6 week engagement to understand payment

        processes and opportunities to advance payment integrity and fraud reduction goals.” TR-0057.

        The engagement plan describes how the Fiscal Service will grant system access to the DOGE team

        at Treasury. For the “technical team member,” Elez, “USDS/DOGE confirmed . . . [he] require[d]

        access to Fiscal Service systems and data.” See TR-0058, TR-0061–62. The plan states that Fiscal

        Service will issue the technical team member a Fiscal Service laptop by January 28, 2025, and that

        Treasury will “provide[] access to in scope payment systems source code” and “[d]evelopment

        access to the in scope payment systems.” TR-0058–59. The engagement plan also notes that

        “USDS/DOGE requested to be granted ‘over the shoulder’ access to monitor Fiscal Service

        personnel conducting payment processing roles, which was approved by Fiscal Service on

        1/23/25.” TR-0059. According to a spreadsheet attached to a February 3, 2025 email from a

        Treasury executive point person for the engagement, as of February 1, Elez had access to Treasury

        systems including PAM, SPS, and ASAP, and it was recommended that his access to other

        Treasury systems be expanded. TR-0061–62; see TR-0057.




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          In a February 21, 2025 letter, the government informed the Court that Treasury hired Ryan
        Wunderly “to perform the duties previously assigned to Marco Elez.” See ECF 35, at 1. According
        to a declaration from John York, Counselor to the Treasury Secretary, Wunderly “will join Mr.
        Krause on the Treasury DOGE Team to fill the position at the Bureau of the Fiscal Service
        previously held by Mr. Elez,” and “[h]is position description and job duties will be substantially
        the same as those of Mr. Elez.” ECF 35-1, ¶¶ 3–4. There is no indication that Wunderly’s access
        to the Treasury systems will be different from Elez’s access.



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                  C. Plaintiffs

                  The organizational plaintiffs are: American Federation of Teachers (“AFT”), International

        Association of Machinists and Aerospace Workers (“IAM”), International Federation of

        Professional and Technical Engineers (“IFPTE”), National Active and Retired Federal Employees

        Association (“NARFE”), and National Federation of Federal Employees (“NFFE”). ECF 13,

        ¶¶ 18–21. AFT represents over 1.8 million people employed in the teaching and healthcare

        professions. ECF 14-9, ¶ 3 (S. Tammelleo Decl.). IAM and its affiliate organization NFFE

        represent more than 100,000 federal workers, as well as veterans and veterans’ groups. ECF 14-

        10, ¶ 3 (B. Bryant Decl.). IFPTE represents approximately 34,000 federal employees, most of

        whom work for the Department of Defense. ECF 14-12, ¶ 2 (M. Biggs Decl.). IFPTE members

        include nuclear submarine engineers, NASA scientists and researchers, administrative law judges

        at the Social Security Administration, nuclear engineers at the Tennessee Valley Authority, and

        Environmental Protection Agency employees. Id. NARFE represents approximately 128,000

        current and former federal employees and spousal annuitants. ECF 14-11, ¶ 2 (W. Shackelford

        Decl.).

                  The individual plaintiffs are Jason Cain, Kristofer Goldsmith, Clifford Grambo, Thomas

        Fant, Donald Martinez, and Christopher Purdy. Id. ¶¶ 22–27. Cain, a U.S. Army veteran, receives

        veterans’ disability benefits and previously received GI bill benefits, student loans, and a VA home

        loan from the federal government. ECF 14-3, ¶¶ 3–5 (J. Cain Decl.). Cain also previously worked

        for the VA. Id. ¶ 6. Goldsmith, a U.S Army veteran, receives veterans’ disability benefits and

        previously received federal student loans. ECF 14-5, ¶¶ 3–4 (K. Goldsmith Decl.). Grambo, a U.S.

        Navy veteran, receives veterans’ disability benefits and a military pension. ECF 14-6, ¶¶ 3–4 (C.

        Grambo Decl.). Fant, a veteran of the U.S. Coast Guard, receives veterans’ disability benefits. ECF




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        14-4, ¶¶ 3–4 (T. Fant Decl.). Martinez, a U.S. Army veteran, receives veterans’ disability and

        combat-related special compensation, Social Security disability insurance, and a VA home loan,

        and previously received vocational rehabilitation and employment payments from the VA. ECF

        14-7, ¶¶ 3–5. Martinez previously worked for the Federal Emergency Management Agency and

        received federal student loans. Id. ¶¶ 5–6. Purdy, a veteran of the Army National Guard, receives

        veterans’ disability benefits and previously received federal student loans and a VA home loan.

        ECF 14-8, ¶¶ 3–5 (C. Purdy Decl.).

                Because the members of the organizational plaintiffs and the individual plaintiffs have

        worked for the federal government, have federal student loans, and/or receive government benefits,

        their PII is housed in record systems maintained by Education, OPM, and/or Treasury. See ECF

        13, ¶¶ 18–27; ECF 14-3, ¶¶7–8; ECF 14-4, ¶¶ 5–6; ECF 14-5, ¶¶ 6–7; ECF 14-6, ¶¶ 5–6; ECF 14-

        7, ¶¶ 7–8; ECF 14-8, ¶¶ 6–7; ECF 14-9, ¶¶ 6–7; ECF 14-10, ¶¶ 10–11; ECF 14-11, ¶¶ 5–6; ECF

        14-12, ¶¶ 8–9.

                The plaintiffs allege that Education, OPM, and Treasury have granted DOGE

        representatives sweeping access to systems that are typically accessed by only a small number of

        career employees at the respective agencies. See ECF 13, ¶¶ 49, 53, 56, 61, 74, 76–78, 103, 132.

        They cite to reports that DOGE representatives’ access to systems with sensitive data caused

        significant concern among career agency employees and cyber security experts. Id. ¶¶ 103, 135.

        They also cite to an article that describes a Treasury analyst characterizing DOGE as an “insider

        threat.” Id. ¶ 136. And they point to reports that DOGE representatives input sensitive data into

        artificial intelligence software. Id. ¶¶ 104, 110.

                The plaintiffs allege that the “continued and ongoing disclosure of their records to DOGE

        representatives constitutes a violation of the Privacy Act, for which no exception applies.” Id. ¶




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        87. They say that Education, OPM, and Treasury have given DOGE representatives unrestricted

        access to their PII, id. ¶¶ 61, 76–78, 84, 85, 103–04, 108; that none of the plaintiffs or the members

        of the plaintiffs’ organizations requested disclosure or provided express written consent to the

        disclosure of their information to DOGE representatives, id. ¶¶ 62, 87, 109; and that none of the

        DOGE representatives needs to know the plaintiffs’ personal information to perform their duties,

        id. ¶¶ 64, 89, 113–14. The purportedly unlawful disclosures to DOGE representatives have caused

        the plaintiffs “major distress and anxiety, as they do not know who their data has been or will be

        shared with, whether these disclosures have made them vulnerable to further privacy breaches, and

        how it may be weaponized against them.” Id. ¶ 140.

               The plaintiffs assert three violations of the APA. First, they allege that the agencies’ actions

        violated the Privacy Act and that the agencies did not act in accordance with law. Id. ¶¶ 145–51.

        Second, they allege that the agencies acted arbitrarily and capriciously when they failed to consider

        the requirements of the Privacy Act and failed to engage in reasoned decision-making when they

        granted DOGE representatives broad access to their record systems containing sensitive and

        personal information. Id. ¶¶ 152–56. Finally, they allege that the agencies violated non-

        discretionary duties to protect records from unauthorized disclosure. Id. ¶¶ 157–59.

               On February 12, 2025, the plaintiffs filed a motion for a TRO to enjoin Education, OPM,

        Treasury, and the respective agency heads from granting access to record systems with the

        plaintiffs’ personal information. ECF 14. The Court granted in part and denied in part the plaintiffs’

        motion. ECF 38. On February 24, 2025 at 8:00 a.m., the Court issued a TRO that enjoined

        Education and OPM from disclosing the plaintiffs’ PII to DOGE affiliates until March 10, 2025 at

        8:00 a.m. Id. On February 26, the Court set a briefing schedule for a preliminary injunction motion.

        ECF 46. On March 7, the government produced the administrative records. ECF 51; see also ECF




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        58 (March 10 errata correcting parts of the Education and OPM administrative records). The next

        day, the plaintiffs moved for extra-record discovery, ECF 53, and the government opposed, ECF

        54. 5 On March 10, the plaintiffs filed a motion for a preliminary injunction. ECF 59. The

        government opposed. ECF 62. The plaintiffs replied. ECF 63. After the plaintiffs filed a reply, the

        government supplemented the OPM administrative record. ECF 64-1. The Court held a hearing on

        the preliminary injunction motion on March 17. 6 For the reasons stated below, the Court grants

        the plaintiffs’ motion for a preliminary injunction.

        II.    Discussion

               The plaintiffs assert three claims under the APA, including a claim that the defendants

        violated the Privacy Act, 5 U.S.C. § 552a, and therefore acted “not in accordance with law,” see 5

        U.S.C. § 706(2)(A). The Privacy Act restricts agencies from disclosing records that contain PII

        unless the subject requests or consents to disclosure or an exception to consent applies. See 5

        U.S.C. § 552a(b). The plaintiffs have shown they are entitled to preliminary injunctive relief on

        their APA claim that the agencies did not act in accordance with the Privacy Act. Before explaining

        why, the Court confirms it has jurisdiction over this case.

               A. Standing

               Article III of the Constitution extends the “judicial Power” of the federal courts only to

        “Cases” or “Controversies.” U.S. Const. art. III, § 2, cl. 1; see TransUnion LLC v. Ramirez, 594




        5
         For reasons discussed in greater detail below, the Court confines its review of the merits of the
        plaintiffs’ APA claims to the administrative records and a handful of judicially noticeable
        materials. The plaintiffs’ motion for extra-record discovery is denied without prejudice.
        6
         At the hearing, the Court extended the TRO for good cause, for reasons stated on the record, until
        March 24, 2025 at 8:00 a.m. or until the Court rules on the preliminary injunction motion. The
        TRO expires upon the issuance of this ruling.



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        U.S. 413, 423 (2021). There is a case or controversy only if the plaintiff has standing to assert their

        claim. TransUnion, 594 U.S. at 423. To establish standing, a plaintiff must show “(1) that he

        suffered an injury in fact that is concrete, particularized, and actual or imminent; (2) that the injury

        is fairly traceable to the challenged action of the defendant; and (3) that the injury would likely be

        redressed by judicial relief.” Fernandez v. RentGrow, Inc., 116 F.4th 288, 294 (4th Cir. 2024)

        (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). The “injury must be actual or

        imminent, not speculative—meaning that the injury must have already occurred or be likely to

        occur soon.” FDA v. All. for Hippocratic Med., 602 U.S. 367, 381 (2024) (citing Clapper v.

        Amnesty Int’l USA, 568 U.S. 398, 409 (2013)). When, as here, “a plaintiff seeks prospective relief

        such as an injunction, the plaintiff must establish a sufficient likelihood of future injury.” Id. (citing

        Clapper, 568 U.S. at 401). 7




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          Several plaintiffs are organizations. “An organization . . . can assert standing either in its own
        right or as a representative of its members.” S. Walk at Broadlands Homeowner’s Ass’n, Inc. v.
        OpenBand at Broadlands, LLC, 713 F.3d 175, 182 (4th Cir. 2013). The organizational plaintiffs
        assert standing as representatives of their members. See ECF 14-9, ¶¶ 6–11; ECF 14-10, ¶¶ 10–15;
        ECF 14-11, ¶¶ 5–10; ECF 14-12, ¶¶ 8–13. An organization establishes “representational standing”
        by showing “that ‘(1) its own members would have standing to sue in their own right; (2) the
        interests the organization seeks to protect are germane to the organization’s purpose; and (3)
        neither the claim nor the relief sought requires the participation of individual members in the
        lawsuit.’” S. Walk at Broadlands, 713 F.3d at 184 (quoting Md. Highways Contractors Ass’n, Inc.
        v. Maryland, 933 F.2d 1246, 1251 (4th Cir. 1991)). The organizational plaintiffs have established
        that they have germane interests. See ECF 14-9, ¶¶ 4–5; ECF 14-10, ¶¶ 6–9; ECF 14-11, ¶¶ 3–4;
        ECF 14-12, ¶¶ 4–7. And “the Court discerns no reason Plaintiffs’ members must participate
        directly in this case rather than allow their associations to speak on their behalf.” All. for Retired
        Americans v. Bessent, --- F. Supp. 3d. ----, No. 25-0313, 2025 WL 740401, at *13 (D.D.C. Mar.
        7, 2025) (finding third prong of associational standing met for organizations with APA claims,
        including for alleged Privacy Act violations); see also United Food & Com. Workers Union Loc.
        751 v. Brown Grp., Inc., 517 U.S. 544, 546 (1996) (“‘[I]ndividual participation’ is not normally
        necessary when an association seeks prospective or injunctive relief for its members”). Thus, the
        standing question in this case is the same for the organizational and individual plaintiffs: have they
        established an injury in fact. For convenience, the Court uses “plaintiffs” to refer to the individual
        plaintiffs and the members of the organizational plaintiffs.



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                  The plaintiffs “must demonstrate standing ‘with the manner and degree of evidence’

        required at the relevant ‘stage[ ] of the litigation.’” Fernandez, 116 F.4th at 295 (alteration in

        original) (quoting Lujan, 504 U.S. at 561). At this stage, that means they “must make a ‘clear

        showing’ that [they are] ‘likely’ to establish each element of standing.” See Murthy v. Missouri,

        603 U.S. 43, 58 (2024) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)).

        Only the first element—injury in fact—is at issue here. The plaintiffs’ injury is the ongoing access

        to their sensitive personal information by unauthorized government personnel. The Court finds

        that the plaintiffs have made a clear showing that they are likely to establish a concrete injury in

        fact. 8

                  In TransUnion LLC v. Ramirez, the Supreme Court explained “[w]hat makes a harm

        concrete for purposes of Article III.” 594 U.S. at 424. To determine whether the concrete-harm

        requirement has been met, “courts should assess whether the alleged injury to the plaintiff has a

        ‘close relationship’ to a harm ‘traditionally’ recognized as providing a basis for a lawsuit in

        American courts.” Id. (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016)). “That inquiry

        asks whether plaintiffs have identified a close historical or common-law analogue for their asserted

        injury.” Id. The inquiry “does not require an exact duplicate in American history and tradition.”

        Id. Traditional tangible harms include physical and monetary harms. Id. at 425. Intangible harms

        also can be concrete. Id. They include injuries such as “reputational harms, disclosure of private

        information, and intrusion upon seclusion.” Id. 9



        8
          The Court “assumes the merits of a dispute will be resolved in favor of the party invoking [its]
        jurisdiction in assessing standing.” See Equity In Athletics, Inc. v. Dep’t of Educ., 639 F.3d 91, 99
        (4th Cir. 2011).
        9
         TransUnion reaffirmed what the Supreme Court held in Spokeo: “Article III standing requires a
        concrete injury even in the context of a statutory violation.” TransUnion, 594 U.S. at 426 (quoting
        Spokeo, 578 U.S. at 341).


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                In the wake of TransUnion, the Fourth Circuit held that an injury resulting from a violation

        of a statute aimed at protecting a person’s privacy bore a close relationship to a harm redressable

        at common law: invasion of privacy. In Garey v. James S. Farrin, P.C., the plaintiffs were

        automobile drivers who had been involved in motor vehicle accidents. See 35 F.4th 917, 919–20

        (4th Cir. 2022). They alleged that personal injury lawyers obtained accident reports from state law

        enforcement and private data brokers that contained their names and addresses and mailed them

        unsolicited advertisements. Id. at 920. The drivers alleged the personal injury lawyers violated the

        Driver’s Privacy Protection Act (“DPPA”), which provides a cause of action against “‘[a] person

        who knowingly obtains, discloses or uses personal information, from a motor vehicle record,’ for

        an impermissible purpose.” Id. (quoting 18 U.S.C. § 2724(a)). The district court found the

        plaintiffs had standing to sue for damages.

                On appeal, the Fourth Circuit’s standing analysis began with TransUnion: “[P]laintiffs

        proceeding under a statutory cause of action can establish a cognizable injury by ‘identif[ying] a

        close historical or common-law analogue for their asserted injury’ for which courts have

        ‘traditionally’ provided a remedy.” Id. at 921 (alteration in original) (quoting TransUnion, 594

        U.S. at 424). “A plaintiff who does so has standing even if the precise injury would not, absent the

        statute, be sufficient for Article III standing purposes.” Id.

                “Consistent with TransUnion,” the district court found that the drivers had alleged harms

        “closely related to the invasion of privacy, which has long provided a basis for recovery at common

        law.” Id. (citation omitted). The Fourth Circuit agreed. Id. The court observed that it “recently

        rebuffed a nearly identical standing challenge in a case arising under the Telephone Consumer

        Protection Act (‘TCPA’), another consumer privacy statute that, like the DPPA, provides a private

        right of action against offenders.” Id. at 921–22 (citing Krakauer v. Dish Network, LLC, 925 F.3d




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        643, 652–54 (4th Cir. 2019)). The court’s explanation of its Krakauer decision is worth recounting

        here:

                In Krakauer, we explained that by enacting the TCPA, “Congress responded to the
                harms of actual people by creating a cause of action that protects their particular
                and concrete privacy interests.” And we noted that injuries to personal privacy have
                long been “recognized in tort law and redressable through private litigation.” . . . .
                [W]e concluded that our inquiry “focuse[s] on types of harms protected at common
                law, not the precise point at which those harms become actionable.” Therefore, we
                held that the TCPA’s “private right of action . . . plainly satisfies the demands of
                Article III.”

        Id. at 922 (third alteration in original) (citations omitted).

                Applying its analysis in Krakauer, the court reached the same result in Garey. The drivers

        alleged in their complaint that they “sustained actual damages by having [their] privacy invaded

        by Defendants’ knowingly obtaining [their] name[s] and address[es] from motor vehicle record[s]

        for an impermissible purpose in violation of law.” Id. (citation omitted). These allegations stated

        a “legally cognizable privacy injury.” Id. It did not matter that there were “some differences

        between the common law privacy torts and the DPPA” because the inquiry “‘does not require an

        exact duplicate in American history and tradition.’” Id. (quoting TransUnion, 594 U.S. at 424). By

        pleading a violation of a statute “aimed squarely at ‘the right of the plaintiff . . . to be let alone,’”

        the plaintiffs had standing. See id. (cleaned up) (quoting William L. Prosser, Privacy, 48 Calif. L.

        Rev. 383, 389 (1960)).

                Garey applies with full force here. 10 Just as the drivers in Garey alleged personal injury

        lawyers invaded their privacy by obtaining their personal information, the plaintiffs allege the

        DOGE affiliates have invaded their privacy by obtaining their personal information. The privacy




        10
          The Court relied on Garey in its TRO ruling, see ECF 38, at 12, but the government did not
        address Garey at all in its opposition to the preliminary injunction motion, see ECF 62.



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        invasion here is far more severe than in Garey: The information the personal injury lawyers

        obtained—the drivers’ names and addresses—pales in comparison to the information the DOGE

        affiliates have obtained. That information includes the plaintiffs’ banking information; Social

        Security numbers; dates of birth; physical and email addresses; income and asset information;

        demographic information such as marital and citizenship status; employment records such as

        personnel actions; and information about family members, such as their financial status,

        demographic information, dates of birth, and addresses. If the drivers in Garey established a

        cognizable privacy injury by merely alleging their names and addresses were unlawfully obtained,

        the plaintiffs have established a privacy injury in spades. 11

               And just as the plaintiffs in Garey alleged a violation of the DPPA, a privacy statute, the

        plaintiffs have alleged a violation of the Privacy Act, another privacy statute. “[W]hile the common

        law offers guidance, it does not stake out the limits of Congress’s power to identify harms

        deserving a remedy.” Gadelhak v. AT&T Servs., Inc., 950 F.3d 458, 462–63 (7th Cir. 2020).

        “Congress is empowered to ‘elevate to the status of legally cognizable injuries concrete, de

        facto injuries that were previously inadequate in law’. . . .” Krakauer, 925 F.3d at 654

        (quoting Spokeo, 578 U.S. at 341). That is precisely what Congress did with the Privacy Act. The



        11
           There is a factual difference between Garey and this case that, at first blush, might suggest Garey
        is materially distinguishable. In Garey, the personal injury lawyers not only obtained the drivers’
        names and addresses, but they also used the information to mail the drivers unwanted solicitations.
        35 F.4th at 920. Here, by contrast, there is no allegation that the DOGE affiliates have used the
        plaintiffs’ personal information to, for example, contact them. This difference does not matter for
        purposes of Article III standing. In Garey, the “cognizable privacy injury” was “having [the
        drivers’] privacy invaded by [the lawyers’] knowingly obtaining [their] name[s] and address[es]
        from motor vehicle record[s] for an impermissible purpose in violation of law.” Id. at 922. That
        the lawyers then used the information they obtained to mail unsolicited advertisements was not a
        reason why the Court found a privacy injury. Here, the plaintiffs’ cognizable privacy injury
        occurred when the DOGE affiliates obtained access to their personal information. Nothing more,
        under Garey, is required to establish concrete injury in fact.



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        Privacy Act is meant “to protect the privacy of individuals identified in information systems

        maintained by Federal agencies” by “regulat[ing] the collection, maintenance, use, and

        dissemination of information by such agencies.” Doe v. Chao (“Chao I”), 540 U.S. 614, 618 (2004)

        (quoting Privacy Act of 1974, Pub. L. No. 93-579, § 2(a)(5), 88 Stat. 1896). The Privacy Act’s

        purposes include “prevent[ing] the kind of illegal, unwise, overbroad, investigation and record

        surveillance of law abiding citizens produced in recent years from actions of some overzealous

        investigators, and the curiosity of some government administrators, or the wrongful disclosure and

        use, in some cases, of personal files held by Federal agencies.” Doe v.DiGenova, 779 F.2d 74, 84

        (D.C. Cir. 1985) (quoting S. Rep. No. 1183, 93d Cong., 2d Sess., as reprinted in 1974

        U.S.C.C.A.N. 6916, 6916)). So just like the drivers in Garey, the plaintiffs have alleged a violation

        of a statute “aimed squarely at the right. . . to be let alone.” See Garey, 35 F.4th at 922 (citation

        omitted). Their harm is closely related to an invasion of privacy. See id. at 921–22; Pileggi v.

        Wash. Newspaper Publ. Co., LLC, No. 23-345, 2024 WL 324121, at *5 (D.D.C. Jan. 29, 2024),

        appeal pending, (D.C. Cir.) (holding unlawful disclosure of consumer’s information to third party

        in violation of Video Privacy Protection Act bears close relationship to intrusion upon seclusion,

        “which subjects [a person] to liability for invasion of privacy”). 12

               To put a finer point on it, the plaintiffs’ injuries closely resemble a specific type of invasion

        of privacy—the common law tort of intrusion upon seclusion. “The right of privacy is invaded

        by,” among other things, “unreasonable intrusion upon the seclusion of another.” Restatement


        12
           In Garey, the Fourth Circuit found that the plaintiffs did not have standing to sue for injunctive
        relief—and could sue only for money damages—because they did not allege “an ongoing or
        imminent ‘obtaining’ . . . violation vis-à-vis their own personal information.” See 35 F.4th at 922–
        24. Instead, “the obtaining of their personal information [wa]s a fait accompli.” Id. at 923. Here,
        the plaintiffs allege ongoing access to their sensitive personal information. They have
        “establish[ed] a sufficient likelihood of future injury.” All. for Hippocratic Med., 602 U.S. at 381.
        Thus, they have alleged an injury-in-fact sufficient to sue for injunctive relief.



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        (Second) Torts § 652A. The Second Restatement of Torts defines “intrusion upon seclusion” as

        “intentional[] intru[sion], physically or otherwise, upon the solitude or seclusion of another or his

        private affairs or concerns, . . . if the intrusion would be highly offensive to a reasonable person.”

        Id. § 652B.

               According to the plaintiffs’ allegations, declarations from government employees, and the

        administrative records, Education, OPM, and Treasury gave DOGE affiliates access to the

        plaintiffs’ sensitive personal information—data that obviously concerns their “private affairs.” The

        plaintiffs gave their private information to the government with the expectation that the

        government would not disclose it to anyone within the government who was not authorized to

        access it. See ECF 14-3, ¶¶ 7–10; ECF 14-4, ¶¶ 5–8; ECF 14-5, ¶¶ 6–9; ECF 14-6, ¶¶ 5–8; ECF

        14-7, ¶¶ 7–10; ECF 14-8, ¶¶ 6–9; ECF 14-9, ¶¶ 6–9; ECF 14–10, ¶¶ 10–13; ECF 14-11, ¶¶ 5–8;

        ECF 14-12, ¶¶ 8–11. If the agencies’ disclosures violated the Privacy Act, as the Court must

        assume for purposes of the standing analysis, then the plaintiffs have established that their trust

        has been breached, that government employees who should not have access to their information

        do, and that those employees have accessed records containing their PII. Access to those records

        by unauthorized government officials intrudes into their private lives. This intrusion is not

        speculative; it is actual. The plaintiffs allege that DOGE affiliates have accessed information in

        record systems at each of the agencies. See ECF 13, ¶¶ 12, 55, 80, 85, 103–04, 110, 139. And the

        government submitted declarations that strongly suggest DOGE affiliates at all three agencies have

        accessed record systems that contain the plaintiffs’ PII. See ECF 27-1, ¶¶ 15–16 (T. Krause Decl.);

        ECF 27-7, ¶ 4 (T. Flagg Decl.); ECF 33-1, ¶¶ 11–12 (G. Hogan Suppl. Decl.). If no injunction

        were in place, the DOGE affiliates would continue to access records containing PII because,

        according to the government, the DOGE affiliates need to access these records to do their jobs.




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        See, e.g., ECF 62, at 26 (“all of the relevant employees have a need for the records to which they

        have access in the performance of their duties”); see also ECF 27-1, ¶ 15; ECF 27-3, ¶ 11; ECF

        27-5 (A. Ramada Decl.), ¶ 9; ECF 33-1, ¶¶ 11–12. This ongoing intrusion into the plaintiffs’ private

        affairs is highly offensive to a reasonable person. See, e.g., Randolph v. ING Life Ins. & Annuity

        Co., 973 A.2d 702, 710 (D.C. 2009) (“[C]onduct giving rise to unauthorized viewing of personal

        information such as a plaintiff’s Social Security number and other identifying information can

        constitute an intrusion that is highly offensive to any reasonable person . . . .”). The plaintiffs’

        alleged harms are closely related to intrusion upon seclusion.

               The government argues that “[m]ere access to data housed by a government agency by

        government employees—even if the quantity of data is potentially large—does not bear the ‘close

        relationship to [the] traditional harm’ of intrusion upon seclusion.” ECF 62, at 14. This argument

        completely ignores the fact that the plaintiffs have a privacy interest in restricting access to their

        personal information within the government. They gave detailed sensitive personal information to

        the government for the purposes of obtaining federal employment, student loans, and government

        benefits with the expectation that only authorized government employees could access it. They

        now claim that, without their consent, the government has handed over their personal information

        to government employees who are not authorized to access it. To say that the plaintiffs suffer no

        intrusion upon their private affairs when their personal information is accessed by government

        employees who have no right to access it would nullify their cognizable interest in preventing

        unlawful government intrusion into their private affairs. 13



        13
          The government argues the plaintiffs must allege an unauthorized public disclosure—disclosure
        to someone outside of government—to establish concrete injury in fact. But the common law tort
        of intrusion upon seclusion does not require public disclosure of personal information. Intrusion
        upon seclusion, unlike the tort of public disclosure of private information, “does not depend upon
        any publicity given to the person whose interest is invaded or to his affairs.” Restatement (Second)


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               The government insists that the alleged intrusion here is dissimilar from the types of

        intrusions contemplated by the Restatement. In the government’s view, intrusion upon seclusion

        “involve[s] more than mere access to records—[it] involve[s] an actual ‘intrusion,’ such as

        examination or review of sensitive material.” ECF 62, at 15. This argument, too, fails for several

        reasons.

               First, the intrusion here is similar to the types of intrusion contemplated by the Restatement.

        The Restatement explains that a person’s privacy is invaded when there is “some . . . form of

        investigation or examination into his private concerns, as by opening his private and personal mail,

        searching his safe or his wallet, examining his private bank account, or compelling him by a forged

        court order to permit an inspection of his personal documents.” Restatement (Second) of Torts, §

        652B, cmt. b. Here, the plaintiffs allege their privacy has been similarly invaded. Their PII is stored

        in government record systems—virtual filing cabinets with scores of information about their

        family, employment history, personal finances, and banking information, to name only a few. The

        plaintiffs trusted that the government would safeguard the keys to these virtual filing cabinets.

        Now, the plaintiffs allege that the agencies have handed the keys to government employees who

        are not authorized to open the cabinets but are doing so anyway. This alleged intrusion is just as,

        if not more, intrusive than an examination of a wallet or bank record.

               Second, the Fourth Circuit in Krakauer rejected a similar argument that the alleged harm

        was not the same as an intrusion upon seclusion. In Krakauer, the intrusion was unwanted phone

        calls. There, the court explained that “Article III’s injury-in-fact requirement” does not have to




        Torts, § 652B, cmt. a. The disclosure to unauthorized government employees suffices. See, e.g.,
        Hamberger v. Eastman, 206 A.2d 239, 242 (N.H. 1964) (“The tort of intrusion on the plaintiffs’
        solitude or seclusion does not require publicity and communication to third persons”).



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        rise “to a level that would support a common law cause of action.” 925 F.3d at 653–54. “This sort

        of judicial grafting is not what Spokeo had in mind.” Id. at 654. Instead, “[o]ur inquiry is focused

        on types of harms protected at common law, not the precise point at which those harms become

        actionable.” Id. (emphasis added); see also Drazen v. Pinto, 74 F.4th 1336, 1343 (11th Cir. 2023)

        (holding that “a close relationship” between alleged privacy invasion and intrusion upon seclusion

        does “not require carbon copies”).

               As in Krakauer, the Court’s inquiry is focused on the type of harm protected at common

        law. That harm—intrusion upon seclusion—is closely related to the harm alleged here. Even if the

        facts in this case do not perfectly match the Restatement’s examples of intrusion, a perfect match

        is not necessary. The injury-in-fact inquiry “does not require an exact duplicate in American

        history and tradition.” Garey, 35 F.4th at 922 (quoting TransUnion, 594 U.S. at 424).

               Finally, the government argues that “mere access to records,” without actual examination

        of the records, is not an intrusion upon seclusion. ECF 62, at 15. The government is incorrect. An

        unauthorized government employee’s access to sensitive personal information protected by the

        Privacy Act is an intrusion into private affairs. Even if it were not, there is more than mere access

        here. On the government’s account, the DOGE affiliates with “mere access to records” actually

        “have a need for the records to which they have access in the performance of their duties.” See id.

        at 26 (emphasis added); id. at 27 (at Treasury, DOGE affiliates “have a need to access Privacy

        Act-protected records”; at OPM, they “need to access such records”; and at Education, they “need

        to access such records”) (citations omitted)). If, by the government’s own lights, the DOGE

        affiliates need access to the Privacy Act-protected records to perform their duties, then the DOGE

        affiliates must be putting that access to use. And the government has introduced evidence that says

        as much, including declarations that DOGE affiliates are accessing the agencies’ systems and




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        records with sensitive personal information. See ECF 27-1, ¶¶ 15–16; ECF 27-3, ¶ 13, 18–19; ECF

        27-5, ¶ 9; ECF 27-6, ¶ 7; ECF 27-7, ¶ 4; ECF 33-1, ¶¶ 11–13. This evidence aligns with the

        plaintiffs’ allegations that DOGE affiliates are accessing and examining the records containing

        their personal information. See ECF 13, ¶¶ 12, 54–55, 80, 85, 103–04, 110, 139. So, the

        government’s argument that “mere access to records” is insufficient to establish a concrete injury

        does not hold water. The plaintiffs have established an ongoing, concrete privacy injury. 14

               The government insists that the Court’s finding of standing cannot be squared with the

        Fourth Circuit’s decision in O’Leary v. TrustedID, Inc. Once again, the government is incorrect.

        In O’Leary, the Fourth Circuit held that an alleged violation of an identity theft statute did not

        closely relate to intrusion upon seclusion. 60 F.4th 240, 245 (4th Cir. 2023). The plaintiff, Brady

        O’Leary, input six digits of his Social Security number into a website to determine whether his

        data had been compromised in a data breach. Id. at 241. It had not. Id. Still, O’Leary filed suit

        against the website’s owner for an alleged violation of South Carolina’s Financial Identity Fraud

        and Identity Theft Protection Act, which prohibits “requir[ing] a consumer to use his social

        security number or a portion of it containing six digits or more to access an Internet web site,

        unless a password or unique personal identification number or other authentication device is also

        required to access the Internet web site.” Id. (quoting S.C. Code Ann. § 37-20-180(A)(4)). When

        the Fourth Circuit addressed whether O’Leary had alleged a concrete injury in fact from this

        statutory violation, it observed that he had “pleaded that he chose to hand over his partial SSN

        ‘[i]n exchange for’ finding out whether he was impacted by Equifax’s data breach.” Id. at 246




        14
           See also All. for Retired Ams., 2025 WL 740401, at *17 (finding concrete injury where
        “Plaintiffs’ members disclosed their information to Treasury; individuals falsely purporting to
        have lawful access to that information demanded its disclosure; when Treasury acquiesced to that
        demand, the individuals invaded Plaintiffs’ members’ privacy”).


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        (citation omitted). Those allegations, the Fourth Circuit held, were not “anything that closely

        relates” to “the unwanted intrusion into the home that marks intrusion upon seclusion.” Id. The

        court concluded that O’Leary had not “adequately pled that he was injured by the alleged statutory

        violation at all—much less in a way that closely relates to a traditional analog for a federal lawsuit.”

        Id. at 246.

                This case is not O’Leary. O’Leary did not allege a violation of a statute that protected his

        right to privacy, as the plaintiffs have. O’Leary did not allege he entrusted troves of sensitive

        personal information to a party who breached his trust by unlawfully disclosing the information to

        others, as the plaintiffs have. O’Leary did not even allege that he expected the website not to

        disclose the last six digits of his Social Security number to anyone or that the website ever did

        disclose it. While the facts in O’Leary did not amount to an “unwanted intrusion into the home,”

        they do here. What could be more “home” than one’s Social Security number, banking

        information, income and asset information, and marital and citizenship status?

                The ongoing unlawful access to the plaintiffs’ sensitive personal information by DOGE

        affiliates who are not authorized to access it is a concrete injury in fact. 15 The plaintiffs have

        demonstrated that they have standing.

                B. Final Agency Action

                The APA allows for judicial review of “final agency action for which there is no other

        adequate remedy in a court.” 5 U.S.C. § 704. Whether there is a final agency action is a



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          The plaintiffs have suggested they suffered another injury in fact: the risk of identity theft. To
        establish standing based on the risk of identity theft, the plaintiffs must show that “their contention
        of an enhanced risk of future identity theft” is more than “speculative.” See Beck v. McDonald,
        848 F.3d 262, 274 (4th Cir. 2017). Because the Court finds that the unauthorized disclosure of
        sensitive personal information is a concrete injury, it need not decide whether the risk of identity
        theft also is a concrete injury.



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        jurisdictional question in the Fourth Circuit. See, e.g., Jake’s Fireworks Inc. v. Consumer Prod.

        Safety Comm’n, 105 F.4th 627, 631 (4th Cir. 2024) (“finality under the APA is a jurisdictional

        requirement”).

               “‘[A]gency action’ includes the whole or a part of an agency rule, order, license, sanction,

        relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13). “[T]he term is not

        so all-encompassing as to authorize [courts] to exercise ‘judicial review [over] everything done by

        an administrative agency.’” Indep. Equip. Dealers Ass’n v. EPA., 372 F.3d 420, 427 (D.C. Cir.

        2004) (quoting Hearst Radio, Inc. v. FCC, 167 F.2d 225, 227 (D.C. Cir. 1948)). Even so, “‘agency

        action’ undoubtedly has a broad sweep.” Id. “[T]he word ‘action[]’ . . . is meant to cover

        comprehensively every manner in which an agency may exercise its power.” Whitman v. Am.

        Trucking Ass’ns, 531 U.S. 457, 478 (2001); see also FTC v. Standard Oil Co., 449 U.S. 232, 238

        n.7 (1980) (“According to the legislative history of the APA: ‘The term “agency action” . . .

        assure[s] the complete coverage of every form of agency power, proceeding, action, or inaction.’”

        (quoting S. Doc. No. 248, 79th Cong., 2d Sess., 255 (1946))). The term “action” encompasses an

        agency’s “policy or routine practice.” Amadei v. Nielsen, 348 F. Supp. 3d 145, 164 (E.D.N.Y.

        2018). And an agency policy is reviewable even when “the details of the . . . policy are still

        unclear.” See Venetian Casino Resort, L.L.C. v. EEOC, 530 F.3d 925, 929–30 (D.C. Cir. 2008).

        An agency action need not even be written down. See R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 184

        (D.D.C. 2015) (concluding plaintiffs “attack[ed] particularized agency action” even though they

        did not “cite any statute, regulation, policy memoranda, or any other document memorializing the

        policy they challenge[d]”); Grand Canyon Tr. v. Pub. Serv. Co., 283 F. Supp. 2d 1249, 1252

        (D.N.M. 2003) (“Unwritten agency actions have been subjected to judicial review under the




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        Administrative Procedure[] Act.” (citation omitted) (citing San Juan Audubon Soc’y v. Veneman,

        153 F. Supp. 2d 1, 5–6 (D.D.C. 2001)).

               The administrative records reveal that, in the earliest days of the new presidential

        administration, Education, OPM, and Treasury granted DOGE affiliates access to agency systems

        that house records containing the plaintiffs’ PII. They granted this access so that DOGE affiliates

        could implement the DOGE Executive Order.

               At Education, CIO Thomas Flagg authorized “full and prompt access to all unclassified IT

        systems and data” to “USDS personnel onboarded to the Department of Education DOGE team”

        to “support the implementation of the [DOGE Executive Order].” ED-000025.

               At OPM, declarations from the CIO describe “individuals with access to sensitive OPM

        records systems who are working to implement [the DOGE Executive Order],” ECF 27-8, ¶ 12

        (G. Hogan Decl.), and “five key systems engineers, besides myself, implementing [the DOGE

        Executive Order ],” ECF 33-1, ¶ 13; see also ECF 51-1, at 2 (certification of OPM administrative

        record describing “the granting of access to data systems to employees implementing [the DOGE

        Executive Order ]”). In an email with the subject line “Getting DoGE Engineers access,” Acting

        Director Ezell directed an OPM employee to grant OPM DOGE affiliates access to agency records

        because OPM was “rapidly ramping up [these] engineers.” OPM-000028. Other emails confirm

        that OPM granted DOGE affiliates extensive access to OPM systems based on Acting Director

        Ezell’s request to quickly give political staff system administrator access. See OPM-000104,

        OPM-000107 (email chain with subject line “Re: urgent request from political tech staff”

        describing process by which OPM granted “administrator accounts with super user permissions”

        to “Individuals from the Political Team” at “[t]he request . . . [of] the Acting Director to MC on

        Monday January 20th to add these people to the system as admins”); OPM 000108 (“We have




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        already given several of the political devs/engineers comprehensive access . . . . Now we have 3

        more individuals with the same requirement.”); OPM-000110 (February 3, 2025 email forwarding

        a request from OPM Chief of Staff Amanda Scales for OPM-8 to have “account creation info”

        with “admin access” for USA Staffing, “[s]imilar to” access granted to another DOGE affiliate

        pursuant to Acting Director Ezell’s January 27, 2025 email).

               At Treasury, the engagement plan between the agency and “USDS/DOGE” describes the

        “ongoing Payment Process Engagement” whereby the “Fiscal Service is supporting the

        USDS/DOGE team during their 4–6-week engagement to understand payment processes and

        opportunities to advance payment integrity and fraud reduction goals.” TR-0057. The engagement

        plan sets forth how access to Fiscal Service systems will proceed, including how “USDS/DOGE

        confirmed” that the “designated technical team member[] requires access to Fiscal Service systems

        and data” and how “USDS/DOGE requested to be granted ‘over the shoulder’ access to monitor

        Fiscal Service personnel conducting payment processing roles, which was approved by Fiscal

        Service on 1/23/25.” TR-0058–59.

               As these memoranda, declarations, and emails show, it is the policy of Education, OPM,

        and Treasury to grant DOGE affiliates access to agency record systems so that they may implement

        the DOGE Executive Order. See Amadei v. Nielsen, 348 F. Supp. 3d at 165 (inferring “existence

        of an official policy” of U.S. Customs and Border Patrol to request identification documents at the

        end of domestic flights even though the complaint did not allege an official policy); De La Mota

        v. U.S. Dep’t of Educ., No. 02-CV-4276, 2003 WL 21919774, at *8 (S.D.N.Y. Aug. 12, 2003)

        (“[I]t is of no moment that the agency action here came in the form of an ‘informal’ email

        correspondence between a DOE employee and the law schools and plaintiffs.”); see also Venetian,

        530 F.3d at 931 (deeming “the decision of the Commission to adopt a policy of disclosing




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        confidential information without notice” an agency action even though the policy was only

        referenced in a compliance manual). Even if “the details of the . . . policy are still unclear,” what

        is clear is that each agency has a policy of granting DOGE affiliates access to agency records

        systems, which include the plaintiffs’ PII. See Venetian, 530 F.3d at 929. The plaintiffs have

        challenged an agency action.

               The government insists that by finding a reviewable agency action in this case, the Court

        is sanctioning judicial review over “broad programmatic attacks,” when judicial review should be

        limited to discrete agency actions. See ECF 62, at 18 (citing Norton v. S. Utah Wilderness All.

        (“SUWA”), 542 U.S. 55, 64 (2004) and Lujan, 497 U.S. at 891). The government is correct that

        “[c]ourts are well-suited to reviewing specific agency decisions” and are “woefully ill-suited . . .

        to adjudicate generalized grievances asking [the court] to improve an agency’s performance or

        operations.” See City of New York v. U.S. Dep’t of Def., 913 F.3d 423, 431 (4th Cir. 2019); see

        also id. at 432 (“[C]ourts [may] review only those acts that are specific enough to avoid entangling

        the judiciary in programmatic oversight, clear enough to avoid substituting judicial judgments for

        those of the executive branch, and substantial enough to prevent an incursion into internal agency

        management.”). But the government is incorrect that the Court is reviewing an agency’s

        “performance or operations.” Id. Contrast the facts here with those in Lujan and SUWA. In Lujan,

        the National Wildlife Federation (“NWF”) broadly challenged what it termed Bureau of Land

        Management’s (“BLM”) “land withdrawal review program,” a term that encompassed “the

        continuing (and thus constantly changing) operations of the BLM in reviewing withdrawal

        revocation applications and the classifications of public lands and developing land use plans as

        required by [statute].” 497 U.S. at 890. The Court concluded that the NWF did not challenge “an

        identifiable ‘agency action’” because the term “land withdrawal review program” did “not refer to




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        a single BLM order or regulation, or even to a completed universe of particular BLM orders and

        regulations.” Id. In SUWA, organizations sought to compel agency action because they believed

        BLM had “fail[ed] to act to protect public lands in Utah from damage caused by ORV [off-road

        vehicle] use.” 542 U.S. at 60. The organizations “claim[ed], that by permitting ORV use in certain

        WSAs [wilderness study areas], BLM violated its mandate to ‘continue to manage [WSAs] . . . in

        a manner so as not to impair the suitability of such areas for preservation as wilderness.’” Id. at 65

        (quoting 43 U.S.C. § 1782(c)). The Supreme Court observed that the challenged agency action had

        to be “discrete” for a remedy to exist under the APA and that “[t]he limitation to discrete agency

        action precludes the kind of broad programmatic attack [the Court] rejected in Lujan.” Id. at 62,

        64. On that basis, it rejected the organizations’ request that the Court order BLM “to comply with

        the [statute’s] nonimpairment mandate” because “[g]eneral deficiencies in compliance . . . lack the

        specificity requisite for agency action.” Id. at 66.

               This case is not Lujan or SUWA. Here, the plaintiffs do not challenge the “continuing (and

        thus constantly changing) operations of” the agencies, see Lujan, 497 U.S. at 873, or any “[g]eneral

        deficiencies in compliance” by the agencies, see SUWA, 542 U.S. at 66. The plaintiffs challenge

        the discrete agency decisions to grant DOGE affiliates access to systems that contain records with

        their PII. They ask the Court to stop the agencies from taking a specific action that they believe is

        contrary to law.

               Next, the government argues that the plaintiffs are asking the Court to review the agencies’

        “‘workaday’ dealings,” which are beyond the scope of judicial review. ECF 62, at 17 (quoting

        Indep. Equip. Dealers Ass’n, 372 F.3d at 427). The government likens the agency decisions at

        issue here to setting up employee email accounts, staffing decisions, and managing government

        programs. Id. at 17, 18. Trivial decisions about day-to-day workplace operations and even




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        substantive decisions about program management are hardly comparable. Unlike the “workaday”

        decisions in the government’s strained analogy, the agencies’ decisions to grant DOGE affiliates

        access to records with the PII of millions of Americans impacts the privacy rights of the people

        whose PII is housed within these systems. These decisions are agency actions.

               And they are final agency actions. An agency action is “final” when two conditions are

        met: (1) “the action must mark the ‘consummation’ of the agency’s decisionmaking process—it

        must not be of a merely tentative or interlocutory nature,” and (2) “the action must be one by which

        ‘rights or obligations have been determined,’ or from which ‘legal consequences will flow.’”

        Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (first quoting Chicago & S. Air Lines, Inc. v.

        Waterman S.S. Corp., 333 U.S. 103, 113 (1948); and then quoting Port of Boston Marine Terminal

        Ass’n v. Rederiaktiebolaget Transatl., 400 U.S. 62, 71 (1970)).

               In Venetian Casino Resort, L.L.C. v. EEOC, the D.C. Circuit concluded that an agency’s

        decision to permit its employees to disclose confidential information without notice was a final

        agency action. 530 F.3d at 930–31. There, a company operating a hotel and casino (“Venetian”)

        filed suit against the EEOC. Id. Venetian asserted the EEOC violated the APA through a policy

        that allowed EEOC “employees to disclose an employer’s confidential information to potential . . .

        plaintiffs without first notifying the employer that its information [would] be disclosed.” Id. The

        EEOC argued that Venetian could not bring an APA claim because the challenged policy was

        referenced in its compliance manual, which was not a final agency action. Id. at 931. According

        to the D.C. Circuit, EEOC’s “argument [was] misdirected” because the final agency action at issue

        was not the manual but rather “the decision of the Commission to adopt a policy of disclosing

        confidential information without notice.” Id. “The Manual [wa]s relevant insofar as it

        illuminate[ed] the nature of the policy.” Id. The court determined that “the agency took final action




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        by adopting the policy” and that this action was subject to judicial review. Id. Ultimately, the

        Venetian Court found that “[a]dopting a policy of permitting employees to disclose confidential

        information without notice is surely a ‘consummation of the agency’s decisionmaking process’”

        and “‘one by which [the submitter’s] rights [and the agency’s] obligations have been determined.’”

        Id. (quoting Bennett, 520 U.S. at 178). The D.C. Circuit remanded the case for entry of “an

        injunction prohibiting the [EEOC] from disclosing Venetian’s confidential information pursuant

        to its current disclosure policy.” Id. at 927.

                Here, as in Venetian, the decisions to grant DOGE affiliates access to agency record

        systems were final agency actions. Education, OPM, and Treasury granted DOGE affiliates access

        to systems that contain records with the plaintiffs’ PII. The decisions to grant access were neither

        tentative nor interlocutory in nature. They were “the ‘consummation’ of the agenc[ies’]

        decisionmaking process.” See Bennett, 520 U.S. at 177–78 (quoting Chicago & S. Air Lines, 333

        U.S. at 113). There was nothing further for the agencies to do to formalize the decisions. And while

        the agencies can and have revoked DOGE affiliates’ access to certain systems, that authority does

        not make their decisions tentative or interlocutory. The agencies decided that DOGE affiliates

        could access agency records containing PII and gave the affiliates such access. The agency actions

        marked the consummation of the agency’s decisionmaking process.

                And here, as in Venetian, Education, OPM, and Treasury “[a]dopt[ed] a policy of

        permitting . . . disclos[ure]” that determines the plaintiffs’ legal rights and the agencies’ legal

        obligations. See Venetian, 530 F.3d at 931. The Privacy Act prohibits disclosure of the records at

        issue “except pursuant to a written request by, or with the prior written consent of, the individual

        to whom the record pertains,” unless the disclosure falls within an enumerated exception. See 5

        U.S.C. § 552a(b). The agencies determined that, to comply with the Privacy Act, they did not need




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        the plaintiffs’ consent to disclose their records to DOGE affiliates. Thus, the practical effect of the

        agencies’ decisions was to determine the plaintiffs’ rights and the agencies’ obligations under the

        Privacy Act. See De La Mota, 2003 WL 21919774, at *8 (“The practical effect of the DOE’s

        action, not the informal packaging in which it was presented, is the determining factor in evaluating

        whether the DOE’s action was ‘final.’”).

               The government argues the agencies’ decisions had no “actual legal effect.” ECF 62, at 19

        (citing Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 252 (D.C. Cir. 2014) and Mashni v. U.S.

        Army Corps of Eng’rs, 535 F. Supp. 3d 475, 482 (D.S.C. 2021)). Here, too, they are mistaken.

        “Whether an agency action has ‘direct and appreciable legal consequences’ under the second prong

        of Bennett is a ‘pragmatic’ inquiry.” Sierra Club v. EPA, 955 F.3d 56, 63 (D.C. Cir. 2020) (cleaned

        up) (quoting U.S. Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 598–99 (2016)). The

        agencies determined that disclosure of the plaintiffs’ PII did not require their consent and that such

        disclosure fell within one of the Privacy Act’s exceptions. Thus, the decisions of Education, OPM,

        and Treasury had a legal effect: They determined the plaintiffs’ rights and the agencies’ obligations

        under the Privacy Act.

               This case is not, as the government argues, similar to Sierra Club v. EPA, 955 F.3d 56. In

        Sierra Club, the D.C. Circuit held that agency guidance concerning a state permitting process was

        not final agency action because “it d[id] not determine rights or obligations and d[id] not effectuate

        direct or appreciable legal consequences.” Id. at 58. The guidance “impose[d] no obligations,

        prohibitions or restrictions on regulated entities, d[id] not subject them to new penalties or

        enforcement risks, preserve[d] the discretion of permitting authorities, require[d] any permitting

        decision relying on the Guidance be supported with a robust record, and d[id] not prevent

        challenges to individual permitting decisions.” Id. at 63. The guidance was “not necessary for a




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        permitting decision,” and “permitting authorities [we]re free to completely ignore it.” Id. at 64.

        And the guidance “by itself d[id] not expose any regulated entity to the possibility of an

        enforcement action or to enhanced fines or penalties.” Id. at 65.

                Sierra Club is inapposite. It involved mere agency guidance that did not impose rights or

        obligations on regulated entities or interfere with the discretion of the state authorities making

        permitting decisions. In contrast, the agency actions challenged here did “determine rights or

        obligations” and did “effectuate direct or appreciable legal consequences.” 955 F.3d at 58. The

        decision to grant DOGE affiliates access to agency systems with records containing PII had “direct

        or appreciable legal consequences” under the Privacy Act. See id. That statute—the “NorthStar”

        that “govern[s] the action at issue”—implicates the plaintiffs’ rights to protect their sensitive

        personal information from unlawful disclosure and the agencies’ obligations, with certain

        exceptions, to obtain their consent before disclosure. See Cal. Cmtys. Against Toxics v. EPA, 934

        F.3d 627, 631 (D.C. Cir. 2019) (“[C]ourts should take as their NorthStar the unique constellation

        of statutes and regulations that govern the action at issue.”). 16

                The agency decisions to grant DOGE affiliates access to systems that house records with

        the plaintiffs’ PII are final agency actions. See New York v. Trump, No. 25-CV-01144, 2025 WL

        573771, at *19 (S.D.N.Y. Feb. 21, 2025) (finding Treasury’s decision to grant DOGE affiliates

        access to PII reviewable under the APA because “the APA allows challenges to unwritten agency

        policies and practices where the requirements of finality are otherwise satisfied”).




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           California Communities Against Toxics v. EPA, another case the government relies on, also is
        factually distinct. There, the D.C. Circuit held that an EPA memo forecasting the agency’s
        interpretation of a statute was not a final agency action because it “has no direct and appreciable
        legal consequences.” 934 F.3d at 638–39.


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               C. Preliminary Injunction

               The party seeking a preliminary injunction must establish (1) that they are likely to succeed

        on the merits; (2) that they are likely to suffer irreparable harm if preliminary relief is not granted;

        (3) that the balance of equities favors them; and (4) that an injunction is in the public interest. See

        Frazier v. Prince George’s County, 86 F.4th 537, 543 (4th Cir. 2023) (citing Winter, 555 U.S. at

        20).

                   1. Likelihood of Success on the Merits

                            i.   Administrative Procedure Act

               “Congress enacted the APA to provide a general authorization for review of agency action

        in the district courts.” Bowen v. Massachusetts, 487 U.S. 879, 903 (1988). The APA “requires

        agencies to engage in ‘reasoned decisionmaking’” and establishes procedures for judicial review

        and “accountab[ility] to the public.” Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591

        U.S. 1, 16 (2020) (first quoting Michigan v. EPA, 576 U.S. 743, 750 (2015) (internal quotation

        marks omitted), and then quoting Franklin v. Massachusetts, 505 U.S. 788, 796 (1992)).

               The APA directs courts to “hold unlawful and set aside agency action, findings, and

        conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

        accordance with law” or “in excess of statutory jurisdiction, authority, or limitations, or short of

        statutory right.” 5 U.S.C. § 706(2)(A),(C). In determining whether agency action is “not in

        accordance with law,” the court must “bear[] in mind that it is [the court’s] duty under the APA to

        ‘decide all relevant questions of law’ and to ‘interpret constitutional and statutory provisions.’”

        Perez v. Cuccinelli, 949 F.3d 865, 872 (4th Cir. 2020) (citing 5 U.S.C. § 706). “[W]here an

        agency’s decision does not comport with governing statutes or regulations, that decision is ‘not in

        accordance with law’ and must be set aside.” J.E.C.M. ex rel. Saravia v. Lloyd, 352 F. Supp. 3d




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        559, 583 (E.D. Va. 2018). An agency’s “order may not stand if the agency has misconceived the

        law.” SEC v. Chenery Corp., 318 U.S. 80, 94 (1943). When a court makes a final decision on the

        merits that an agency made an error of law, “the case must be remanded to the agency for further

        action consistent with the corrected legal standards.” PPG Indus., Inc. v. United States, 52 F.3d

        363, 365 (D.C. Cir. 1995) (citing Chenery, 318 U.S. at 94–95).

                In its review, the court “must only consider the record made before the agency at the time

        the agency acted” because it “may not ‘intrude upon the domain which Congress has exclusively

        entrusted to an administrative agency.’” Dow AgroSciences LLC v. Nat’l Marine Fisheries Serv.,

        707 F.3d 462, 467 (4th Cir. 2013) (quoting Chenery, 318 U.S. at 88). The record includes “the

        facts presented to the agency” and “the reasons given by the agency for taking the action.” Id. The

        record generally does not include “facts and justifications for agency action provided to a

        reviewing court for the first time.” Id. at 468. Put differently, the court “‘may not accept [the

        agency] counsel’s post hoc rationalizations for agency action’” because the “court may look only

        to the[] contemporaneous justifications in reviewing the agency action.” Id. at 467–68 (emphasis

        in Dow AgroSciences) (quoting Motor Vehicle Mfr. Ass’n v. State Farm Auto. Ins. Co., 463 U.S.

        29, 50 (1983)). “During its evaluation of the agency action, ‘the court shall review the whole record

        or those parts of it cited by a party, and due account shall be taken of the rule of prejudicial error.’”

        Ergon-W. Va., Inc. v. EPA, 980 F.3d 403, 410 (4th Cir. 2020) (quoting 5 U.S.C. § 706).

                The court may, under narrow circumstances, look beyond the record. If the record utterly

        “fail[s] to explain administrative action” by not providing even a “curt” explanation and, as a

        result, “frustrate[s] effective judicial review,” the court may “obtain from the agency, either

        through affidavits or testimony, such additional explanation of the reasons for the agency decision

        as may prove necessary.” Camp v. Pitts, 411 U.S. 138, 142 (1973); see Env’t Def. Fund, Inc. v.




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        Costle, 657 F.2d 275, 285 (D.C. Cir. 1981) (noting that “[w]hen the record is inadequate,” the

        court may seek “additional explanations,” but “[t]he new materials should be merely explanatory

        of the original record and should contain no new rationalizations” (citing Bunker Hill Co. v. EPA,

        572 F.2d 1286, 1292 (9th Cir. 1977)). Further, a “court may go outside [the] record for explanation

        of highly technical matters.” J.H. Miles & Co., Inc. v. Brown, 910 F. Supp. 1138, 1147 (E.D. Va.

        1995) (citing Asarco, Inc. v. EPA, 616 F.2d 1153, 1159–60 (9th Cir. 1980)); Bunker Hill, 572 F.2d

        at 1292 (“[C]ourts are not straightjacketed to the original record in trying to make sense of complex

        technical testimony, which is often presented in administrative proceedings without ultimate

        review by nonexpert judges in mind.”).

               To be clear, the court cannot accept a more fulsome explanation to supplant an explanation,

        albeit brief, in the record. If there is some explanation in the record, then the agency action must

        “stand or fall on the propriety of that [explanation], judged, of course, by the appropriate standard

        of review.” Camp, 411 U.S. at 143. If the explanation “is not sustainable on the administrative

        record made, then the [agency’s] decision must be vacated and the matter remanded . . . for further

        consideration.” Id.

                              ii.   Privacy Act

               Congress passed the Privacy Act “in light of the government’s ‘increasing use of computers

        and sophisticated information technology,’ which ‘greatly magnified the harm to individual

        privacy that can occur from any collection, maintenance, use, or dissemination of personal

        information.’” Tankersley v. Almand, 837 F.3d 390, 395 (4th Cir. 2016) (quoting the Privacy Act

        of 1974 § 2(a)(2)).

               The Privacy Act prohibits agencies from “disclos[ing] any record which is contained in a

        system of records by any means of communication to any person, or to another agency, except




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        pursuant to a written request by, or with the prior written consent of, the individual to whom the

        record pertains.” 5 U.S.C. § 552a(b). This restriction on disclosure extends to employees within

        the agency. Disclosure to the agency’s employees is limited “to those officers and employees of

        the agency which maintains the record who have a need for the record in the performance of their

        duties.” Id. § 552a(b)(1).

               The Privacy Act defines a “record” as “any item, collection, or grouping of information

        about an individual that is maintained by an agency, including but not limited to, his education,

        financial transactions, medical history, and criminal or employment history and that contains his

        name, or the identifying number, symbol, or other identifying particular assigned to the individual,

        such as a finger or voice print or a photograph.” Id. § 552a(a)(4). A “system of record” is “a group

        of any records under the control of any agency from which information is retrieved by the name

        of the individual or by some identifying number, symbol, or other identifying particular assigned

        to the individual.” Id. § 552a(a)(5).

               The Privacy Act does not define “disclosure,” but agencies have interpreted the term to

        include granting access to records. See OMB Guidelines, 40 Fed. Reg. 28948, 28953 (July 9, 1975)

        (“A disclosure may be either the transfer of a record or the granting of access to a record.”); 5

        C.F.R. § 297.102 (“Disclosure means providing personal review of a record, or a copy thereof, to

        someone other than the data subject or the data subject’s authorized representative, parent, or legal

        guardian.”). Likewise, courts have construed the term “liberally to include not only the physical

        disclosure of the records, but also the accessing of private records.” See Wilkerson v. Shinseki, 606

        F.3d 1256, 1268 (10th Cir. 2010); Tolbert-Smith v. Chu, 714 F. Supp. 2d 37, 43 (D.D.C. 2010)

        (reading “disclosure” to include “plac[ing] records . . . on a server accessible by other federal

        employees and members of the public”); cf. Wilborn v. Dep’t of Health & Human Servs., 49 F.3d




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        597, 600–01 (9th Cir. 1995) (“[T]he Privacy Act, if it is to be given any force and effect, must be

        interpreted in a way that does not ‘go[] against the spirit’ of the Act” (quoting MacPherson v. IRS,

        803 F.2d 479, 481 (9th Cir. 1986)), abrogated on other grounds by Chao I, 540 U.S. 614. Some

        courts have required “actual viewing or imminent viewing by another.” Wrocklage v. Dep’t of

        Homeland Sec., 769 F.3d 1363, 1369 (Fed. Cir. 2014). But courts that have required more than

        mere transmission of records have suggested that disclosure occurs when “information has been

        exposed in a way that would facilitate easy, imminent access.” See, e.g., In re Sci. Applications

        Int’l Corp. Backup Tape Data Theft Litig., 45 F. Supp. 3d 14, 29 (D.D.C. 2014).

                          iii.   The APA Claim

               The plaintiffs assert that Education, OPM, and Treasury did not act “in accordance with

        law”—the Privacy Act—when they disclosed agency records containing the plaintiffs’ PII to

        DOGE affiliates. 5 U.S.C. § 706(2)(A). To determine whether the plaintiffs have established a

        likelihood of success on the merits of this claim, the Court confines its review of the final agency

        actions to the administrative records and looks outside the records only “for explanation of highly

        technical matters.” J.H. Miles & Co., 910 F. Supp. at 1147 (citing Asarco, 616 F.2d at 1159–60).

        Upon review of the administrative records, the Court finds that the plaintiffs have shown a

        likelihood of success on the merits of their APA claim that Education, OPM, and Treasury took

        final agency actions “not in accordance with law.” 5 U.S.C. § 706(2)(A). 17



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           At the TRO stage, the government argued that the plaintiffs have not stated an APA claim
        because they have an “adequate remedy” under the Privacy Act. See 5 U.S.C. § 704 (“[F]inal
        agency action[s] for which there is no other adequate remedy in a court are subject to judicial
        review.”). The government reasserted this argument in its opposition to the motion for a
        preliminary injunction. As the Court explained in the TRO, ECF 38, at 18–19, the Privacy Act
        provides a cause of action for damages when an agency improperly discloses records, but it does
        not provide a cause of action for injunctive relief in these circumstances. See Doe v. Chao (“Chao
        II”), 435 F.3d 492, 504–05 & n.17 (4th Cir. 2006). The plaintiffs seek injunctive relief, not
        damages. Thus, they do not have an adequate remedy under the Privacy Act. Their only available


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                The government does not dispute that the agencies granted DOGE affiliates access to

        systems of records that contain sensitive personal information subject to the Privacy Act, that the

        plaintiffs did not request disclosure of their PII contained in these systems, or that the agencies did

        not obtain the plaintiffs’ consent before they granted DOGE affiliates access to the information.

        Still, the government insists the disclosures complied with the Privacy Act because, under the

        statute, the agencies did not need to obtain the plaintiffs’ consent. 18

                The Privacy Act lists thirteen exceptions to the general rule that disclosure of agency

        records requires consent. See 5 U.S.C. § 552a(b). Of relevance here, disclosure is permitted “to

        those officers and employees of the agency which maintains the record who have a need for the

        record in the performance of their duties.” Id. § 552a(b)(1). To fall within this exception, the

        disclosure must be within the agency that maintains the record, see Britt v. Naval Investigative

        Serv., 886 F.2d 544, 547 (3d Cir. 1989), and the recipient must “examine[] the record in connection

        with the performance of duties assigned to him . . . in order to perform those duties properly,”



        remedy is an APA action for injunctive relief. See id. at 504 n.17 (explaining that “[o]ften . . .
        injunctive relief for a Government’s violation of the [Privacy] Act” is “appropriate and authorized
        by the APA,” which “empower[s] courts to ‘hold unlawful and set aside agency action . . . found
        to be . . . not in accordance with [] law’”) (quoting 5 U.S.C. § 706(2)(A)). Thus, the plaintiffs
        challenge a “final agency action for which there is no other adequate remedy in a court.” See 5
        U.S.C. § 704. The APA allows for judicial review of their claim.
        18
           The government also suggests that no “disclosure” has occurred because there is no evidence
        that the DOGE affiliate have actually viewed the plaintiffs’ information. For this proposition, they
        cite Wrocklage v. Dep’t of Homeland Security, 769 F.3d at 1368–69. But in Wrocklage, the Federal
        Circuit determined an email with an attachment that contained someone’s Social Security number,
        address, date of birth, and license plate number did not constitute “disclosure” of a record under
        the Privacy Act because “[i]t is undisputed that the recipient deleted the email and it is therefore
        not imminently viewable.” Id. at 1365–66, 1368–69. Here, absent injunctive relief, the plaintiffs’
        records at Education, OPM, and Treasury would be “imminently viewable” by DOGE affiliates,
        id. at 1369, and the government has asserted that the DOGE affiliates need to access this
        information to perform their job duties. The agencies have disclosed the plaintiffs’ records for
        Privacy Act purposes. See, e.g., Tolbert-Smith, 714 F. Supp. 2d at 43.



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        Bigelow v. Dep’t of Def., 217 F.3d 875, 877 (D.C. Cir. 2000). The government relies on the need-

        to-know exception to defend the disclosure of entire systems of records to DOGE affiliates at

        Education, OPM, and Treasury.

               “[T]he need to know exception applies only to intra-agency disclosures.” Britt, 886 F.2d at

        547. The government insists that the disclosures are intra-agency disclosures because the DOGE

        affiliates are employees of Education, OPM, and Treasury. The plaintiffs assert that at least some

        of the DOGE affiliates at Education are not employees. This dispute does not impact the likelihood

        of success analysis, because even if the disclosures were intra-agency, the administrative records

        do not show that the DOGE affiliates had “a need for the record in the performance of their duties.”

        5 U.S.C. § 552a(b)(1). The Court assumes, without deciding, that the DOGE affiliates are

        employees of the agencies that granted them access to systems of records.

                Courts have found that the Privacy Act’s need-to-know exception applies when there is a

        valid explanation for why the employee needed access to the protected information to perform

        their job duties. See, e.g., Howard v. Marsh, 785 F.2d 645, 648 (8th Cir. 1986) (attorney and

        personnel specialist gathering information about a discrimination complaint against the agency

        needed complainant’s employment records to respond to the complaint); Covert v. Harrington,

        876 F.2d 751, 752–54 (9th Cir. 1989) (Inspector General’s agents needed employees’ personnel

        files after receiving allegations that employees were falsifying their permanent residences to obtain

        a per diem); Dinh Tran v. Dep’t of Treasury, 351 F. Supp. 3d 130, 137–39 (D.D.C. 2019)

        (employees evaluating a detail request needed to know information in the requestor’s performance

        appraisal to evaluate her skillset and suitability for the detail), aff’d per curiam 798 F. App’x 649

        (D.C. Cir. 2020).




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                                                     JA697
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               For example, in Bigelow v. Department of Defense, Noyes, a U.S. Army colonel, reviewed

        the personnel file of Bigelow, whom Noyes supervised at the Pentagon. 217 F.3d at 876. Noyes

        reviewed Bigelow’s personnel file after he “learned of allegations of misconduct concerning

        Bigelow,” including “that he sometimes disappeared in foreign countries near sensitive

        international borders.” Id. Bigelow sued the Department of Defense under the Privacy Act for the

        intra-agency disclosure of his personnel file. See id. The Bigelow Court’s analysis focused on the

        need-to-know exception. The court explained that “[w]hat must be determined . . . is whether the

        official examined the record in connection with the performance of duties assigned to him and

        whether he had to do so in order to perform those duties properly.” Id. at 877. As Bigelow’s

        immediate supervisor, Noyes had a duty enumerated in Defense Department regulations to

        evaluate Bigelow’s trustworthiness. Id. The court determined that because Noyes received

        information that “cast[] doubt” on Bigelow’s trustworthiness, Noyes “had a need to examine the

        file in view of the doubts that had been raised in his mind about Bigelow and Bigelow’s access to

        the country’s top secrets.” Id. The Bigelow Court assuaged the dissenting judge’s concerns that the

        decision would “dramatically expand[] the number of people’ within the military who may

        examine personnel files” by explaining that “[t]here may be many people in the military who have

        access to the nation’s most important secrets, but we doubt that their supervisors regularly receive

        information casting doubt on their trustworthiness.” Id. (quoting id. at 881–82 (Tatel, J.,

        dissenting)). The court held that the need-to-know exception applied. See id. at 876, 878.

               The Tenth Circuit reached the opposite conclusion in Parks v. IRS, 618 F.2d 677 (10th Cir.

        1980). There, IRS employees sued the agency and the United States after other IRS employees

        used information from their personnel files to call them and solicit their purchase of U.S. Savings

        Bonds. Id. at 679. The government argued that “disclosure of savings bond information was




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        necessary to the performance of [the employees’] duties” because of an executive order signed by

        President Nixon. Id. at 681. The executive order “established an Interdepartmental Committee for

        the Voluntary Payroll Savings Plan for the Purchase of United States Savings Bonds.” See id. The

        committee, “consist[ing] of the heads of all federal executive-branch agencies,” was “charged . . .

        to formulate a plan of organization and sales promotion of the savings bond program.” Id. The

        Tenth Circuit rejected the government’s argument that the executive order justified the disclosure

        of the savings bond information from personnel files:

               Even though this may have been a worthy effort, it does not justify the use of
               information derived from the personnel files of employees, particularly in view of
               the subsequent passage of the Privacy Act. In short, the order, which was at odds
               with the stated legislative purpose of the Privacy Act, does not license the
               defendants to violate the Privacy Act . . . .

        Id. The court held that the need-to-know exception did not apply. See id. at 681.

               These cases establish the framework for the Court’s analysis of the need-to-know

        exception. Factually, they are like other Privacy Act cases where the exception is invoked to defend

        the disclosure of a limited number of records. Here, the need-to-know exception has been invoked

        to defend the disclosure of millions of records. There appears to be no precedent with similar facts.

        However, even under existing precedent, the agencies’ disclosures likely violate the Privacy Act.

        As discussed in detail below, the administrative records do not explain why the DOGE affiliates

        at Education, OPM, and Treasury need access to the plaintiffs’ PII to do their jobs. “[P]ermitting

        agency-wide distribution under § 552a(b)(1) without any showing of why each employee needed

        to receive the information would allow the exception to swallow the rule.” Dick v. Holder, 67 F.

        Supp. 3d 167, 178 (D.D.C. 2014).




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                                   a. Education

                  DOGE affiliates have been granted seemingly unfettered access to Education’s unclassified

        systems of record. In a February 5, 2025 memorandum, Education’s CIO, Thomas Flagg,

        “document[ed] the need to know and authorize[d] USDS personnel onboarded to the Department

        of Education DOGE team full and prompt access to all unclassified IT systems and data.” ED-

        000025. These unclassified systems at Education include systems of records that contain many of

        the plaintiffs’ PII, including income and asset information, Social Security numbers, taxpayer

        identification numbers, dates of birth, demographic information (such as citizenship and marital

        statuses), and some similar information about family members. See, e.g., Privacy Act of 1974;

        System of Records, 89 Fed. Reg. at 44656–57 (listing categories of records in the NSLDS); Privacy

        Act of 1974; System of Records, 88 Fed. Reg. at 41947–48 (listing categories of records in the

        CODS); Privacy Act of 1974; System of Records, 88 Fed. Reg. at 42222; Privacy Act of 1974;

        System of Records—Financial Management System (FMS), 73 Fed. Reg. at 178 (listing categories

        of records in the FMS); Privacy Act of 1974; System of Records, 88 Fed. Reg. at 42222 (listing

        categories of records in the FAS); 19 see also ECF 14-3, ¶¶ 7–8; ECF 14-5, ¶¶ 6–7; ECF 14-7, ¶¶

        5, 8; ECF 14-8, ¶¶ 6–7; ECF 14-9, ¶¶ 6–7; ECF 14-10, ¶¶ 10–11; ECF 14-11, ¶¶ 5–6; ECF 14-12,

        ¶¶ 8–9. 20

                  The reasons why DOGE affiliates at Education need “full and prompt access to all

        unclassified IT systems and data” to perform their job duties are unclear. See ED-000025.



        19
             The Court takes judicial notice of the Federal Register. See 44 U.S.C. § 1507.
        20
          The government submitted an extra-record declaration from Steven Matteson, “an Executive
        Project Manager at the U.S. Department of Education, Federal Student Aid.” ECF 62-1, ¶ 1 (S.
        Matteson Decl.). Matteson declares that he conducted a system access audit for NSLDS, COD,
        FAS, and FMS on March 7, 2025, and identified only one DOGE affiliate at Education—Adam
        Ramada—with a user account that “had access to, or had accessed, any of th[e]se four systems”—


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                                                      JA700
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               According to the February 5 memorandum from Education’s CIO, access was granted to

        “support the implementation of” the DOGE Executive Order. Id. The DOGE Executive Order

        states that DOGE is established “to implement the President’s DOGE Agenda, by modernizing

        Federal technology and software to maximize governmental efficiency and productivity.” DOGE

        Executive Order § 1. In pursuit of that purpose, the Executive Order directs agency heads to

        establish “DOGE Teams,” with “DOGE Team Leads” that “coordinate their work with USDS and

        advise their respective Agency Heads on implementing the President’s DOGE Agenda.” Id. § 3(c).

        The Executive Order directs the USDS Administrator to “commence a Software Modernization

        Initiative to improve the quality and efficiency of government-wide software, network

        infrastructure, and information technology (IT) systems,” and to “work with Agency Heads to

        promote inter-operability between agency networks and systems, ensure data integrity, and

        facilitate responsible data collection and synchronization.” Id. § 4(a). The DOGE Executive Order

        does not explain why DOGE affiliates at Education (or any agency for that matter) need access to

        “all unclassified IT systems and data” to modernize technology and software. See ED-000025.

        And by merely citing to the DOGE Executive Order, the February 5 memorandum does not explain



        the FMS. Id. ¶¶ 2–4. Matteson affirmed that Ramada’s user account access was “substantially
        limited” as he “could not access any personally identifiable information.” Id. ¶ 4. The Court will
        not consider Matteson’s declaration to assess the merits of the plaintiffs’ APA claim because it is
        not in the administrative record. In the record, there is no evidence that the sweeping access
        authorized by the February 5, 2025 memorandum has been curtailed. Even if the Court considered
        extra-record evidence, other government declarations contradict Matteson’s statements. Ramada
        declared on February 13 that the DOGE affiliates at Education “require access to Department of
        Education information technology and data systems related to student loan programs in order to
        audit those programs for waste, fraud, and abuse.” See ECF 27-5, ¶ 9. Education CIO Flagg
        declared on February 15 that DOGE affiliates “have accessed Department information technology
        and data systems.” See ECF 27-7, ¶ 4. And the government has asserted that DOGE affiliates at
        Education “need access to [Privacy Act-protected] records in order to audit student loan programs
        for waste, fraud, and abuse.” ECF 62, at 27. The government cannot, on the one hand, ask the
        Court to rely on one extra-record declaration that says DOGE affiliates are not accessing PII, and
        on the other, assert that DOGE affiliates need access to this information.


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        why full access to Education systems and data—which contain the sensitive personal information

        of millions of Americans, including many of the plaintiffs—is necessary for DOGE affiliates at

        Education to “support the implementation of” the DOGE Executive Order. See id. 21

               The DOGE affiliates may need some form of system access to modernize technology and

        software, but that does not mean that they need access to all of the records containing PII housed

        in those systems. At least one of Education’s systems of records allows for masking PII with

        “dummy” data, but there is no indication in the administrative record that the DOGE affiliates’

        access is limited in this manner. See Education, Privacy Impact Assessment (PIA) for the Financial

        Management System (FMS) 21 (2024), https://www.ed.gov/sites/ed/files/notices/pia/fsa-financ-

        manag-syst.pdf [https://perma.cc/3JKT-K7WK]. 22 By granting “full and prompt access” to all

        unclassified IT systems and data to DOGE affiliates, Education apparently did not contemplate

        limiting access to avoid the disclosure of PII. See ED-000025. An agency may not grant extensive

        access to records with PII “without any showing of why each employee needed to receive the

        information.” Dick, 67 F. Supp. 3d at 178 (emphasis added); see also Walker v. Gambrell, 647 F.

        Supp. 2d 529, 538 n.4 (D. Md. 2009) (explaining disclosure did not fall within the need-to-know

        exception because “it is difficult to see how knowledge with such specificity was necessary”); cf.

        Vargas v. Reno, No. 99-2725, slip op. at 13 (W.D. Tenn. Mar. 30, 2000) (denying government’s




        21
          The DOGE Executive Order instructs agency heads to grant “full and prompt access to all
        unclassified records, software systems, and IT systems,” but only “to the maximum extent
        consistent with law.” DOGE Executive Order § 4(b). When agency heads implemented the DOGE
        Executive Order, they had to comply with the Privacy Act.
        22
           The Court takes judicial notice of Privacy Impact Assessments and Privacy and Civil Liberties
        Impact Assessments retrieved from government websites. See United States v. Garcia, 855 F.3d
        615, 621 (4th Cir. 2017) (“This court and numerous others routinely take judicial notice of
        information contained on state and federal government websites.”).



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                                                    JA702
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        summary judgment motion on Privacy Act claim of unlawful intra-agency disclosure to an

        investigator where “[d]efendants ha[d] not submitted evidence that Vargas had potentially violated

        any law or regulation or that Vargas’s records were relevant or necessary to [the] investigation”).

        Neither the February 5 memorandum nor the DOGE Executive Order to which the memorandum

        refers explains why DOGE affiliates need to know the information in Education’s records to

        perform their jobs.

               Nothing else in the administrative record explains why either. At the preliminary injunction

        hearing, the government suggested the job descriptions of DOGE affiliates at Education explain

        why they have a need for the Privacy Act-protected records. But a review of the job descriptions

        in the record reveals they provide no such explanation.

               A document titled “Terms and Conditions for Reimbursable Work” describes the “scope

        of work” for the USDS employees detailed to Education as follows:

               Providing software engineering, modern architecture and system design, project
               and team leadership, software delivery, security and site reliability engineering,
               data engineering, engineering management, and/or executive leadership expertise
               to champion and deliver modern technology[;] Performing a wide range of
               activities including debugging, software testing, and programming. USDS
               employees will quickly adapt and learn by problem-solving within legacy systems
               and organizational constraints while working collaboratively for rapid
               prototyping[;] . . . assess[ing] the state of current projects in agencies and plans
               and/or leads interventions where major corrections are required[;] Assisting on IT
               projects including infrastructure, implementing safeguards to prevent fraud, and
               ensuring the integrity and success of these efforts[;] Championing data strategies
               and building interoperability across other agencies as well as internal and external
               stakeholders.

        See ED-000001. According to this document, USDS detailees at Education have job duties that

        cover a wide range of IT services, such as software engineering and programming, establishing

        protections to prevent fraud, and building interoperability. Other documentation in the record

        indicates that some Education DOGE affiliates perform research duties. ED-1 “conduct[s] research


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        to support EOP Department of Government Efficiency efforts.” ED-000005. ED-3 is a software

        engineer detailed from GSA “conducting research and analysis to identify inefficiencies and areas

        for improvement in ED’s administrative and programmatic functions.” ED-000013. ED-3 is also

        responsible for “reviewing internal processes and operational procedures to identify areas for

        improvement.” Id. Another DOGE affiliate, ED-4, is apparently tasked with duties that will lead

        to “[l]ess dollars . . . flow[ing]” from Education “to many non-profit and for profit institutions and

        companies.” ED-000018. And there is a broader goal stated in several descriptions of DOGE

        affiliates’ duties: “improvement of government efficiency.” See, e.g., ED-000003. None of these

        myriad job duties explain why the person performing them has a need for records with PII

        contained within Education’s systems.

               Apparently aware that the administrative record does not answer the need-to-know

        question, the government attempts to fill this gap after the fact with its own answers. The

        government asserts that “[a]ll six [DOGE affiliates] work to audit contract, grant and related

        programs for waste, fraud and abuse” and that they need access to records “in order to audit student

        loan programs for waste, fraud, and abuse.” ECF 62, at 7, 27. This rationale appears to be created

        out of whole cloth. The DOGE Executive Order does not mention waste, fraud, and abuse, and it

        certainly does not mention auditing student loan programs. And the parts of the administrative

        record cited by the government for the proposition that DOGE affiliates were hired to audit

        Education programs do not describe any auditing tasks. See id. at 7 (citing ED-000001–19, ED-

        000021).

               While the record does state that some DOGE affiliates are tasked with “improv[ing]

        government efficiency,” see, e.g., ED-000003, a vague reference to government efficiency cannot

        reasonably be interpreted to include auditing federal student loan programs for waste, fraud, and




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        abuse. It is more reasonable to interpret this “efficiency” goal in light of the DOGE Executive

        Order, which established DOGE for the purpose of “implement[ing] the President’s DOGE

        Agenda, by modernizing Federal technology and software to maximize governmental efficiency

        and productivity,” DOGE Executive Order, § 1 (emphasis added). Other descriptions of DOGE

        affiliates’ job duties refer to similarly ill-defined “efficiency” roles. Consider ED-3. Recall that

        this DOGE affiliate is tasked with “conducting research and analysis to identify inefficiencies and

        areas for improvement in ED’s administrative and programmatic functions and reviewing internal

        processes and operational procedures to identify areas for improvement.” ED-000013. But ED-3

        is a software engineer detailed from GSA. See id. It is unclear how a software engineer’s “research

        and analysis” to “identify inefficiencies and areas for improvement” in either the programmatic or

        administrative functions of the agency would encompass an audit of federal student loan programs.

        Or consider ED-4—an unpaid consultant with “[s]ignificant experience in education [and]

        technology” tasked with “[a]dvising the Department on change management” and “[p]erforming

        cost reductions.” ED-000018. ED-4’s duties will purportedly lead to “[l]ess dollars . . . flow[ing]

        from [the] Department of ED to many non-profit and for profit institutions and companies.” See

        ED-000018. It is not at all evident from these nebulous descriptions of ED-4’s job duties that they

        are auditing federal student loan programs.

               The administrative record does not support the government’s assertion that Education

        granted full access to its systems of records to DOGE affiliates because they need to audit federal

        student loan programs. See Boyd v. Snow, 335 F. Supp. 2d 28, 38 (D.D.C. 2004) (denying the

        government’s argument that disclosure fell under the need-to-know exception because “[i]t [wa]s




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        far from clear” from the record that the government employee disclosed Privacy Act-protected

        information “for the reason offered by the IRS”). 23

               The administrative record does not explain why the DOGE affiliates at Education need

        access to all of Education’s unclassified systems and data—which include the plaintiffs’ PII—in

        the performance of their job duties. On the contrary, the record suggests that Education likely

        shared this protected information with DOGE affiliates who had no need to know the vast amount

        of sensitive personal information to which they were granted access.

                                 b. OPM

               OPM granted DOGE affiliates access to several OPM systems of record that contain the

        plaintiffs’ PII. Those systems of record include eOPF, EHRI, USA Staffing, and USA

        Performance, among others. See OPM-000028–29, OPM-000103, OPM-000104–10; ECF 14-3,

        ¶¶ 7–8; ECF 14-7, ¶¶ 7–8; ECF 14-9, ¶¶ 6–7; ECF 14-10, ¶¶ 10–11; ECF 14-11, ¶¶ 5–6; ECF 14-

        12, ¶¶ 8–9. The PII in these systems includes Social Security numbers, names and addresses, dates

        of birth, citizenship statuses, salaries, criminal history information, and personnel actions such as



        23
           The government also cites to declarations from one of the DOGE affiliates at Education who
        says they need “access to Department of Education information technology and data systems
        related to student loan programs in order to audit those programs for waste, fraud, and abuse.” See
        ECF 27-5, ¶ 9; ECF 62, at 27. Yet at the same time, the government asserts that the Court need not
        look outside the administrative records because the records “contain the extant materials that
        informed or reflect each agency’s decisionmaking as to systems access for DOGE affiliates, and
        those materials provide sufficient information for the Court to evaluate Defendants’ decisions.”
        ECF 54, at 7. Indeed, the “court may look only to the[] contemporaneous justifications in
        reviewing the agency action.” Dow AgroSciences, 707 F.3d at 467–68 (citing Chenery, 318 U.S.
        at 87–88); see also Environ. Def. Fund., 657 F.2d at 285 (noting that while “[w]hen the record is
        inadequate, a court may ‘obtain from the agency, either through affidavits or testimony, such
        additional explanations of the reasons for the agency decision as may prove necessary,’” but this
        “new materials should be merely explanatory of the original record and should contain no new
        rationalizations” (emphasis added) (quoting Camp, 411 U.S. at 143)). So, as the government
        concedes, the Court may not consider extra-record evidence as justification for the agency’s
        actions.



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                                                     JA706
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        promotions and suspensions. See, e.g., OPM, Privacy Impact Assessment for Electronic Official

        Personnel Folder System (eOPF) 5 (2020); OPM, Privacy Impact Assessment for USA Staffing®

        6 (2021); OPM, Privacy Impact Assessment for Enterprise Human Resources Integration Data

        Warehouse (EHRI DW) 3; OPM, Privacy Impact Assessment for USA Performance (USAP) 4.

               As with Education, nothing in the administrative record explains why DOGE affiliates at

        OPM need to know the PII in OPM’s systems of records in the performance of their job duties.

        The OPM record includes several internal emails from late January that document the agency’s

        decision to grant DOGE affiliates access to the OPM systems of records, but none of the emails

        explains the DOGE affiliates’ need to access the records contained within these systems. In a

        January 27, 2025 email with the subject line “Getting DoGE Engineers access,” Acting OPM

        Director Ezell instructed an OPM employee to grant access to OPM computer systems to “some

        engineers”—several DOGE affiliates at OPM. See OPM-000028–29. As Ezell explained, “We are

        rapidly ramping up” these engineers, and “[t]o accomplish this goal,” the DOGE affiliates needed

        “a short list of all the systems OPM operates and manages” and, “for each computer system,” a

        list of permissions and access. See id. This included access to the back end of these systems, such

        as code read and write permissions; the ability to access the system as a “regular user,” like a hiring

        manager who accesses USA Staffing; and “admin user” access. OPM-000029. Another email with

        the subject line “urgent request from political tech staff” indicates that OPM “ha[d] already given

        several of the political devs/engineers comprehensive access to USAJOBS and USA Staffing” and

        that, pursuant to Ezell’s request, “[OPM-2, OPM-4, and OPM-6 have] the same requirement.”

        OPM-000108–09. The email describes granting access to USAJOBS, USA Staffing, eOPF, EHRI,

        and USA Performance. OPM-000108. A January 30 email reveals that DOGE affiliates OPM-3,

        OPM-5, and OPM-7—described as “Individuals from the Political Team”—gained access to OPM




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        systems as “admins” with “super user permissions for the USAJOBS admin systems” based on a

        January 20 Ezell directive. See OPM-000104, OPM-000107. Between January 24 and February 7,

        other DOGE affiliates at OPM gained access to various OPM systems with PII, including USA

        Performance, the Federal Employee Health Benefits system, and the Postal Service Health

        Benefits Data Platform. OPM-000103.

                 These emails do not explain why the DOGE affiliates at OPM must know the PII contained

        in OPM’s systems to perform their job duties. In fact, the emails suggest some of them do not have

        a need to know. Ezell granted sweeping access to OPM systems to DOGE affiliates who are

        engineers even though “[they] [did not] have immediate plans to change anything” and OPM did

        not “have any immediate plans for new engineers to make direct changes to any of these systems.”

        OPM-000028–29. Ezell apparently granted DOGE affiliates broad access to OPM’s systems to be

        prepared if OPM “need[ed] to move quickly” at some point to make system changes. OPM-

        000029. Then, after Ezell authorized this access, the CIO of OPM rolled it back. The CIO said that

        the DOGE affiliates who were granted access pursuant to Ezell’s January 27 email “have never

        needed access to E[HR]I/eOPF.” See OPM-000026–29.

                 These emails all but confirm that OPM disclosed records with the plaintiffs’ PII to DOGE

        affiliates who did not have a need to know the information. Ezell granted extensive access to OPM

        systems even though the DOGE affiliates “[did not] have immediate plans to change anything.”

        And Hogan later confirmed that these DOGE affiliates never needed access to some of these

        systems after all. This shoot first, ask questions later method of disclosing Privacy Act-protected

        records undermines the government’s position that the disclosures were made on a need-to-know

        basis.




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               Nothing else in the OPM administrative record answers the need-to-know question. The

        record does not contain any substantive job descriptions, scope of work details, or other

        information about the DOGE affiliates’ responsibilities at OPM. All that can be ascertained from

        the emails are that many of these individuals are engineers, developers, or “tech staff.” See OPM-

        000028–29, OPM-000107–09. The employment forms in the record provide only meager clues as

        to their roles at OPM. OPM-2, OPM-3, OPM-6, and OPM-7 are “Expert[s]” who will “provide a

        high level of expertise relative to issues which have a significant impact on the formulation of

        agency goals and objectives to the OPM director.” OPM-000008, OPM-000011, OPM-000022,

        OPM-000111. OPM-2 is also listed as a “Senior Advisor” with no corresponding job duties. OPM-

        000006. OPM-4 is another “Expert,” though no additional details about their role are provided.

        See OPM-000014. OPM-5 is a “Senior Advisor to the Director for Information Technology,” and

        OPM-8 is a “Senior Advisor to the Director.” OPM-000017, OPM-000115. The record contains

        no information about their job duties. And there is no information about the positions or job duties

        of other DOGE affiliates who gained access to OPM systems of records—let alone why those

        positions or duties required access to records containing PII.

               With nothing in the administrative record to justify OPM’s disclosure, the government

        argues the DOGE affiliates need access to OPM systems of records because of the DOGE

        Executive Order’s directive to modernize technology. Once again, the government does not cite

        any record evidence that explains why a directive to modernize technology requires access to the

        extensive PII housed within OPM’s systems. And what little record evidence there is indicates that

        certain DOGE affiliates at OPM did not actually need the broad access to that Ezell initially

        authorized. OPM-000026.




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               The government also suggests that DOGE affiliates need access to these records to

        implement “workplace reform.” See ECF 62, at 27. Ostensibly, this refers to the Executive Order

        “Implementing the President’s ‘Department of Government Efficiency’ Workforce Optimization

        Initiative,” issued on February 11, 2025. Exec. Order No. 14,210, 90 Fed. Reg. 9669 (Feb. 14,

        2025) (“Workforce Executive Order”). 24 Nothing in the record remotely suggests the DOGE

        affiliates gained access to OPM systems of record to implement the Workforce Executive Order.

        That is likely because the Workforce Executive Order was issued after all OPM DOGE affiliates

        were granted access to these systems. See OPM-000103. So even if OPM could rely on post-hoc

        rationalizations to explain the reason for its disclosure of Privacy Act-protected records to DOGE

        affiliates, the explanation makes no sense.

               Upon a review of the administrative record, the Court finds that OPM likely disclosed

        records with the plaintiffs’ PII to DOGE affiliates who did not have a need to know the information

        in the performance of their duties.

                                 c. Treasury

               Treasury granted two DOGE affiliates access to several payment systems, including the

        SPS, PAM, and ASAP. See TR-0062; TR-0058. These systems contain payment records with PII

        such as Social Security numbers, names, addresses, and bank information. See, e.g., Fiscal Service,

        Privacy and Civil Liberties Impact Assessment: Payment Automation Manager 5; Fiscal Service,

        Privacy and Civil Liberties Impact Assessment Secure Payment System (SPS) 7; Fiscal Service,

        Privacy and Civil Liberties Impact Assessment: Automated Standard Application for Payments




        24
            The Workforce Executive Order “commences a critical transformation of the Federal
        bureaucracy.” Workforce Executive Order § 1. It proclaims that the Trump “Administration will
        empower American families, workers, taxpayers, and our system of Government itself” by
        “eliminating waste, bloat, and insularity.” Id.


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                                                      JA710
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        (ASAP) 6–7. Treasury also provided “over the shoulder” access to watch Fiscal Service employees

        process payments. See TR-0059 (“USDS/DOGE requested to be granted ‘over the shoulder’ access

        to monitor Fiscal Service personnel conducting payment processing roles, which was approved by

        Fiscal Service on 1/23/25”). By granting Treasury DOGE affiliates access to these payment

        systems, Treasury has given them access to records with the plaintiffs’ PII. See ECF 14-3, ¶¶ 7–8;

        ECF 14-4, ¶¶ 5–6; ECF 14-5, ¶¶ 6–7; ECF 14-6, ¶¶ 5–6; ECF 14-7, ¶¶ 7–8; ECF 14-8, ¶¶ 6–7;

        ECF 14-9, ¶¶ 6–7; ECF 14-10, ¶¶ 10–11; ECF 14-11, ¶¶ 5–6; ECF 14-12, ¶¶ 8–9.

               The administrative record reveals that the DOGE affiliates at Treasury were granted access

        to the payment systems to modernize technology at the agency. What the record does not reveal is

        why the DOGE affiliates need access to the PII within those payment systems to modernize

        technology.

               One of the two DOGE affiliates at Treasury is Thomas Krause. Krause is a Senior Advisor

        for Technology and Modernization (“Senior Advisor”). TR-0007, TR-0015, TR-0024. 25 In his role

        as a Senior Advisor, Krause’s job duties center on technology modernization and innovation. His

        duties are manifold. He was hired to provide services such as “advancing the Treasury’s

        technology infrastructure, financial management systems, and cybersecurity initiatives”;

        “lead[ing] IT modernization efforts”; “oversee[ing] modernization of legacy systems”;



        25
          In addition to being a Senior Advisor for Technology and Modernization, Krause also has been
        delegated the duties of the Fiscal Assistant Secretary. Those duties do not shed any light on why
        Krause might need to know PII within Treasury’s payment systems because he was granted “over
        the shoulder” access to Treasury payment systems before he assumed the duties of Fiscal Assistant
        Secretary. See TR-0003 (delegation of Fiscal Assistant Secretary duties dated February 5, 2025);
        TR-0024 (appointment affidavit showing Krause’s date of appointment as a Senior Advisor as
        January 23, 2025); TR-0056–59 (engagement plan describing how the “USDS/DOGE team” got
        “over the shoulder” access to “monitor Fiscal Service personnel conducting payment processing”
        on January 23, 2025). So, any duties Krause might have assumed after he was granted access to
        Treasury payment systems cannot justify the disclosure.



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        “integrating real-time analytics, automation, and enhanced data-sharing capabilities across

        agencies”; “strengthen[ing] cybersecurity protocols to protect critical financial systems and

        mitigate risks”; and “foster[ing] public-private partnerships . . . to drive innovation.” TR-0007,

        TR-0015. He is expected to “provide critical recommendations that shape government technology

        and financial management strategies” and to develop “policy guidance, modernization efforts, and

        strategic partnerships.” Id. He will work with various Treasury officials “to lead . . . the

        development, execution, and management of the information technology and technological

        modernization efforts” and “programs for the Department of the Treasury and the internal

        management of the Department and its bureaus . . . as it relates to technology.” TR-0013, TR-

        0021.

                As plentiful as the descriptions of Krause’s job duties are, they do not suggest Krause needs

        to know the PII in Treasury’s payment records to perform any of his duties. Krause was hired to

        modernize Treasury’s technology systems, improve cybersecurity, advise on financial

        management strategy, and take the lead on Treasury “information technology and technological

        modernization efforts and programs” and “internal management of [Treasury]. . . as it relates to

        technology.” See, e.g, TR-0021 (emphasis added). To perform these duties, Krause does not appear

        to require access to payees’ Social Security numbers, names, addresses, or bank information. And

        both the record and a privacy and civil liberties impact assessment indicate that some of this

        personal information can be redacted. See TR-0063 (email describing “unredacted” files in PAM

        and SPS systems); Privacy and Civil Liberties Impact Assessment Secure Payment System (SPS)

        7 (“Treasury is committed to eliminating unnecessary collection, use, and display of full Social

        Security numbers (‘SSN’) and redacting, truncating, and anonymizing SSNs in systems and




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        documents to limit their accessibility to individuals who do not have a need to access the full SSN

        in order to perform their official duties.”).

                The other DOGE affiliate at Treasury is Ryan Wunderly, who was hired to fill Marko

        Elez’s role of Special Advisor for Information Technology and Modernization (“Special

        Advisor”). The Special Advisor was granted access to several Treasury systems containing PII as

        early as February 1, 2025. See TR-0062. Like Krause, Wunderly’s role centers on technology

        modernization. The Special Advisor’s “primary purpose” is “to serve in a close and confidential

        capacity to the Chief of Staff’s Senior Advisor for Information Technology and Modernization”

        (i.e., Krause). TR-0022. Like Krause, Wunderly’s job description is lengthy. He “is responsible

        for advising [Krause] on engineering, software, hardware, systems, and other technology matters.”

        Id. His responsibilities are to “[c]onduct[] special and confidential studies on a variety of strategies

        and issues related to Treasury’s information technology”’; “[r]eview[] and furnish[] [Krause] with

        recommendations regarding Treasury’s critical software infrastructure”; “[i]dentif[y], analyze[],

        and make[] recommendations to strengthen Treasury’s hardware and software”; “work closely

        with the engineers in [the Fiscal Service] on Information Technology matters to execute Fiscal’s

        mission of promoting the financial integrity and operational efficiency of the federal government

        through exceptional accounting, financing, collections, payments, and shared services”; and “assist

        on key issues for Fiscal, including but not limited to (1) Operational Resiliency; (2) Advancing

        Governmentwide Payment Integrity; (3) Critical Modernization Programs; (4) Improving the

        Payment Experience; and (5) TreasuryDirect User Credential Costs.” TR-0022–23. The

        engagement plan describes how “USDS/DOGE confirmed” that the Special Advisor (the

        “designated technical team member”) “requires access to Fiscal Service systems and data” and

        “will be provided access to in scope payment systems source code.” TR-0058.




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               Like the job descriptions of the Senior Advisor, the descriptions of the Special Advisor’s

        job do not reveal why Wunderly needs access to the PII within Treasury’s payment records. His

        role is focused on “engineering, software, hardware, systems, and other technology matters.” TR-

        0022. His job responsibilities center on technology. He recommends, assists, and collaborates on

        “Treasury’s critical software infrastructure”; “Treasury’s hardware and software”; and

        “Information Technology matters.” TR-0023. Nothing in his job description—and nothing in the

        administrative record as a whole—suggests he requires access to the PII in Treasury’s payment

        records.

               The record indicates that the Special Advisor “will not be able to adequately perform

        his/her duties without being privy to the critical information technology hardware and software

        infrastructure of Treasury Department,” “will be exposed to conversations, dialogues, and other

        kinds of sensitive information,” and will “perform[] a variety of confidential assignments requiring

        analysis and evaluation of programs and activities of importance to [Krause].” TR-0022. But

        nothing in the records suggests this “sensitive information” includes PII or that “confidential

        assignments” require access to PII.

               Finally, the engagement plan describes how DOGE affiliates will “outlin[e]

        recommendations for greater efficiencies and potential improvements to the existing payment

        processes and associated technology and policies in support of payment integrity and fraud

        prevention.” TR-0057. This task, when viewed in the context of the entire engagement plan and

        the DOGE affiliates’ job duties, is part of the efforts to improve Treasury’s technology. See id. It

        is not a directive to look at the PII within payment records to ferret out fraud. 26



        26
          The administrative record contains a “Preliminary Work Plan for IT Access” that describes the
        need for “[s]ystem access as well as on-going discussions with subject matter experts” to
        “understand[] and verify[] how [Treasury] payment and accounting systems work.” TR-0060. The


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               With nothing in the administrative record to support the DOGE affiliates’ need to know,

        the government argues that they need access to Treasury payment systems to implement the DOGE

        Executive Order. But once again, the government does not explain why implementing the DOGE

        Executive Order—which focuses on technology modernization—requires access to PII within

        Treasury payment records.

               The administrative record does not show that DOGE affiliates at Treasury need access to

        the PII in the payment record systems to modernize technology at the agency.

                                                  *      *       *

               The administrative records indicate that Education, OPM, and Treasury disclosed records

        with the plaintiffs’ PII to DOGE affiliates. They also indicate that the DOGE affiliates do not need

        to know this information to perform their job duties. And on the record before the Court, no other

        Privacy Act exception applies to these disclosures. 27 Education, OPM, and Treasury likely violated

        the Privacy Act. In so doing, the agencies likely violated the APA by acting “not in accordance



        document is not dated and its author is not identified. Regardless, it does not show that the author—
        or whichever DOGE affiliate is implicated by the document—needs access to PII to “understand[]
        and verify[]” how the systems work. Id.
        27
           The government points to a provision of the Privacy Act that permits disclosure “for a routine
        use,” defined as “the use of such record for a purpose which is compatible with the purpose for
        which it was collected.” 5 U.S.C. § 552a(a)(7), (b)(3); see ECF 62, at 27–28. When an agency
        discloses records under the “routine use” exception, it must retain an account of “the date, nature,
        and purpose of each disclosure of a record to any person or to another agency” and the “name and
        address of the person or agency to whom the disclosure is made.” See 5 U.S.C. § 552a(c)(1). The
        government has not produced such an accounting. The OPM account creation audit does not show
        the purpose of the disclosure to the DOGE affiliates. See OPM-000089–103. Nor does the BFS
        System Access Request in the administrative record for Treasury. See TR-0062. There is no
        account of the access given to DOGE affiliates at Education. And there is nothing else in the
        administrative records that resembles a documentation of use or access. The gap in the records
        cannot be backfilled by the Statement of Record Notices from the Federal Register in the OPM
        and Treasury records. The government’s invocation of the routine use exception appears to be an
        after-the-fact attempt to fit the disclosures into an exception.



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        with law.” See 5 U.S.C. § 706(2)(A); Doe v. Chao (“Chao II”), 435 F.3d 492, 504 n.17 (4th Cir.

        2006); accord Doe v. Stephens, 851 F.2d 1457, 1466 (D.C. Cir. 1988) (noting case involving

        unauthorized disclosure claims under the Veterans’ Records Statute, which incorporates the

        Privacy Act, “clearly is a case of agency action ‘not in accordance with law’” (quoting 5 U.S.C.

        § 706(2))). The plaintiffs have established a likelihood of success on the merits of their APA claim

        that Education, OPM, and Treasury acted “not in accordance with law.” 28 See 5 U.S.C. §

        706(2)(A).

                     2. Irreparable Harm

               “To establish irreparable harm, the movant must make a ‘clear showing’ that it will suffer

        harm that is ‘neither remote nor speculative, but actual and imminent’” and that the harm “‘cannot

        be fully rectified by the final judgment after trial.’” Mountain Valley Pipeline, LLC v. 6.56 Acres

        of Land, 915 F.3d 197, 216 (4th Cir. 2019) (first quoting Direx Isr., Ltd. v. Breakthrough Med.

        Corp., 952 F.2d 802, 812 (4th Cir. 1991); and then quoting Stuller, Inc. v. Steak N Shake Enters.,

        Inc., 695 F.3d 676, 680 (7th Cir. 2012)).

               The plaintiffs have made a clear showing that they are likely to suffer actual and imminent

        harm without injunctive relief. Allegations that personal information is “currently” being

        “obtain[ed]” or will be obtained “imminently, unless they receive injunctive relief” are sufficient

        to show “an ongoing or imminent injury.” See Garey, 35 F.4th at 923. Through their allegations

        and the record evidence, the plaintiffs have shown that DOGE affiliates have been granted access

        to systems of records that contain some of the plaintiffs’ most sensitive data—such as Social




        28
          The plaintiffs have raised two other APA claims against the government: that the agencies acted
        arbitrarily and capriciously and in excess of their statutory authority. Because the Court finds that
        the plaintiffs have shown a likelihood of success on the merits of one APA claim, it need not
        consider the plaintiffs’ likelihood of success on the other APA claims.


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        Security numbers, dates of birth, home addresses, bank information, income and assets, and

        citizenship status—and that, without an injunction, the DOGE affiliates’ access to this trove of

        personal information will continue. In fact, the government takes the position that the DOGE

        affiliates’ access to records containing the plaintiffs’ PII is not only lawful, but it is necessary for

        them to do their jobs. See ECF 62, at 27 (asserting the “relevant personnel . . . have a need to access

        Privacy Act-protected records”). If the agencies’ disclosures are not enjoined, the DOGE

        affiliates—whose mission to implement the DOGE Executive Order is ongoing—will access

        records with the plaintiffs’ personal information. 29 The plaintiffs have made a clear showing that

        they will suffer actual and imminent harm if the Court does not order injunctive relief.

               They also have made a clear showing that their harm is irreparable. The Fourth Circuit has

        not decided whether the continuing unlawful disclosure of sensitive personal information is

        irreparable harm. Other courts presented with similar questions have. Many have found that

        ongoing unauthorized disclosure, and even the mere unauthorized retention, of sensitive personal



        29
           The OPM administrative record shows that some DOGE affiliates at OPM had their access to
        two systems of record—eOPF and EHRI—revoked prior to the Court’s issuance of a TRO. See
        OPM-000023–27. However, the administrative record also shows that many OPM DOGE affiliates
        still have access to other OPM systems of records that house records with the plaintiffs’ PII. See
        OPM-000103. And a declaration submitted by the government suggests that some DOGE affiliates
        still have access to eOPF and may re-gain access to EHRI in the future. See ECF 33-1, ¶¶ 12–14.
        Thus, the partial and apparently temporary revocation of access to certain OPM systems of records
        does not render the harm any less actual or imminent. The same goes for Education. Matteson, an
        Executive Project Manager, says that only one of the DOGE affiliates’ user accounts had access
        to one of the four Education systems of records identified in the plaintiffs’ complaint and that this
        access was “substantially limited” as he “could not access any personally identifiable information.”
        See ECF 62-1, ¶ 4. However, the Court cannot ignore the February 5 memorandum from
        Education’s CIO that granted DOGE affiliates at Education “full and prompt access to all
        unclassified IT systems and data,” ED-000025; Ramada’s declaration that “[t]he relevant
        employees require access to Department of Education information technology and data systems
        related to student loan programs in order to audit those programs for waste, fraud, and abuse,”
        ECF 27-5, ¶ 9, or the government’s assertion that the DOGE affiliates at Education “need to access
        to [Privacy Act-protected] records in order to audit student loan programs for waste, fraud, and
        abuse,” ECF 62, at 27—all of which suggest that the harm to the plaintiffs is ongoing.


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        information is irreparable harm that money damage cannot remedy. See, e.g., Norman-Bloodsaw

        v. Lawrence Berkeley Lab’y, 135 F.3d 1260, 1275 (9th Cir. 1998) (finding “the retention of [the

        plaintiffs’] undisputedly intimate medical information [without consent] . . . would constitute a

        continuing ‘irreparable injury’ for purposes of equitable relief”); Roberts v. Austin, 632 F.2d 1202,

        1214 (5th Cir. 1980) (finding irreparable harm from state agency’s unauthorized release of food

        stamp recipients’ files to state’s attorney because “the [Food Stamp] Act and accompanying

        regulations give recipients statutory protection from disclosure of confidential information” and

        “recipients possess a legitimate expectation that the information will be kept confidential”); In re

        Meta Pixel Healthcare Litig., 647 F. Supp. 3d 778, 802 (N.D. Cal. 2022) (“The invasion of privacy

        triggered by the Pixel’s allegedly ongoing disclosure of plaintiffs’ medical information is precisely

        the kind of intangible injury that cannot be remedied by damages.”); Haw. Psychiatric Soc. v.

        Ariyoshi, 481 F. Supp. 1028, 1052 (D. Haw. 1979) (finding irreparable injury because “[t]he

        disclosure of the highly personal information contained in a psychiatrist’s files to government

        personnel is itself a harm that is both substantial and irreversible”); Airbnb, Inc. v. City of New

        York, 373 F. Supp. 3d 467, 499 (S.D.N.Y. 2019) (“The disclosure of private, confidential

        information ‘is the quintessential type of irreparable harm that cannot be compensated or undone

        by money damages.’” (quoting Hirschfeld v. Stone, 193 F.R.D. 175, 187 (S.D.N.Y. 2000))).

               In Trump v. Deutsche Bank AG, 943 F.3d 627, 637 (2d Cir. 2019), vacated and remanded

        on other grounds sub nom. Trump v. Mazars USA, LLP, 591 U.S. 848 (2020), the Second Circuit

        affirmed a holding that President Trump would suffer irreparable harm if his personal financial

        information were disclosed to two congressional committees. Although the district court denied

        the preliminary injunction because President Trump had not shown a likelihood of success on the

        merits, the court concluded he had shown an irreparable injury if his financial information were




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        disclosed. See Trump v. Deutsche Bank AG, No. 19 Civ. 3826 (ER), 2019 WL 2204898, at *1

        (S.D.N.Y. May 22, 2019); Joint Appendix at 149, Deutsche Bank AG, 943 F.3d 627 (No. 19-1540).

        The district court reasoned that the “plaintiffs have an interest in keeping their records private from

        everyone, including congresspersons, and that interest necessarily will be impinged by the records’

        disclosure to the committees.” See Joint Appendix at 125–26, Deutsche Bank AG, 943 F.3d 627

        (No. 19-1540). It acknowledged that “some courts outside of this circuit have questioned whether

        the mere disclosure of information, absent evidence of misuse or unauthorized disclosure by the

        receiving party automatically constitutes irreparable injury.” See id. at 124–25 (citing Baker DC,

        LLC v. NLRB, 102 F. Supp. 3d 194 (D.D.C. 2015)). The court did not find those cases persuasive.

        Instead, the court concluded, “that plaintiffs possess strong privacy interests in their financial

        information such that unwanted disclosure may properly constitute irreparable injury, without an

        additional showing of likelihood of misuse or unauthorized disclosure by the recipient.” Id. at

        125. 30



        30
           The court referred to a case from the U.S. District Court for the District of Columbia. In that
        jurisdiction, the mere disclosure of personal information, without more, is not automatically
        irreparable harm if it is expected that the recipient will keep the information confidential. In
        Ashland Oil, Inc. v. FTC, a district court held that disclosure of a company’s trade secrets to a
        congressional committee would not cause irreparable injury because they did not show that their
        trade secret information would be disclosed to competitors or to the public. 409 F. Supp. 297, 308
        (D.D.C. 1976), aff’d, 548 F.2d 977 (D.C. Cir. 1976) (per curiam). The court “presume[ed] that the
        committees of Congress w[ould] exercise their powers responsibly and with due regard for the
        rights of affected parties.” Id. The D.C. Circuit affirmed. 548 F.2d at 982. Similarly, in Baker DC,
        LLC v. NLRB, a district court concluded that no irreparable harm resulted from an agency rule
        compelling an employer to divulge its employees’ “names, job locations, phone numbers, and
        email addresses” to a union. 102 F. Supp. 3d 194, 203 (D.D.C. 2015). The court reasoned that the
        rule “place[d] explicit limits on the purposes for which employee information can be used.” Id.
        And it concluded that any risk that the union would misuse the employees’ private information or
        disclose it to outside individuals was speculative. Id. Relying on Ashland Oil and Baker DC, two
        judges in the District of Columbia have denied preliminary injunctive relief in similar cases against
        Treasury and Education because the plaintiffs did not establish irreparable harm. See Univ. of Cal.
        Student Ass’n, Civ. No. 25-354 (RDM), 2025 WL 542586, at *5 (D.D.C. Feb. 17, 2025); All. for
        Retired Ams. v. Bessent, Civ. No. 25-0313 (CKK), 2025 WL 740401, at *21 n.7 (D.D.C. Mar. 7,


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               In line with courts in the Second, Fifth, and Ninth Circuits, this Court finds that the ongoing

        disclosure of the plaintiffs’ PII to government employees not authorized to access it constitutes

        irreparable harm. The plaintiffs have a strong interest in keeping their PII private, they have not

        consented to its disclosure to DOGE affiliates, and they have shown it is likely that the DOGE

        affiliates will continue to have and use access to records with their sensitive personal information

        absent an injunction. This ongoing violation of the plaintiffs’ privacy interests cannot be redressed

        by a final judgment of money damages or by permanent injunctive relief.

               Without a preliminary injunction, the DOGE affiliates’ access to the plaintiffs’ private

        information will continue. This invasion of the plaintiffs’ privacy and the intrusion upon their

        seclusion is neither speculative nor remote; it is actual and imminent. A final judgment of money

        damages or a permanent injunction will not make them whole. The plaintiffs have made a clear

        showing that they will experience irreparable harm without an injunction.

                   3. Balance of Equities and Public Interest

               The balance of the equities and the public interest “merge when the Government is the

        opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). To balance the equities, the Court

        considers “the relative harms to the [plaintiffs] and [defendants], as well as the interests of the

        public at large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305

        (1991) (Scalia, J., in chambers) (quoting Rostker v. Goldberg, 448 U.S. 1306, 1308 (1980)

        (Brennan, J., in chambers)). These factors weigh in favor of a preliminary injunction.

               The plaintiffs have shown that Education, OPM, and Treasury likely violated the APA by

        granting DOGE affiliates sweeping access to their sensitive personal information in defiance of




        2025). Ashland Oil and Baker DC are not binding on this Court, and the Court does not find them
        persuasive.


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        the Privacy Act. “There is generally no public interest in the perpetuation of unlawful agency

        action.” League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). Although the Court

        should not “collapse[] the first Winter factor—likelihood of success on the merits—with the

        merged balance of equities and public interest factor,” USA Farm Lab., Inc. v. Micone, No. 23-

        2108, 2025 WL 586339, at *4 (4th Cir. Feb. 24, 2025), the factors overlap here. The likely unlawful

        agency action concerns the privacy rights of individuals who had to give their sensitive personal

        information to the federal government to obtain federal benefits, student loans, or employment.

        They trusted the federal government to safeguard their information. That public trust likely has

        been breached. Preventing the government’s unauthorized disclosure of the plaintiffs’ sensitive

        personal information is in the public interest. See CACI, Inc. – Fed. v. U.S. Navy, 674 F. Supp. 3d

        257, 279 (E.D. Va. 2023) (“There is a strong public interest in curing the effects of the

        government’s unlawful acts.”).

               The government argues that preliminary injunctive relief would harm the public interest

        because it would “limit[] the President’s ability to effectuate the policy choices the American

        people elected him to pursue by limiting his advisors and other employees’ ability to access

        information necessary to inform that policy.” ECF 62, at 32. A preliminary injunction in this case

        does not prevent the President from effectuating the administration’s policies. It prevents the likely

        unlawful disclosure of the plaintiffs’ sensitive personal information to DOGE affiliates who, on

        the record before the Court, do not have a need to know the information to perform their duties.

               The balance of the equities and the public interest favor preliminary injunctive relief.

               The plaintiffs have established that they are entitled to a preliminary injunction.




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               D. Scope of the Injunction

               “[I]njunctive relief should be designed to grant the full relief needed to remedy the injury

        to the prevailing party,” but “it should not go beyond the extent of the established violation.” Hayes

        v. N. State Law Enforcement Officers Ass’n, 10 F.3d 207, 217 (4th Cir. 1993). “Whenever the

        extraordinary writ of injunction is granted, it should be tailored to restrain no more than what is

        reasonably required to accomplish its ends.” S.C. Dep’t of Wildlife & Marine Res. v. Marsh, 866

        F.2d 97, 100 (4th Cir. 1989) (quoting Consol. Coal Co. v. Disabled Miners, 442 F.2d 1261, 1267

        (4th Cir. 1971)).

               Here, the injury is the unauthorized disclosure of the plaintiffs’ PII to DOGE affiliates at

        Education, OPM, and Treasury. To prevent the injury pending the outcome of this case, the Court

        will limit the preliminary injunctive relief to the disclosure of the PII of the individual plaintiffs

        and the organizational plaintiffs’ members.

        III.   Conclusion

               On the first day of his second term in office, President Trump signed an Executive Order

        directing agencies to “take all necessary steps . . . to the maximum extent consistent with law, to

        ensure” people implementing his DOGE agenda have “full and prompt access to all unclassified

        agency records, software systems, and IT systems.” DOGE Executive Order § 4(b). Following this

        directive, Education, OPM, and Treasury granted expansive access to their systems of record—

        which house the plaintiffs’ PII—to individuals charged with implementing the President’s DOGE

        Executive Order. In doing so, the agencies likely violated the Privacy Act and the APA.

               Enacted 50 years ago, the Privacy Act protects from unauthorized disclosure the massive

        amounts of personal information that the federal government collects from large swaths of the

        public. Congress’s concern back then was that “every detail of our personal lives can be assembled




                                                         67
                                                      JA722
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        instantly for use by a single bureaucrat or institution” and that “a bureaucrat in Washington or

        Chicago or Los Angeles can use his organization’s computer facilities to assemble a complete

        dossier of all known information about an individual.” See Danielle Keats Citron, A More Perfect

        Privacy, 104 B.U. L. Rev. 1073, 1078 (2024) (first quoting 120 Cong. Rec. 36,917 (1974)

        (statement of Sen. Goldwater); and then quoting 120 Cong. Rec. 36,917 (statement of Sen. Percy)).

        Those concerns are just as salient today. No matter how important or urgent the President’s DOGE

        agenda may be, federal agencies must execute it in accordance with the law. That likely did not

        happen in this case. The plaintiffs’ motion for a preliminary injunction is granted. A separate order

        follows.



               March 24, 2025
        Date: ________________
                                                                      Deborah L. Boardman
                                                                      United States District Judge




                                                         68
                                                     JA723
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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

        AMERICAN FEDERATION OF                       *
        TEACHERS, et al.,
                                                     *
              Plaintiffs,
                                                     *
        v.                                                       Civ. No. DLB-25-0430
                                                     *
        SCOTT BESSENT, et al.,
                                                     *
              Defendants.
                                                     *


                                                 ORDER

              For the reasons stated in the accompanying Memorandum Opinion issued today, it is this

        24th day of March, 2025 hereby ORDERED:

              1.     The plaintiffs’ motion for a preliminary injunction, ECF 59, is GRANTED as

                     follows:

                     a.     The U.S. Department of Education (“Education”); Denise L. Carter, the

                            Acting Secretary of Education; and their officers, agents, servants,

                            employees, and attorneys are ENJOINED from disclosing the personally

                            identifiable information of the plaintiffs and the members of the plaintiff

                            organizations to any DOGE affiliates, defined as individuals whose

                            principal role is to implement the DOGE agenda as described in Executive

                            Order 14,158 and who were granted access to agency systems of records for

                            the principal purpose of implementing that agenda;

                     b.     The Office of Personnel Management (“OPM”); Charles Ezell, the Acting

                            Director of OPM; and their officers, agents, servants, employees, and




                                                 JA724
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                          attorneys are ENJOINED from disclosing the personally identifiable

                          information of the plaintiffs and the members of the plaintiff organizations

                          to any DOGE affiliates, defined as individuals whose principal role is to

                          implement the DOGE agenda as described in Executive Order 14,158 and

                          who were granted access to agency systems of records for the principal

                          purpose of implementing that agenda (DOGE affiliates does not include

                          OPM Acting Director Ezell, Chief Information Officer Greg Hogan, and

                          Chief of Staff Amanda Scales); and

                   c.     The U.S. Department of the Treasury (“Treasury”); Scott Bessent, the

                          Secretary of the Treasury; and their officers, agents, servants, employees,

                          and attorneys are ENJOINED from disclosing the personally identifiable

                          information of the plaintiffs and the members of the plaintiff organizations

                          to DOGE affiliates, defined as individuals whose principal role is to

                          implement the DOGE agenda as described in Executive Order 14,158 and

                          who were granted access to agency systems of records for the principal

                          purpose of implementing that agenda (DOGE affiliates includes Thomas

                          Krause and Ryan Wunderly);

              2.   The plaintiffs’ motion for extra-record discovery, ECF 53, is DENIED without

                   prejudice;

              3.   The plaintiffs’ security of $10,000, which was posted on March 3, 2025, must

                   remain in the Court registry until further order of the Court; and




                                                     2
                                                JA725
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              4.   The parties shall meet and confer to discuss whether the government intends to file

                   a notice of appeal or whether the Court should enter a scheduling order. The parties

                   shall file a joint status report on these matters by 5:00 p.m. on March 31, 2025.




                                                                 Deborah L. Boardman
                                                                 United States District Judge




                                                    3
                                                JA726
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                                         UNITED STATES DISTRICT COURT
                                            DISTRICT OF MARYLAND
                                              SOUTHERN DIVISION


         AMERICAN FEDERATION OF
         TEACHERS, et al.,


                               Plaintiffs,
                                                                       Case No. 8:25-cv-430-DLB
                    v.

         SCOTT BESSENT, et al.,


                               Defendants.


                                                   NOTICE OF APPEAL

                Defendants in the above-captioned case, Scott Bessent, in his official capacity as Secretary

        of the Treasury; the United States Department of the Treasury; Charles Ezell, in his official

        capacity as Acting Director of the Office of Personnel Management; the United States Office of

        Personnel Management; Linda McMahon, in her official capacity as Secretary of Education;1 and

        the United States Department of Education hereby give notice that they appeal to the United States

        Court of Appeals for the Fourth Circuit from all aspects of this Court’s Preliminary Injunction and

        accompanying Memorandum Opinion entered on March 24, 2025. See ECF Nos. 68, 69.

        Dated: March 24, 2025                                Respectfully submitted

                                                             YAAKOV M. ROTH
                                                             Acting Assistant Attorney General
                                                             Civil Division

                                                             ELIZABETH J. SHAPIRO
                                                             Deputy Branch Director
                                                             Civil Division, Federal Programs Branch


                1
                   Pursuant to Federal Rule of Civil Procedure 25(d), former Acting Secretary Denise Carter is substituted
        for Secretary McMahon.




                                                            JA727
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                                           EMILY HALL
                                           Counsel to the Assistant Attorney General
                                           Civil Division

                                            /s/ Bradley P. Humphreys
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                                              2
                                          JA728
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                                        CERTIFICATE OF SERVICE
               I certify that on March 24, 2025, I electronically filed the foregoing with the Clerk of Court

        using the CM/ECF system, which will send a notification of such filing to all counsel of record.


                                                             /s/ Bradley P. Humphreys
                                                             BRADLEY P. HUMPHREYS




                                                     JA729
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                                                                           1

         1                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
         2                           SOUTHERN DIVISION
              ___________________________________
         3                                       )
              AMERICAN FEDERATION OF             )
         4    TEACHERS, et al.,                  )
                                                 )
         5                      Plaintiffs,      )
                                                 )
         6         v.                            ) Case No. 8:25-cv-00430-DLB
                                                 )
         7    SCOTT BESSENT, in his official     )
              capacity as Secretary of the       )
         8    Treasury, et al.,                  )
                                                 )
         9                      Defendants.      )
              ___________________________________)
        10
                                                   Greenbelt, Maryland
        11                                         March 17, 2025
                                                   10:35 a.m.
        12

        13                      PRELIMINARY INJUNCTION HEARING
                           BEFORE THE HONORABLE DEBORAH L. BOARDMAN
        14                       United States District Judge

        15
                                    A P P E A R A N C E S
        16
              ON BEHALF OF THE PLAINTIFFS:
        17
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        21                                (Continued)

        22

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                                Federal Official Court Reporter
        24                      6500 Cherrywood Lane, Suite 200
                                   Greenbelt, Maryland 20770
        25                               (301) 344-3228

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                                         JA730
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                                                                           2

         1                      A P P E A R A N C E S (Cont'd)

         2    ON BEHALF OF THE PLAINTIFFS: (Continued)

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        23    ALSO PRESENT:

        24         JONATHAN KRAVIS, ESQUIRE

        25

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                                         JA731
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         1                              P R O C E E D I N G S

         2         (Call to order of the Court.)

         3                THE COURTROOM DEPUTY:       All rise.    The United States

         4    District Court for the District of Maryland is now in session,

         5    the Honorable Deborah L. Boardman presiding.

         6                THE COURT:    All right.     Good morning, everyone.

         7    Please be seated.

         8                THE COURTROOM DEPUTY:       Good morning, Your Honor.

         9                The matter now pending before the Court is Civil

        10    Action No. DLB 25-430, the American Federation of Teachers,

        11    et al. v. Scott Bessent, et al.         The matter comes before this

        12    Court for a preliminary injunction hearing.

        13                Counsel, please identify yourselves for the record.

        14                MS. HU:     Good morning, Your Honor.

        15                Xiaonan April Hu from Munger, Tolles & Olson on behalf

        16    of Plaintiffs.     I'm joined here at counsel table by my

        17    colleagues, Carson Scott and Jonathan Kravis.           Mr. Kravis will

        18    be entering a pro hac application later today.           And then I'm

        19    also joined at counsel table today by Dave Rodwin from Murphy

        20    Anderson.

        21                THE COURT:    All right.     Good morning to all of you.

        22                MR. HUMPHREYS:     Good morning, Your Honor.

        23                Bradley Humphreys of the United States Department of

        24    Justice on behalf of Defendants.         I have with me at counsel

        25    table Elizabeth Shapiro of the Department of Justice in the



                                             JA732
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         1    Civil Division and Ariana Arnold of the United States Attorney's

         2    Office.

         3                THE COURT:     All right.     Make sure everyone speaks

         4    closely, and clearly, and slowly into the microphone.

         5                Where did your colleague go?         She was delightful.

         6                MR. HUMPHREYS:      She has other responsibilities,

         7    Your Honor.     I have taken over handling the case primarily.

         8                THE COURT:     She has other work to do?

         9                MR. HUMPHREYS:      Yes, Your Honor.

        10                THE COURT:     All right, okay.

        11                Okay.   All right.      I've read all of the briefing on

        12    the preliminary injunction.         I've also read the parties'

        13    motion -- or excuse me, the plaintiff's request for extra-record

        14    evidence.    Obviously, we'll have no evidence today, there will

        15    be no testimony.        I do want to start with that point and talk to

        16    the government.

        17                Mr. Humphreys, the way I read your submissions, you

        18    basically state explicitly that my review or my consideration of

        19    the likelihood of success on the merits is limited to the

        20    administrative record -- records, I should say, that the

        21    government has produced.        Is that accurate?

        22                MR. HUMPHREYS:      Yes, Your Honor.      I would caveat

        23    one -- one clarification, that I think some of the declarations

        24    that are before --

        25                THE COURT:     Make sure you -- move the microphone



                                              JA733
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         1    closer to you, please.

         2                MR. HUMPHREYS:   Yes, Your Honor.      Thank you.

         3                Some of the declarations do provide explanatory

         4    material that we think the Court can consider, but we think that

         5    everything before the Court is --

         6                THE COURT:   I don't think you can have it both ways,

         7    okay?     We talked about this -- you weren't here last time, but

         8    I think -- you can either -- your position can either be, it's

         9    the administrative record, our case at this stage rises and

        10    falls on that, which is how I read your response to the

        11    plaintiffs' request for discovery.        That's how I read your

        12    response.    Is that correct?

        13                MR. HUMPHREYS:   That's correct, Your Honor.

        14                THE COURT:   So if you're also telling me, no, you can

        15    also consider these arguably self-serving affidavits of

        16    individuals who have not presented themselves here, I don't

        17    think that's fair, I don't think the government can do that.

        18                If you want to rely on those affidavits to show the

        19    plaintiffs have not proven likelihood of success on the merits,

        20    we need to have them here in court.

        21                So how would you like to proceed?

        22                MR. HUMPHREYS:   On the record, Your Honor.

        23                THE COURT:   Okay.

        24                Let me pause and go to Plaintiffs' counsel.

        25                Ms. Hu, right now, I will be determining whether or



                                           JA734
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         1    not you have established a likelihood of success on the merits

         2    of your APA claim based on the administrative records that had

         3    been produced.     They were produced in two productions, one on

         4    March 7th, one on March 15th.         Is that your understanding, and

         5    are you fine with that?

         6                MS. HU:     That is my understanding of the government's

         7    position.    I think, Your Honor, we have serious concerns with

         8    that, in part because the second tranche of records was produced

         9    after we had our reply due, so we had no opportunity to address

        10    this in our briefing.

        11                We think there are inconsistencies between the

        12    supplemental record and the record that was produced a week ago,

        13    and so we feel that the record is deficient.              I mean, I think we

        14    are unfortunately left in this position because of what the

        15    government has done, but I -- I think we would register that we

        16    have serious concerns about the fairness to us.

        17                THE COURT:     So what I'm hearing as your concern is

        18    not, Judge, we need extra-record evidence; what I'm hearing is,

        19    Judge, it was unfair that the government produced the

        20    administrative record on March 7th and then supplemented so

        21    late, and we haven't had an opportunity to address the

        22    supplementation.        Is that what I'm hearing?

        23                MS. HU:     No, Your Honor.      We believe that we are

        24    entitled to extra-record discovery.              The problem is that we will

        25    not be able to obtain that extra-record discovery before the TRO



                                              JA735
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         1    expires.

         2               THE COURT:    All right, okay.      I -- any request for

         3    extra-record discovery for purposes of the PI motion is denied.

         4    We will table any request for extra-record discovery after the

         5    resolution of the PI, okay?

         6               MS. HU:     Understood, Your Honor.

         7               THE COURT:    All right.     So just for the record, I am

         8    confining my analysis for purposes of the preliminary injunction

         9    and, in particular, the likelihood of success on the merits to

        10    the administrative record, okay?        All right.

        11               Okay.   Ms. Hu, it's your motion.        I will hear from

        12    you.   I will -- I don't need a rehash of the arguments in your

        13    briefs, but I'm happy to hear from you.

        14               I think, some of the things I'd like to hear from you

        15    are on whether or not there's a final agency action and

        16    addressing, of course, the need-to-know exception and whether or

        17    not the administrative record supports your position that these

        18    DOGE affiliates, as I defined that term in the TRO, whether

        19    these DOGE affiliates at Treasury, OPM, and Education have a

        20    need to know the information in the systems of records that

        21    they've been granted access to, okay?          So I'll hear from you.

        22               MS. HU:     Your Honor, since there is a significant

        23    volume of paper, I have prepared a binder with some tabs to help

        24    guide our discussion today that I may reference; permission to

        25    approach with a copy of this binder -- opposing counsel has a



                                            JA736
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         1    copy as well; I handed it to them before the proceedings began.

         2              THE COURT:    All right.     I'm drowning in binders up

         3    here, but yes, you may approach and give me another binder, if

         4    it's helpful.   Thank you.

         5              Oh, nice green suit.       All right.    Happy

         6    St. Patrick's Day, everyone.      Nice tie.    All right.

         7              Okay.

         8              MS. HU:     Good morning, Your Honor.

         9              Three weeks ago, this Court issued a temporary

        10    restraining order against Defendants, prohibiting

        11    DOGE-affiliates from accessing Plaintiffs' personally

        12    identifiable information.     The Court did so because Defendants

        13    could not answer why these affiliates needed to know that

        14    information, which the Privacy Act requires.

        15              Nothing Defendants have produced since then has been

        16    able to answer that question.      Not only that, it is clear from

        17    the changing facts, stories, and documents that Defendants'

        18    decisions to grant DOGE affiliates access was arbitrary and

        19    capricious and should be additionally enjoined on that basis.

        20              Your Honor, I know you've set aside a discussion of

        21    extra-record discovery following the preliminary injunction

        22    proceedings, so I will not address that right now.

        23              THE COURT:    Thank you.

        24              MS. HU:     But I do want to direct the Court's attention

        25    to the administrative records produced by Defendants on



                                           JA737
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         1    Saturday, which appear to show that OPM violated the temporary

         2    restraining order.

         3              So the access sheets filed after midnight on

         4    Saturday -- and if Your Honor would like, this would be tab 1 of

         5    your binder.   And for the court reporter, this would be ECF 64-1

         6    at 18.

         7              The access table, for the first highlighted entry,

         8    reflects that Amanda Scales, whom Defendants have represented is

         9    likely a DOGE affiliate within the meaning of the Court's order,

        10    accessed one of those systems within OPM on February 28th, 2025.

        11    That is four days after the Court's temporary restraining order.

        12              This record also reflects that there is no date listed

        13    for when access was removed.     The same is true -- namely, that

        14    there is no date removed identified -- for a host of the

        15    OPM employees, I believe 12 of whom are new and -- newly

        16    revealed from the government's production on Saturday.

        17              I would also note, Your Honor, that this access sheet

        18    has irregularities.   So the second highlighted entry for OPM-7

        19    reflects that the date created for access was January 20th,

        20    2025, but the last date of access, the last login, is reflected

        21    as November 7th, 2024.    Now, obviously, that is not possible.

        22              So given the state of the access sheet that has been

        23    provided, we have serious concerns, Plaintiffs have serious

        24    concerns that Defendant OPM has not been adhering to the

        25    restraining order conditions.     We just wanted to identify that



                                          JA738
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         1    for Your Honor as an area that we would like to see addressed

         2    today.

         3              I'm happy to speak more to this, or I'm happy to move

         4    on to the topics that Your Honor has identified.

         5              THE COURT:    Let's move on.       Thank you.

         6              MS. HU:     Okay.

         7              I believe the first topic that Your Honor expressed an

         8    interest in is final agency action.          We believe that the Court

         9    correctly held at the temporary restraining order proceedings

        10    that Defendants' decisions to disclose were final agency

        11    actions, and we believe that the record, the administrative

        12    record, confirms that is the case.

        13              The record includes, for example, a memorandum for the

        14    Department of Education that expressly authorizes all access to

        15    IT systems for DOGE affiliates.       It purports to set out the need

        16    to know by referencing the Executive Order.

        17              The same thing is true for the Department of Treasury;

        18    there is, again, documentation that expresses access should be

        19    granted as part of an engagement or work plan, a four- to

        20    six-week plan, a policy.      And I would note that this policy was

        21    addressed by the SDNY Court separately and considered sufficient

        22    to establish final agency action.

        23              In OPM, we see that there is an email that authorizes,

        24    again, access for a range of OPM DOGE affiliates.

        25              In all of these cases, by the way, it appears that



                                            JA739
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         1    access was granted before -- for at least some individuals or

         2    DOGE affiliates before the documentation was written, or

         3    authored, or created, and that, I think, again, gets at some of

         4    the deficiencies of the record.

         5                But on the record we have, we think it is quite clear

         6    that these were final agency actions that concretely determined

         7    Plaintiffs' rights and consummated the agency's decision-making

         8    process.

         9                And Your Honor, we address this in the brief, so I

        10    will not belabor the point, but in many FOIA cases, for example,

        11    that are brought under the APA, Courts are aligned in concluding

        12    that the decision by the agency to disclose is a final agency

        13    action that is reviewable.

        14                And I would also point out, Your Honor, that many of

        15    the cases Defendants cite in their brief for the notion that

        16    this was not an agency action at all actually undermine their

        17    position.    All of those cases made clear that agency action is

        18    intended to sweep broadly, it is intended to be interpreted

        19    broadly, and there is no indication here that agency action

        20    could not mean what Defendants did as a matter of policy in

        21    deciding to grant DOGE affiliates access.

        22                THE COURT:    Okay.

        23                MS. HU:     So I think, moving on, now, to the need to

        24    know, we think Your Honor articulated the standard exactly

        25    correctly at the temporary retraining order stage, and I think,



                                             JA740
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         1    when we apply that standard and look at the records that have

         2    been produced, the administrative records that have been

         3    produced, it is clear that there has not been a need to know.

         4               So I'm happy to start first with Education.         And

         5    Your Honor --

         6               THE COURT:    Let's go in alphabetical order.

         7               MS. HU:     Yes.   This goes in alphabetical order; we go

         8    Education, OPM, and then Treasury.

         9               So Your Honor, if I could direct your attention to

        10    tab 2.    This would be, for the court reporter's ease of

        11    reference, ECF 51-3 at 29.

        12               This is a copy of the February 5th memorandum that was

        13    issued by Thomas Flagg, titled, Access to All ED IT Systems by

        14    the United States DOGE Service.       This is a half-page memorandum,

        15    and all it does is recite the Executive Order and rely on the

        16    Executive Order for need to know.

        17               This Court has already determined that that

        18    Executive Order is insufficient basis to justify a need to know.

        19    And we believe that the Court was correct then and remains

        20    correct now, and Defendants have not identified any intervening

        21    evidence that would undermine the soundness of that conclusion.

        22               I would also point out that we think it is quite

        23    telling, in the government's briefing of the need-to-know

        24    argument, they did not cite even once to the administrative

        25    record that they produced.      I think the half-page memorandum



                                            JA741
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         1    from the Department of Education illustrates why that is so.

         2               If Your Honor has no questions about that half-page

         3    memorandum, I am happy to move on.

         4               THE COURT:    No, I am familiar with the memorandum.

         5               MS. HU:     So next up, we have ECF 51-1.       This is the

         6    OPM email chain, ordering access.        It's a long email chain, we

         7    have included the full record here for completeness' sake, but

         8    the real page that I would be referencing here is the last two

         9    pages.

        10               On Monday, January 27th, Acting Director Ezell wrote,

        11    Subject matter:    Getting DoGE Engineers access.         We are rapidly

        12    ramping up some engineers here.        To accomplish this goal of

        13    ramping up engineers, the engineers need the following items

        14    urgently, and it orders sweeping access:         Code read and write

        15    permissions, monitoring dashboards, documentation, so on and so

        16    forth, ability to access the system as an admin user.

        17               But critically, in this email, ordering that access be

        18    granted, Acting Director Ezell states, We don't have immediate

        19    plans to change anything.      If we need to, we might need to move

        20    quickly.

        21               That is not need to know, Your Honor.          That is, maybe

        22    we will need this some day, and we might as well give all of the

        23    DOGE affiliate access to our systems, admin, read-write,

        24    everything, because maybe we'll need it one day.           That is not

        25    need to know; that is the opposite of need to know.



                                            JA742
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         1              THE COURT:    If I recall correctly, in the TRO, the

         2    United States took the position that OPM DOGE affiliates needed

         3    access to these systems to implement the President's Workforce

         4    Optimization Initiative Executive Order.        That was dated

         5    February 11th, but this email from Acting Director -- is it

         6    Ezell, Ezell?

         7              MS. HU:     I'm actually not sure, Your Honor; I

         8    apologize.

         9              THE COURT:    The government lawyers look like they

        10    don't know either.    How do we pronounce this gentleman's name?

        11              MR. HUMPHREYS:     Let's go with Ezell, Your Honor.

        12              THE COURT:    Ezell?     Okay, all right.

        13              But his email is January 7th.        That's two weeks before

        14    the Executive Order on workforce optimization.         Okay.

        15              MS. HU:     That is correct, Your Honor, that is

        16    two weeks before January 27th, and I would note, actually, at

        17    the bottom of this email, he notes that prior to him sending out

        18    this email, two OPM DOGE affiliates had already been granted

        19    access, and that is not explained in the record.

        20              THE COURT:    Okay.

        21              MS. HU:     If Your Honor has no questions on OPM, I will

        22    turn now to Treasury.

        23              So we flip to the next page.        This is ECF 51 --

        24              THE COURT:    Well, let me back up to --

        25              MS. HU:     Certainly.



                                           JA743
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         1              THE COURT:    -- OPM.    Maybe you already said it, but

         2    just maybe say it again.

         3              So I understand what you are identifying as the basis

         4    of the OPM policy granting access.       What is your position on

         5    need to know with respect to the job duties that are identified

         6    in the administrative record for OPM DOGE people?

         7              MS. HU:     Your Honor, I don't think that the job duties

         8    here do the job, in part, because I think more than half, now,

         9    if you account for the 18 OPM employees that have been

        10    identified as of Saturday past midnight, more than half of them

        11    do not have any documentation in the administrative record about

        12    what their duties are or what their job responsibilities are.

        13    Those were not included.

        14              I think we identified in our discovery brief that of

        15    the original six, I think OPM-1 is technically Mr. Hogan, but of

        16    the remaining five, I believe two or three of them also do not

        17    have their HR forms within the administrative record that

        18    identify what their job duties are, and the other two are

        19    identified at a very high-level of generality.

        20              So I do not believe that there is any basis to

        21    conclude that they have a need to know the personally

        22    identifiable information of Plaintiffs or any of the other

        23    Americans whose information is stored within these systems.

        24              THE COURT:    Okay.

        25              MS. HU:     I think if we turn to the next page, after



                                           JA744
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         1    the last page of the OPM email chain, that takes us to ECF 51-2,

         2    at page 63.   This is the payment process engagement plan.           This

         3    document is three pages long; I'm not going to go through this

         4    page by page, but I think what is important to identify here is

         5    that throughout -- the plan states that source code -- that

         6    Mr. Ezelllez should be given access to the source code to

         7    understand the payment systems and to modernize or suggest

         8    efficiencies for the payment systems at Treasury.

         9              It does not address anywhere in here why Mr. Elez

        10    needs to know personally identifiable information.             It also does

        11    not address why Treasury did not consider or did not propose

        12    using what it typically does for its systems, such as the secure

        13    payment system, applying redactions for full Social Security

        14    numbers and other sensitive personally identifiable information.

        15    There is no discussion in this plan whatsoever of Mr. Elez's

        16    need to know the specific information at issue in this case.

        17              THE COURT:    What about Mr. Krause?

        18              MS. HU:     Mr. Krause?    I appreciate Your Honor's

        19    question here.   I would like to turn next to the next page.

        20    This is ECF 51-2 at 21.      It is the expert and consultant request

        21    form for Mr. Krause.

        22              Briefly, before I dive into this --

        23              THE COURT:    Hold on, hold on.

        24              MS. HU:     Yes.

        25              THE COURT:    Let me make sure I know where we are.



                                           JA745
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         1                Okay, I'm there.

         2                MS. HU:     Okay.   Briefly, before I discuss this

         3    document, I will note that Mr. Krause is mentioned in even less

         4    detail in that engagement plan.         The engagement plan focuses on

         5    the technical -- only one technical engineer from DOGE and talks

         6    about the level of access required for that engineer.

         7                It does not really discuss Mr. Krause's need to know

         8    any of the personally identifiable information, and I think as

         9    we point out in our briefing, it does not acknowledge that

        10    Mr. Krause even requested or sought, much less needed

        11    over-the-shoulder access; that's not explained anywhere in the

        12    Treasury's administrative record.

        13                THE COURT:    For Mr. Elez, my understanding is, he's

        14    been -- he resigned.      I don't know if he was fired.          He's no

        15    longer at Treasury.

        16                MS. HU:     That's correct.

        17                THE COURT:    I also -- I think I understand from

        18    declarations or perhaps representations from the government in

        19    their papers that there's a Ryan Wunderly who's been hired to

        20    replace Mr. Elez; is that correct?

        21                MS. HU:     That is correct.

        22                THE COURT:    So what do I do about the fact that Elez

        23    is gone, Wunderly is apparently waiting to see what happens in

        24    this case and perhaps in the case in the Southern District of

        25    New York?



                                              JA746
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         1              MS. HU:     I think here, there is no basis to conclude

         2    that Mr. Wunderly would have a need to know, because none of his

         3    records are in the administrative record.

         4              And so I think here, what we would say is, perhaps the

         5    government might advance the argument that because Mr. Elez has

         6    resigned, there is no longer any threat of imminent harm to

         7    Plaintiffs.

         8              We would point to the fact that they have lined up

         9    Mr. Wunderly and apparently several other DOGE affiliates within

        10    Treasury to take over the role of accessing these systems as a

        11    clear example of how the harm is still imminent and the

        12    government intends to restore access to DOGE affiliates or grant

        13    access to new DOGE affiliates the moment this Court's temporary

        14    restraining order -- I'm sorry, preliminary injunction order, to

        15    the extent it's granted, or the Southern District of New York's

        16    preliminary injunction order, to the extent it's lifted, the

        17    moment these restrictions cease to exist, the government has

        18    clearly indicated its intent to resume its activities, which we

        19    view as unlawful and profoundly harmful to our clients.

        20              THE COURT:    Okay.

        21              MS. HU:     Apologize for the detour, Your Honor.

        22              On 51-2, which sets forth Mr. Krause's

        23    responsibilities, the highlighted language here responds to the

        24    question, Explain in full the services to be performed, and it

        25    states, This position leads IT modernization efforts by



                                           JA747
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         1    implementing emerging technologies, such as AI, blockchain, and

         2    cloud computing.

         3              There is no explanation why implementing AI,

         4    blockchain, or cloud computing services requires Mr. Krause to

         5    know and access anyone's personally identifiable information

         6    contained within these systems.       And again, there is no

         7    indication in the record that Treasury ever considered what it

         8    normally does, which is whether it can provide access to these

         9    systems, redacting the personally identifiable information

        10    contained within.

        11              THE COURT:    Okay.

        12              MS. HU:     I think, Your Honor, if there's interest, I

        13    am happy to address arbitrary and capricious.

        14              THE COURT:    Sure.

        15              MS. HU:     Okay.

        16              So Your Honor, I think, on arbitrary and capricious,

        17    there are two ways that the government defendants here have

        18    failed to consider relevant and important factors as part of the

        19    decision to grant access.

        20              The first, of course, as is reflected in these

        21    documents, is that there was really no consideration given to

        22    whether these employees or these DOGE affiliates needed to have

        23    access to the records.     So there was no consideration of an

        24    important statutory requirement that has been placed on

        25    Defendants.



                                            JA748
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         1              The second piece that we do not believe was fully

         2    considered or considered at all, honestly, by Defendants is the

         3    risk posed by granting access, the insider threat risk and the

         4    informational security risks posed by granting DOGE affiliates

         5    access.   In the documents that we just reviewed, there is no

         6    mention about the IT security risks posed by granting sweeping

         7    access to their systems.

         8              And in fact, I think we have evidence here that the

         9    security -- the lax security measures here worked significant

        10    negative effects.     So Your Honor, if I could direct your

        11    attention to tab 3 of your binder.

        12              The first document is ECF 51-3, page 26.             This is a

        13    waiver of a background investigation requirement for appointment

        14    to a high-risk public trust position for ED-4, who had access --

        15    at least so far as the administrative record tells us, had

        16    access to Education's systems of record and the PII contained

        17    within.

        18              The next page, 51-2, at page 33, reflects that

        19    Marko Elez, Mr. Elez, who received access to Treasury systems

        20    and the PII contained within, was granted only interim approval

        21    to enter on duty.     Final approval, it notes, is contingent on a

        22    completed background investigation and a favorable adjudication.

        23    There is no evidence in the record that Mr. Elez ever passed a

        24    full background investigation before accessing PII contained in

        25    Treasury systems.



                                           JA749
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         1              Why does this matter?     I think this matters because if

         2    we look at the next document, ECF 64-2 -- which I recognize is a

         3    declaration; I'm not saying that the Court should look to it as

         4    part of deciding arbitrary and capricious, but I think it is

         5    just to identify an effect of the arbitrary and capricious

         6    agency action here.

         7              On page 27, paragraph 12, this declaration from

         8    Mr. Ambrose notes, The forensic analysis revealed that Elez sent

         9    an email with a spreadsheet containing PII to two United States

        10    General Services Administration officials.         Elez's distribution

        11    of this spreadsheet was contrary to BFS policies.          It was not

        12    sent encrypted.   He did not obtain prior approval for the

        13    transmission.

        14              Your Honor, agencies safeguard data for a reason.

        15    These are personally sensitive information belonging to millions

        16    of Americans in the country, including our clients.            The

        17    safeguards that were in place were not followed here.           The

        18    agencies did not consider the security risks posed by their

        19    decisions to grant sweeping access.         That is arbitrary and

        20    capricious.   It was an important factor, and they should have

        21    considered it.

        22              And I would add, finally, to this, of course, there

        23    has been public reporting about an insider threat report that

        24    was prepared within the Bureau of financial services -- or

        25    Fiscal services, that identified serious risks with giving



                                         JA750
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         1    DOGE affiliates access to Treasury systems.         The government has

         2    now affirmatively declared, they did not consider that; they did

         3    not consider the risks identified in that report.

         4              THE COURT:    So does this argument apply only to

         5    Treasury or to OPM and Education?

         6              MS. HU:     It applies to all three agencies, Your Honor.

         7    And I believe the reason for this is because the records for OPM

         8    and Education reflect no consideration of the informational

         9    security risks, no discussion of insider threat risks, at all.

        10    And in fact, in many instances, we are missing signed copies of

        11    the training sheets that employees are supposed to fill, and

        12    sign, and review before they have access to these systems.

        13              THE COURT:    Is the standing analysis the same for the

        14    arbitrary and capricious claim?

        15              MS. HU:     Your Honor, I think so, because the effect

        16    here of the agencies' arbitrary and capricious decision-making

        17    was to disclose personally identifiable information.

        18              I think there could be an additional element, which is

        19    what the SDNY court acknowledged, which is the increased risk of

        20    misuse and further dissemination of plaintiffs' PII, and we

        21    think that that is certainly manifesting here.

        22              THE COURT:    I think it's trickier than maybe we've

        23    assumed all along, meaning, the standing question for the

        24    arbitrary and capricious claim; I'm not sure it's been briefed

        25    separately, but okay.



                                           JA751
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         1              MS. HU:     Your Honor, it's not been briefed separately,

         2    I would agree.

         3              THE COURT:    Okay.

         4              MS. HU:     If Your Honor has no further questions for

         5    me, I think we would stand on our briefs.

         6              THE COURT:    Let's talk about irreparable harm.

         7              MS. HU:     Sure.

         8              THE COURT:    Other judges in similar cases in Virginia

         9    and D.C. have found no irreparable harm.        I found that at least

        10    at the TRO stage, there is irreparable harm, because this is

        11    allegedly an ongoing invasion of privacy.        The access granted to

        12    DOGE affiliates, which I found at least at the TRO stage, was in

        13    violation of the Privacy Act, because they had not established a

        14    need to know.    I found that that was an ongoing invasion of the

        15    plaintiffs' privacy and personal information, and therefore, the

        16    only thing that could remedy it is an injunction; money damages

        17    could not.   Other judges have disagreed.       Tell me why, if I

        18    continue in my position, the Fourth Circuit won't reverse me.

        19              MS. HU:     Certainly, Your Honor.     I think, first and

        20    foremost, two of those decisions came out of the District --

        21    U.S. District Court for the District of Columbia, and there,

        22    most recently, one of the judges identified that D.D.C. has a

        23    line of cases, including from the D.C. Circuit, I believe, that

        24    specifically note just nonpublic disclosure, so still

        25    unauthorized disclosure of personal information, but it's -- not



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         1    to the general public is not irreparable harm.         So I think they

         2    were forced to conclude under that line of cases that there was

         3    not irreparable harm.

         4              Those cases, obviously, are not binding here, and

         5    Your Honor correctly identified at the temporary restraining

         6    stage in the Court's order that actually, there are many cases

         7    across the country that have concluded from other circuits, from

         8    other district courts -- the Ninth and the Fifth Circuit are

         9    examples -- where disclosure even to government employees or

        10    government agents that is nonpublic disclosure is nonetheless

        11    irreparable harm.     We think the Court got it exactly right on

        12    those grounds, and we think that the D.D.C. cases are

        13    distinguishable for that reason.

        14              The Eastern District of Virginia case, which concluded

        15    there was no irreparable harm, never confronted the question

        16    that this Court did, which is whether the disclosure of

        17    personal, highly sensitive information, the intrusion upon that

        18    information by unauthorized government actors, qualified as

        19    irreparable harm.     The Eastern District of Virginia addressed

        20    only whether it was unduly speculative or too speculative that

        21    there would be a risk of identity fraud or theft.          That is

        22    obviously different; we do not think that that changes what the

        23    Court decided.

        24              We would also direct the Court's attention to a

        25    decision from the Second Circuit, I believe, issued in 2019,



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         1    where President Trump made the argument that the disclosure of

         2    his financial information subpoenaed by Congress from his banks

         3    would cause irreparable harm, even though the disclosure would

         4    not be public, it would be just to members of Congress, and the

         5    District Court --

         6              THE COURT:    Can you give me that --

         7              MS. HU:     Yes, I will find you the cite.         This is

         8    Trump v. Deutsche Bank AG, 943 F.3d 627.          The pin cite there is

         9    637, and this is the Second Circuit, a 2019 decision.

        10              THE COURT:    So what I heard you say is that

        11    President Trump made that argument.           Did the Second Circuit buy

        12    it?

        13              MS. HU:     Correct, the District Court bought it, and

        14    the Second Circuit did not revisit that determination on appeal.

        15              THE COURT:    Okay.

        16              MS. HU:     And so we think -- Your Honor, we think that

        17    you got it exactly right the first time, and we do not believe

        18    that Defendants have identified any intervening developments in

        19    the law that would alter that conclusion.

        20              THE COURT:    The nature of the injunctive relief here

        21    would be to stop the unauthorized access.          What are other forms

        22    of injunctive relief that a plaintiff could seek as a violation

        23    of the Privacy Act or through an APA claim?           I'm trying to

        24    figure out the world of the type of injunctive relief that's out

        25    there other than the injunctive relief requested here.



                                           JA754
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         1               MS. HU:     I think that perhaps what you could have at

         2    the end state would be, to the extent any of these employees who

         3    had unauthorized access made copies, held onto them, you could

         4    have an injunction that orders the destruction of those copies,

         5    or you could order Defendant agencies to retrieve copies of that

         6    information.

         7               THE COURT:    Which you had initially requested.

         8               MS. HU:     Which I had initially requested, Your Honor,

         9    but right now, the focus is on prohibiting additional access.

        10               THE COURT:    I'm just trying to reconcile -- the

        11    Fourth Circuit has allowed APA claims for injunctive relief for

        12    violation of the Privacy Act.       How can I square that with the

        13    defendants' position, which is, there is no irreparable harm

        14    here, even though there's an alleged ongoing investigation of

        15    privacy?

        16               MS. HU:     I don't think that an injunction at the final

        17    end of litigation proceedings that says, okay, you can --

        18    there's been no irreparable harm, we'll just destroy these

        19    copies that they've had is going to cut it.          In the entire

        20    interim, however many months it may take for this case to be

        21    resolved, the irreparable harm would be the continued access of

        22    that information and the use and potential misuse of that

        23    information.

        24               The intrusion upon our plaintiffs' seclusion here is

        25    ongoing.   The fact that at the very end, there may be a



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         1    permanent injunction that orders destruction of those copies is

         2    not going to correct for the harms that have been happening

         3    since the disclosure was authorized.

         4              THE COURT:    Well, since you brought up intrusion upon

         5    seclusion, the government claims a few things regarding

         6    intrusion upon seclusion, and I look forward to talking to

         7    Mr. Humphreys about this in a few minutes.

         8              One of the government's arguments is that there's no

         9    intrusion upon seclusion because the administrative record

        10    doesn't indicate that the plaintiffs' PII, or, frankly, anyone's

        11    PII has actually been viewed, in other words, that

        12    DOGE affiliate eyes have set on a Social Security number, or a

        13    date of birth, or banking information.

        14              What do I make of that with respect to your position

        15    on standing?

        16              MS. HU:     Two points, Your Honor.

        17              The first is that we have alleged in the complaint,

        18    based on credible news reporting, that there has been some

        19    disclosure of PII already to DOGE affiliates as part of their

        20    work.

        21              The second piece of this is that there is information

        22    already here, including within Education, that access to all of

        23    Education's systems are authorized.

        24              And so I don't think there has been any indication in

        25    the administrative record that somehow, the access will stop at



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         1    PII, that no one is going to view this.      I think we can actually

         2    infer the opposite, because these agencies have the ability to

         3    redact the PII and did not opt for that.      What would be the

         4    purpose behind that, if not to enable these DOGE affiliates to

         5    view that data?

         6              And then the third point I would make, Your Honor, is

         7    that the government has stonewalled any attempt Plaintiffs have

         8    made to understand how that data is being accessed.          At the same

         9    time, they have been putting in declarations that are

        10    extra-record, that purport to describe, in favorable terms for

        11    the government, how certain individuals may or may not have been

        12    using their access.

        13              I do not think the government has a leg to stand on

        14    for this argument by arguing that we have not come forward with

        15    sufficient evidence that our plaintiffs' personally identifiable

        16    information is being viewed, both in light of the two points we

        17    made earlier, but because the government has ensured that we

        18    can't access this discovery up to this point.

        19              THE COURT:   All right.    Let me see if I have any other

        20    questions; give me one minute.

        21              The briefing doesn't address, and understandably so,

        22    the routine-use exception.    At this point, I think any analysis

        23    on my part would assume, for purposes of the stage in litigation

        24    that we're at, that the DOGE affiliates at all three agencies

        25    were agency employees, and if that's the case, the government is



                                         JA757
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         1    only invoking the need-to-know exception.        I just wanted to know

         2    if you have anything to add on that and, in particular, whether

         3    routine use is even relevant at this point.

         4              MS. HU:     Your Honor, we think the administrative

         5    record definitively demonstrates that the government cannot rely

         6    on routine use.   As we discussed at the previous hearing, the

         7    statute requires that agencies log when they invoke routine use

         8    to authorize access.    There is no evidence that this happened in

         9    this case.

        10              So we briefed that in our opening brief, we mentioned

        11    that again in our reply.     We do not think routine use applies

        12    because there's no evidence in the administrative record that

        13    would indicate the government relied on that in making their

        14    decision to grant access.

        15              Now, my friend on the other side may get up here and

        16    argue that nonetheless, it's an available argument, but

        17    of course, post hoc rationalizations offered by legal counsel do

        18    not justify a decision that was made by the agency weeks ago.

        19              I think, as for Your Honor's question about what to do

        20    with the status of the DOGE affiliates should the Court just

        21    assume that they are employees, we think that that is the

        22    simpler way to go about it, but we would acknowledge that there

        23    is, frankly, a lot of missing evidence from the administrative

        24    record that could substantiate the government's claims these are

        25    employees.   And there is some evidence, which we have identified



                                           JA758
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         1    in our brief, that at least for some of the Education

         2    DOGE affiliates, they may not be properly considered employees

         3    of Education, in part of because of that Memorandum of

         4    Understanding that identifies that the detailing agency would

         5    still have supervisory responsibility over the employee.

         6              THE COURT:    All right.     That's all I have for right

         7    now; I might have a few questions for you after I speak with

         8    Mr. Humphreys.   Thank you.

         9              MS. HU:     Thank you, Your Honor.

        10              THE COURT:    Okay.

        11              UNIDENTIFIED SPEAKER:       Your Honor, I have a speaking

        12    motion here that won't take more than 10 or 15 minutes.

        13              THE COURT:    All right.     Sir -- sir --

        14              Thank you -- thank you, Court Security Officer.

        15              If you'd like to file anything --

        16              UNIDENTIFIED SPEAKER:       I only have a --

        17              THE COURT:    Sir, let me speak.       If you'd like to file

        18    anything with the Court, you can go down -- sir, if you'd like

        19    to file anything with the Court as a member of the public, you

        20    may go downstairs to the Clerk's Office.         Thank you very much.

        21              UNIDENTIFIED SPEAKER:       I have a speaking motion.

        22              THE COURT:    Mr. Marshal, could you please --

        23              UNIDENTIFIED SPEAKER:       I need to --

        24              THE COURT:    Thank you.

        25              COURT SECURITY OFFICER:       Sir --



                                           JA759
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         1              UNIDENTIFIED SPEAKER:     I need to argue a consent

         2    motion -- a consent judgment --

         3              THE COURTROOM DEPUTY:     All right.    You're going to

         4    have to follow me.

         5              THE COURT:   Sir --

         6              COURT SECURITY OFFICER:     You have to follow me out of

         7    the courtroom.

         8              UNIDENTIFIED SPEAKER:     No, I'm not going anywhere.

         9              COURT SECURITY OFFICER:     All right, thank you, sir.

        10              THE COURT:   All right.    Let's just -- everyone, just

        11    take a deep breath.

        12              Sir -- sir, I'm sorry, I cannot hear you right now; I

        13    am in the middle of a hearing.     If you are a member of the

        14    public and you have something to file --

        15              UNIDENTIFIED SPEAKER:     I have a speedy motion embodied

        16    in the complaint, and it won't take more than five minutes --

        17              THE COURT:   Sir, I need you to leave the courtroom,

        18    please.

        19              UNIDENTIFIED SPEAKER:     -- I promise you.        It's a

        20    credit card company, and it's being bought out by a bank, and --

        21              COURT SECURITY OFFICER:     I need to ask you to leave.

        22              THE COURT:   Sir --

        23              UNIDENTIFIED SPEAKER:     -- I'm suing -- I'm suing the

        24    bank.

        25              THE COURTROOM DEPUTY:     Sir, I don't want to hurt you,



                                         JA760
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         1    I don't want to hurt you.

         2              UNIDENTIFIED SPEAKER:      I'm suing the bank --

         3              THE COURT:   All right.

         4              UNIDENTIFIED SPEAKER:      -- and I can't pay my medical

         5    bills, and I can't buy food, and I can't even wash my clothes; I

         6    can't buy soap to do it.

         7              And I'm coming right back, Your Honor; I'm not leaving

         8    the court.

         9              No, I'm not.    I am not -- I'm coming right back.

        10         (Unidentified speaker being escorted out of the courtroom.)

        11              THE COURT:   Life is hard.

        12              Mr. Humphreys.

        13              MR. HUMPHREYS:    Thank you, Your Honor.

        14              THE COURT:   All right.

        15              MR. HUMPHREYS:    A few points to start.       I think it's

        16    appropriate to first address -- so the contention that

        17    Defendants may have violated the Court's order, here, we don't

        18    believe that to be the case.

        19              Ms. Scales is the Chief of Staff to the OPM Director.

        20    I guess in some sense, everyone at OPM is responsible for

        21    carrying out the President's initiatives, but just as the Court

        22    found as to Mr. Hogan, who was the -- is the Chief Information

        23    Officer there, we think that same reasoning applies to

        24    Ms. Scales, the Chief of Staff.

        25              It's certainly not our intention that there -- or not



                                          JA761
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         1    our belief that the Court meant for such a high-level person

         2    within OPM to be covered.    If we were incorrect, we apologize to

         3    the Court and will remedy that quickly.

         4              THE COURT:   So I did see the entry that the plaintiffs

         5    had pointed out in my review of the discovery, and it was going

         6    to prompt a question about OPM Chief of Staff Amanda Scales and

         7    Acting Director Ezell.    They're listed in the spreadsheet that

         8    you provided me, and it was my understanding from this

         9    spreadsheet, those were OPM DOGE affiliates who had access to

        10    OPM systems; is that correct?

        11              MR. HUMPHREYS:    Well, I think we were overinclusive on

        12    purpose, Your Honor, to show who had access to relevant systems

        13    within the organization.    So I don't necessarily think

        14    DOGE affiliates is appropriate as to the Chief of Staff.        I

        15    mean, the way we described it in our TRO opposition, it was for

        16    a much more limited group of people.         Again, it was not our

        17    intent to create any issues with the Court; if there are any, we

        18    will obviously remediate them immediately.

        19              THE COURT:   Okay, all right.

        20              So Mr. Humphreys --

        21              MR. HUMPHREYS:    Yes, ma'am -- Your Honor --

        22              THE COURT:   -- where should we start?

        23              MR. HUMPHREYS:    -- sorry.

        24              THE COURT:   Why don't we start with standing.       If

        25    there's no standing, there's no case, so let's start with



                                          JA762
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         1    standing.

         2                I found, at the TRO stage, that the plaintiffs had

         3    alleged standing because the common law analogue of their

         4    allegations is intrusion upon seclusion.        You disagree with

         5    that.     Tell me why.

         6                MR. HUMPHREYS:   Yes, Your Honor.

         7         (Court reporter requesting clarification.)

         8                MR. HUMPHREYS:   I'll do my best to speak up; thank you

         9    very much.

        10                Yes, Your Honor.

        11                In our view, the case here, at bottom, is about

        12    Plaintiffs' discomfort with certain -- you know, who within a

        13    federal agency may get access to their data.         We don't think

        14    that under the Supreme Court's decision in TransUnion that that

        15    can possibly be standing.       In TransUnion, the Supreme Court

        16    said, no concrete injury -- excuse me, no concrete harm, no

        17    standing.    And we think that's true here, because there's been

        18    no concrete injury nor outside disclosure, nothing that

        19    Plaintiffs -- yes, Your Honor.

        20                THE COURT:   So let's talk about outside disclosure.

        21    Intrusion upon seclusion does not require public or outside

        22    disclosure.     Do you agree?

        23                MR. HUMPHREYS:   I agree that's true, Your Honor, as

        24    described in the restatement.      I do think that if you look at

        25    TransUnion, Your Honor, and the case cited, Gadelhak, there,



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         1    which was a case about unwanted text messages coming into the

         2    home, that there is something very different, recognized by the

         3    Supreme Court in citing that case, than what we have here, which

         4    is a -- a discomfort with who within the agency may see data

         5    already housed within the agency.     I think that is different in

         6    kind, Your Honor.

         7              THE COURT:   Mr. Humphreys, I have to disagree you, but

         8    I want you to push back and tell me why I'm wrong.

         9              In that case -- what's the case again; how do I

        10    pronounce it?

        11              MR. HUMPHREYS:    Gadelhak, Your Honor?

        12              THE COURT:   Thank you.

        13              In Gadelhak and in Krakauer -- and Krakauer is a

        14    Fourth Circuit case -- in those cases, my understanding is, the

        15    Courts found that an unwanted text message and an unwanted

        16    telephone call, in violation of the Telephone Consumer

        17    Protection Act, were cognizable injuries that resembled

        18    intrusion upon seclusion.

        19              Here, we have an alleged disclosure to DOGE affiliates

        20    who, based on my reading in the TRO, do not have a need to know

        21    their Social Security number, their date of birth, their marital

        22    status, their routing number, their income.       How is that not

        23    more of an intrusion upon someone's personal affairs than an

        24    irritating phone call from someone you don't want or a

        25    text message?



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         1              MR. HUMPHREYS:   I understand you may disagree,

         2    Your Honor, but intrusion, I think, implies some reaching out,

         3    and in the case -- and the Fourth Circuit, in O'Leary, described

         4    intrusion as coming into the home.

         5              Now, obviously, it's been expanded -- the tort --

         6    beyond the home specifically, but I think -- on the cell phone,

         7    for example, in Gadelhak or in Krakauer.

         8              THE COURT:   What's more "home" than my date of birth,

         9    my Social Security number, my income?       I mean, it's not the home

        10    where I live, but it's my personal identifying information.        I

        11    don't understand how that's not "home."

        12              MR. HUMPHREYS:   Well, it's not your -- not to make it

        13    personal, Your Honor, but it's not one's home, because it's

        14    properly housed in a government agency.      This is information

        15    that was already -- I mean, I don't want to conflate the merits

        16    with standing, because I understand one has to assume the

        17    plaintiffs will prevail on the merits for standing, but I think

        18    there is something qualitatively different about information

        19    that is housed properly within a government system and that that

        20    is not same thing as affirmatively reaching out to one's home or

        21    even to one's own bank account.

        22              THE COURT:   So it may be properly housed in the

        23    system, but is it properly protected?       In other words, I'm

        24    analogizing this to, let's say, a good old-fashioned file

        25    cabinet, right, those black ones we've seen, with the three



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         1    drawers, and I have my personal information in there, or the

         2    plaintiffs have their personal information in this government

         3    file cabinet, they've handed it over to the government,

         4    entrusted it to them, and they've said, here, government agency,

         5    here's a key, but it's my understanding, you won't be giving

         6    that key to my information to anyone else at the government who

         7    doesn't have a need to know.     That's essentially what the

         8    Privacy Act says, at least in part.

         9               The allegations here are that that key has been handed

        10    over to someone else within the government, and they're not

        11    allowed to have the key.

        12               Why isn't that, one, a proper analogy, and, two, an

        13    intrusion upon seclusion?

        14               MR. HUMPHREYS:   Well, intrusion upon seclusion, again,

        15    I -- it seems like "properly protected" is about the risk of

        16    dissemination.    I mean, even cases in the Fourth Circuit, like

        17    Beck, have shown even when there is a data breach, for example,

        18    there still is not -- that is not the sufficient risk that makes

        19    it imminent for the purpose of standing.       So I don't think that

        20    that analogy is --

        21           (Court reporter requesting clarification.)

        22               MR. HUMPHREYS:   For the purposes of standing.     Thank

        23    you.

        24               THE COURT:   But you -- the government has represented

        25    in its submissions and in the record that DOGE affiliates not



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         1    only have access to this information, they need access to this

         2    information to do their job.

         3              From that, you are telling me, they either have ac- --

         4    are actually accessing it right now, or they certainly will soon

         5    enough, or else why are they getting paid?

         6              MR. HUMPHREYS:    Yes, Your Honor.       I mean, I think --

         7    it may be more common than Plaintiffs appreciate that people

         8    have access to administrative sys- -- administrative access,

         9    for example, at OPM.    There are people who must -- thank you --

        10    there are people who have to monitor those systems, auditors,

        11    for example, who have to be able to keep them updated or

        12    implement changes, and they get the same sort of administrative

        13    access that Plaintiffs -- excuse me, that the employees at OPM

        14    have here, or other agencies.     It varies slightly between the

        15    different defendants.

        16              And so I think finding standing here, Your Honor,

        17    would mean that anytime any plaintiff who has data in the

        18    system, which is essentially any American, could bring suit,

        19    concrete injury -- required for TransUnion -- simply because

        20    they disagreed with who within the agency has been given access,

        21    maybe because they think the person is too young, or they

        22    disagree with the political party.

        23              I mean, there are new employees who come in, in any

        24    administration, after an election, and I'm sure there are many

        25    plaintiffs who are upset about that.         And I don't think that



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         1    Article III standing, certainly not under TransUnion, reaches so

         2    far as to allow a plaintiff to sue for that; that's not a

         3    concrete injury, I'd argue.

         4              I mean, in TransUnion, Your Honor, the litigants there

         5    had actually been designated as potential terrorists or drug

         6    traffickers, but their information certainly hadn't been

         7    disclosed by happenstance, and the Court still found no

         8    standing, because there was no concrete harm.       I think it's hard

         9    to imagine that Court looking at these facts and say there's a

        10    similar concrete harm, Your Honor.

        11              THE COURT:   At what point, in your view, would the

        12    plaintiffs have concrete injury in fact?      What would they need

        13    to allege or show?

        14              MR. HUMPHREYS:   I think they would have to show some

        15    outside disclosure of the agency that actually caused them

        16    concrete injury.

        17              THE COURT:   So by "outside disclosure of the agency,"

        18    what do you mean; disclosure, for instance, from OPM to New York

        19    Times?

        20              MR. HUMPHREYS:   That would be one, Your Honor, a data

        21    breach.   I mean, there are a lot of complaints about security,

        22    whether or not the agencies adequately protected their

        23    information.

        24              Of course, if anything ever happens to Plaintiffs'

        25    information, if there were actually any concrete harm for the



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         1    purposes of standing, the Privacy Act allows for them to sue and

         2    recover money damages for that.       I mean, they could do so --

         3                THE COURT:   So --

         4                MR. HUMPHREYS:   -- individually or --I'm sorry,

         5    Your Honor.

         6                THE COURT:   -- what is the purpose of injunctive

         7    relief under the Privacy Act, then?

         8                MR. HUMPHREYS:   There still must be standing in order

         9    to have -- be entitled to injunctive relief.

        10                THE COURT:   I understand.

        11                MR. HUMPHREYS:   Right.

        12                THE COURT:   How would someone have standing if they

        13    are seeking solely injunctive relief; what is the factual

        14    scenario?

        15                MR. HUMPHREYS:   I think, in the cases that I can think

        16    of, Your Honor, as in Doe v. Chao, there is something specific

        17    about the plaintiffs' information that has been accessed or

        18    viewed and some reason to believe that something is going to

        19    happen to -- you know, something -- negative consequences in a

        20    concrete way to the plaintiff, due to the access.

        21                Here, these are potentially millions of members of

        22    Plaintiffs who are -- again, don't trust these particular people

        23    or don't like them and essentially don't want the government

        24    looking at their data, these particular government employees

        25    looking at their data.



                                           JA769
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         1              I don't think under TransUnion, or O'Leary, or

         2    you know, Gadelhak, anything like that, that that amounts to --

         3    Clapper -- that doesn't amount to a concrete injury for

         4    Plaintiffs in this case, Your Honor, under Article III.

         5              THE COURT:   So it's almost as if the access is so

         6    broad that -- the government is saying, it's so broad, the

         7    plaintiffs can't particularize the harm.      Doesn't that seem

         8    unfair?

         9              MR. HUMPHREYS:   No, Your Honor, because I don't think

        10    that they're concretely injured.     You know, if they are injured,

        11    if someone can come to court and say, this happened to me, this

        12    piece of information got out because you guys were sloppy, you

        13    didn't -- you didn't put in the adequate safeguards.

        14              There is a claim under (e)(10) of the Privacy Act to

        15    suggest that the government was sloppy with their data, and had

        16    they been harmed, they could come in and they could get

        17    injunctive relief in that situation, that you need to do better,

        18    federal agency.

        19              THE COURT:   What about the Garey case?       You never

        20    addressed that in your paper.    This is the Fourth Circuit case

        21    that I believe I cited in the TRO opinion.       Let me pull it up.

        22    Hold on, here.

        23              Garey, G-A-R-E-Y, v. James S. Farrin, F-A-R-R-I-N,

        24    35 F.4th 917 (4th Cir. 2022).    There, we are post TransUnion, we

        25    have a published Fourth Circuit opinion, we have a plaintiff



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         1    who's alleged a violation of the Driver's Privacy Protection

         2    Act.   That provides a cause of action against a person who

         3    knowingly obtains, discloses or uses personal information from a

         4    motor vehicle record.    And then we have the Fourth Circuit

         5    saying, "Obtaining their names and addresses satisfied the

         6    injury in fact requirement because such injuries had been

         7    recognized in tort."

         8               Why doesn't Garey control here?      Plaintiffs have

         9    alleged a similar violation of their privacy pursuant to a

        10    similar statute that's aimed squarely at their right to be left

        11    alone.    It's very hard for me to see how Garey can just be

        12    ignored -- I certainly can't ignore it or -- but how Garey

        13    doesn't control here.    It may not be factually identical, but

        14    the principles seem so similar to me.        Tell me why I'm wrong.

        15               MR. HUMPHREYS:   Yeah.    Your Honor, I apologize, I

        16    don't have -- I don't recall off the top of my head the analysis

        17    in Garey or have it with me.     It sounds like there was an

        18    outside disclosure of the information at issue.         I mean, I think

        19    that's distinguishing.    It's also particularized, based on your

        20    description of the case right now, to a specific individual.

        21               So there's not that leap between, you know,

        22    speculation on Plaintiffs' part that the government is going to

        23    do something with my -- you know, with my individual data or

        24    even, you know, look at it.     I mean, if there -- Garey is about,

        25    it sounds like -- and I'm sorry I don't recall -- a particular



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         1    person's data that was disclosed out of a system, and we think

         2    that's very different.

         3              Here -- I mean, I -- Your Honor, I understand your

         4    fairness point, but I do think it's very distinguishing.      Just

         5    mere access, that the government could, if someone had an

         6    interest in a particular person, go look for it I don't think is

         7    enough for a concrete injury to any particular person.

         8              Yes, if someone were to do something with that

         9    information, use it improperly, obviously, there would be

        10    standing at that point, and then, the person could bring suit

        11    under the Privacy Act and potentially get a lot of money.

        12              THE COURT:   So the plaintiffs, under your view of the

        13    law, and maybe perhaps under the law, would need to just wait

        14    for something bad to happen, because of either a data breach or

        15    perhaps their information was put into an unsecure AI system.

        16    So they would just have to wait and just hope and pray that

        17    nothing happens to their PII.

        18              MR. HUMPHREYS:    I think that is exactly why the

        19    Privacy Act -- why Congress created the Privacy Act, to allow

        20    for monetary recovery if something happens.

        21              THE COURT:   All right.     So the Act also allows for

        22    injunctive relief.    What is the purpose of injunctive relief

        23    under the Privacy Act if it's not for this instance?

        24              MR. HUMPHREYS:    Sure.    Well, I think the standing

        25    problem is the barrier.    If one could show that an actual



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         1    concrete harm as to an individual data -- or it could be

         2    class actions, could be, you know, a group of people whose

         3    information were disclosed or were put at an imminent risk of

         4    harm, not just speculation.

         5              If you could overcome the Article III standing

         6    issue -- and I mentioned, you know, there are other types of

         7    injunctive relief under the Privacy Act, but I mentioned the

         8    (e)(10) Safeguards act.    That would be a situation in which

         9    prospective relief under the APA would be appropriate or -- you

        10    know, depending on the merits of the claims, but could be

        11    appropriate.

        12              THE COURT:   Okay.   Well, the Supreme Court certainly

        13    loves standing these days, so it's a very interesting issue,

        14    very interesting.

        15              Okay.   Let's move on from standing, unless you have

        16    anything else on standing.

        17              MR. HUMPHREYS:   No, Your Honor.

        18              I would just mention briefly that Plaintiffs do -- I

        19    don't think the Court addressed it, but the increased risk, we

        20    don't think that that's available under the Fourth Circuit's

        21    decision in Beck as a viable standing theory.

        22              But beyond that, we can move on.

        23              THE COURT:   All right.    Thank you.

        24              Let's talk about final agency action.

        25              MR. HUMPHREYS:   Yes, Your Honor.



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         1              I think, under Plaintiff's theory of final agency

         2    action, that you know, the agency would need to create a memo or

         3    a decision document whenever onboarding a new employee to give

         4    access to a data system, and you know, Plaintiffs complain about

         5    the short -- you know, the brief memos that we do have in the

         6    record, but I don't think it is surprising or it should be

         7    surprising that the administrative record is what it is, because

         8    these are everyday personnel decisions.

         9              As I mentioned, you know, a lot of new people come on

        10    board when there's a presidential transition, and the fact that

        11    people are given access by virtue of their position within the

        12    agency is reflected in the record.    I think Plaintiffs looked

        13    at, for example, for OPM, the Acting Director's email that says,

        14    you know, these people are going to need access, you know, we

        15    may be doing something here.   These are their jobs, give them

        16    access.

        17              That is how I think federal data access is given on a

        18    routine basis throughout the government, there are no decision

        19    memos, and Plaintiffs' theory that there's final agency action,

        20    again, whenever they don't like a particular person who gets

        21    access or for a group of people for, you know, whatever reason,

        22    the Court should then become the HR czars or chief information

        23    officers for federal agencies, I think is unviable and would

        24    create, again, an opportunity for APA review, which is supposed

        25    to be programmatic, but APA review, whenever Plaintiffs are



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         1    simply uncomfortable with new personnel within an agency.

         2              Again, that's not to say that there's no, you know,

         3    remedy ever if an agency mishandles the data.        If the agency did

         4    make a decision and chose poorly in hiring someone and there

         5    were injuries, there are monetary -- there is monetary relief

         6    available under the Privacy Act.

         7              THE COURT:    So for Education -- let's start in

         8    alphabetical order --

         9              MR. HUMPHREYS:    Yes, Your Honor --

        10              THE COURT:    -- like we did with Ms. Hu.

        11              MR. HUMPHREYS:    -- let's start --

        12              THE COURT:    Yeah.   Let's assume that there are only

        13    four DOGE affiliates right now at Education, which is what

        14    the -- I think the administrative record suggests.

        15              Where in the administrative record can you point me to

        16    show me, one, what their job duties are and, two, why they have

        17    a need to know the plaintiffs' PII.

        18              MR. HUMPHREYS:    Yes, Your Honor.      One moment, please.

        19              So I'm very aware Your Honor disagrees about the

        20    Executive Order being -- providing a basis for a need to know,

        21    although we believe that it can.

        22              THE COURT:    Hold on.    Which one?    There are two.

        23              There's the first one, which was issued on

        24    Inauguration Day, establishing and implementing the President's

        25    Department of Government Efficiency, and the second one, issued



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         1    on February 11th, implementing the President's Department of

         2    Government Efficiency Workforce Optimization Initiative.      So

         3    which one are you referring to?

         4              MR. HUMPHREYS:   I was speaking in a general manner,

         5    that an EO could give -- I think the Court's analysis was that

         6    the EO alone cannot provide a need to know.

         7              THE COURT:   Well, I don't know that I said it can

         8    never; I was -- I focused on what your prior cocounsel pointed

         9    me to, portions of the Executive Orders.      So again, where in the

        10    administrative record --

        11              MR. HUMPHREYS:   Sure.

        12              THE COURT:   -- does it support your position that the

        13    DOGE affiliates at Education have a need to know?

        14              MR. HUMPHREYS:   Okay.    In the administrative record,

        15    Your Honor, for two of those DOGE affiliates, I would point

        16    Your Honor to the ECF document No. 58-1 at pages 2 through 4,

        17    which is the terms and conditions for reimbursable work, and it

        18    provides the scope of work at the bottom of the first page,

        19    explaining what these engineers will be doing, including

        20    providing software engineering, modern architecture and system

        21    design, et cetera.

        22              THE COURT:   Okay.

        23              MR. HUMPHREYS:   In addition -- I realize these are,

        24    you know, fairly high-level descriptions, but I would also point

        25    Your Honor to ECF No. 58-1 at page 6, Duties:       The detailee will



                                         JA776
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         1    conduct research to support EOP Department of Government

         2    Efficiency efforts.

         3                THE COURT:   Okay.

         4                MR. HUMPHREYS:   That is also similar at page 10.

         5                THE COURT:   All right.    Connect the dots.       Those are

         6    the duties, or responsibilities.       How do those people need to

         7    know the plaintiffs' PII to perform those duties?

         8                MR. HUMPHREYS:   Right.    In order to perform, as any

         9    sort of IT person would within -- within a department who needs

        10    access to a system, to monitor it and to improve it, these

        11    people need access to be able to actually go in and see if they

        12    are able to modernize it.

        13                Part of the Executive Order is also to reduce fraud

        14    and waste, and so as looking in -- as part of that presidential

        15    directive, then, those individuals need access to the system in

        16    order to be able to determine if there is fraud, waste, and

        17    abuse.    So potential improper or fraudulent payments,

        18    Your Honor.

        19                And I will not go outside of the record, but those are

        20    my record citations.

        21                THE COURT:   All right, okay.

        22                I think at some point in your submission, you say the

        23    Education DOGE affiliates will be auditing federal student loan

        24    programs.    Where in the record is there support for that?

        25                MR. HUMPHREYS:   I don't believe that's in the record,



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         1    Your Honor.

         2              THE COURT:   All right.    Let's go to OPM.

         3              MR. HUMPHREYS:   Yes, Your Honor.      I could --

         4              THE COURT:   All right.    Make sure you're speaking into

         5    the microphone.

         6              MR. HUMPHREYS:   Yes, I --

         7              THE COURT:   Thank you.

         8              MR. HUMPHREYS:   -- keep doing that; I apologize.

         9              THE COURT:   That's all right.

        10              MR. HUMPHREYS:   For OPM, I would point Your Honor to

        11    51-1 at 12.   This is the SF 50 of the person identified as

        12    OPM-2, which describes the job duties as to provide a high level

        13    of expertise relative to issues which have a significant impact

        14    on the formulation of agency goals and objectives to the

        15    OPM Director.

        16              And so I think we can repeat this sort of for all of

        17    the OPM people --

        18              THE COURT:   Okay.

        19              MR. HUMPHREYS:   -- that they are housed within the

        20    Office of the Director and report to the Director, and it is

        21    commonplace and, I would say, you know, it should be

        22    uncontroversial that the director of the agency or one's boss

        23    can direct you to do tasks, you know, as required, you know,

        24    within that office, I mean, sort of just as I, as a federal

        25    employee, sometimes get access to records.       It's not as if



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         1    there's a memo, it's that my boss says, you go do this, and now,

         2    you know, your work requires that, so then, I think, under

         3    (b)(1), I have a need to know, and that's what happens here.

         4              THE COURT:   Okay.   Where in the record, the

         5    OPM record, does it say, these -- does it support the position

         6    that they have a need to know?

         7              MR. HUMPHREYS:   I think, by the job descriptions,

         8    Your Honor, is what we would point to.

         9              THE COURT:   All right.

        10              One of the reasons why -- well, there are many reasons

        11    why this case is interesting and difficult, but the

        12    administrative record and even the extra-record evidence you've

        13    provided me doesn't explain to me how these systems work and how

        14    access actually happens.   I'm aware, from matters I can take

        15    judicial notice of, that some systems can be redacted to prevent

        16    disclosure of PII; it's just, this record doesn't help me answer

        17    some of those questions.

        18              MR. HUMPHREYS:   Yes, Your Honor, let me -- things in

        19    the record I can point you to.     I would look at the -- the sheet

        20    that we provided, that we discussed, at the top, that --

        21    obviously, this does explain in detail the technical aspects of

        22    these systems, but I can -- it says here -- there's a column for

        23    Administrative Access, and so that is access granted to system

        24    administrators.   And so I think anyone who has that access can

        25    go in and assign duties or take them away.



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         1              So it may not give -- give, by its terms,

         2    substantively, access to any particular piece of information,

         3    but by virtue of having administrative access, the person can

         4    assign him- or herself other access within the system.

         5              Does that kind of make sense?

         6              THE COURT:   Yeah, thank you.     Okay.

         7              With respect to OPM, I notice that in the record,

         8    there's a privacy impact assessment for the government-wide

         9    email system.   It was published on February 28th, so after this

        10    suit was filed, I think even after my TRO -- yes.

        11              Why is that in the record?

        12              MR. HUMPHREYS:   I believe, Your Honor, it is because

        13    it was relevant to the other embedded spreadsheet within the

        14    audit creation spreadsheet, that some of those accesses include

        15    just government email systems that people were given access to

        16    and just for completeness included that also.

        17              THE COURT:   Okay, all right.

        18              So the recent production, or I guess the recent

        19    supplementation of the administrative records on Saturday,

        20    identified maybe 14 or 15 -- 13 or so other OPM DOGE affiliates.

        21              MR. HUMPHREYS:   Yes, Your Honor.      Well --

        22              THE COURT:   Is that the world of OPM DOGE affiliates,

        23    to your knowledge?

        24              MR. HUMPHREYS:   Yes, to my knowledge, Your Honor.      And

        25    I would note that many of those people included -- who are



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         1    OPM-10 through -18, the only access to systems that they've been

         2    given is USA Performance, Office of the Director.         So that is

         3    not a system that provides other access except performance

         4    information within that small office of the OPM director.

         5              THE COURT:   Okay.

         6              All right, let's talk about Treasury.

         7              MR. HUMPHREYS:   Yes, Your Honor.

         8              The Treasury record is -- there are more, I think --

         9    more explanation than the other two.        As to ... excuse me one

        10    moment, here.

        11              As to Mr. Krause specifically, I'd point Your Honor to

        12    page -- or ECF No. 51-2, starting at 27.

        13              THE COURT:   Okay, just give me one minute.

        14              Okay.

        15              MR. HUMPHREYS:   Describing, the Senior Advisor will

        16    work closely with the Office of Fiscal Assistant Secretary and

        17    Fiscal Service --

        18         (Court reporter requesting clarification.)

        19              MR. HUMPHREYS:   -- of Fiscal Assistant Secretary and

        20    Fiscal Service, in particular, the Office of the Commissioner,

        21    to execute Fiscal's mission of promoting financial integrity and

        22    operational efficiency of the federal government through

        23    exceptional accounting, financing, collections, payments, and

        24    shared services.

        25              I'd also point Your Honor to the broader purpose of



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         1    the Executive Order, the one on January 20th, directing agencies

         2    to identify ways to eliminate waste, fraud, and abuse, and that

         3    if one is looking at waste, fraud, and abuse, or trying to

         4    identify it within government systems, it follows, in our view,

         5    that one would have a need to know to look at the underlying

         6    data, to be able to determine if there is such improper or

         7    fraudulent payments.

         8              THE COURT:   I've got the Executive Order that you just

         9    referred to from January 20th.     I don't believe it refers or

        10    includes the words "waste, fraud, and abuse."       It says, the

        11    purpose is to establish the DOGE, "implement the President's

        12    DOGE agenda, by modernizing Federal technology and software to

        13    maximize government efficiency and productivity."

        14              I mean, that seems to be a running theme in the

        15    submissions, the administrative record.      We've got the

        16    Executive Order that refers to "modernizing technology and

        17    software to maximize governmental efficiency and productivity,"

        18    and from that, I'm hearing, we are auditing federal

        19    student loans, we are combating waste, fraud, and abuse.      There

        20    just seems to be a disconnect between what the Executive Order

        21    says DOGE's purpose was and what is actually happening boots on

        22    the ground.

        23              MR. HUMPHREYS:   Well, I think the Executive Order,

        24    Your Honor, explains why these particular people -- why there

        25    was a DOGE team established; part of the modernization efforts.



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         1              And then, within the government itself -- excuse me,

         2    within the agency itself, I mean, there is always an interest

         3    and a need in determining whether or not waste, fraud, and abuse

         4    exists.   I think, again -- I think it's probably not as uncommon

         5    that broad access to such systems exists.       I mean, auditors,

         6    IGs, IT professionals, you know, are -- it varies a little bit

         7    by agency, but are -- you know, have similar access to this

         8    information.

         9              And I admit -- we're talking about Treasury, so I want

        10    to be clear.   It is a little different, and Treasury took a

        11    different approach here, but I don't think it can be said that

        12    they didn't recognize what they were doing and adopt safeguards

        13    to prevent that.

        14              We have, you know, a decision memo, essentially, or an

        15    email adopting a decision plan, which is reflected in the

        16    spreadsheet on ECF 51-2 at 68, showing that Dan Katz, who is the

        17    Chief of Staff at Treasury, looked at recommendations from the

        18    Bureau of Fiscal Services, and in approving the -- I think by

        19    implication, approved sort of the plan, which is at 68.

        20              I mean, there's a clear --

        21              THE COURT:   So help me understand this chart.

        22              MR. HUMPHREYS:    Yes, Your Honor.

        23              THE COURT:   So this is a chart that's attached to an

        24    email from Matthew Garber at Treasury.       The email is

        25    February 3rd, 2025.    "Attached is the spreadsheet we reviewed



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         1    with the access levels updated based on our conversation."

         2              So what does this spreadsheet tell me?

         3              MR. HUMPHREYS:    It tells you, Your Honor, that because

         4    of the access being granted specifically to Mr. Elez --

         5    although, of course, he's no longer with the agency, replaced by

         6    Mr. Wunderly -- that BFS considered specific access limitations

         7    that he would have going forward in the database as reflected in

         8    the column titled, "Recommended Change(s) to Current (Feb 1)

         9    Access Levels," and you know, it goes through, on a

        10    system-by-system basis and, for particular aspects of it, what

        11    restrictions should be in place.      And so the comparison is

        12    between access granted as of February 1 and recommended changes

        13    to current February 1 access levels.

        14              THE COURT:   And this chart relates to Mr. Elez's

        15    access, correct?

        16              MR. HUMPHREYS:    Yes, at the time; he's been replaced,

        17    as I mentioned.    And if there were ever an injunction lifted,

        18    Mr. Wunderly would go forward with those duties.

        19              THE COURT:   So this does not concern Mr. Krause.

        20              MR. HUMPHREYS:    That is true; he did not have specific

        21    access granted to the system.     He was able to be briefed on it,

        22    as one would expect in a senior role in the Fiscal Service, as a

        23    person who is carrying out the duties of the Fiscal Service

        24    Assistant Secretary, but no, those do not apply to him, although

        25    since he would be getting his information from Mr. Elez, I



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         1    think, in a sense, derivatively, those restrictions would apply

         2    to Mr. Krause.

         3               THE COURT:   So where in the record do I look to find

         4    the access that Mr. Krause has?      Is that in the engagement memo?

         5               MR. HUMPHREYS:   No, Your Honor.     I could only point

         6    you to extra-record evidence of that.

         7               THE COURT:   Mm-hmm.

         8               So has he been granted access to PII within Treasury

         9    systems?

        10               MR. HUMPHREYS:   Well, he has no access now,

        11    Your Honor, to be clear, but --

        12               THE COURT:   Understood, because of the injunction in

        13    New York, but was he granted access to Treasury systems with

        14    Americans' PII?

        15               MR. HUMPHREYS:   We would not say that he was granted

        16    access in the sense -- as a systems term, as that is usually

        17    used, which I think requires a login or an ability to go into

        18    the system, but to be clear, he has seen, or he did see, before

        19    the injunctions, information that Mr. Elez provided him, or at

        20    least had the ability to see, so he could brief him on --

        21    Mr. Elez could brief Mr. Krause on information, as needed, that

        22    is -- that Mr. Krause viewed as part of his access.           And

        23    that's -- that complicated sentence is what we would refer to as

        24    over-the-shoulder access, Your Honor.

        25               THE COURT:   All right, okay.



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         1               Is the fact that Mr. Krause has over-the-shoulder

         2    access in the administrative record?

         3               MR. HUMPHREYS:   Not in the documents certified to be

         4    part of the administrative record, no, Your Honor.

         5               THE COURT:   So what do I do about the fact that this

         6    appears to be an undisputed fact:      The plaintiffs allege

         7    Mr. Krause has access, but there's nothing in the administrative

         8    record telling me whether he has access and the nature and scope

         9    of his access.    I mean, there certainly doesn't have to be

        10    something in writing, as we've seen from the cases, to be

        11    considered an adminis- -- final agency action.        You're telling

        12    me that this access has been granted.

        13               MR. HUMPHREYS:   We would strongly dispute that that is

        14    final agency action, Your Honor, of course.        As to what you do

        15    with it, I mean, I think by virtue of his job description, which

        16    is contained in the record, and the fact that he occupies the

        17    role of Fiscal Assistant Secretary, I think that provides a need

        18    to know.

        19               Again, I think properly considered, and taking final

        20    agency action into account, I don't think that the agency is

        21    required to paper any -- anytime the supervisor discusses

        22    information with their subordinate; I think the need to know is

        23    given through his role, Your Honor.

        24               THE COURT:   All right.

        25               Mr. Humphreys, you don't really lean on the



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         1    routine-use exception; is that correct?

         2              MR. HUMPHREYS:   That's correct, Your Honor, because it

         3    would be fact-dependent and I think goes to show why these -- I

         4    refer in here -- why these claims should be brought up in

         5    individual cases through the Privacy Act and individual

         6    plaintiffs, not the APA.

         7              If one could point to a disclosure and harm from it,

         8    you would then get to the more granular, what data was

         9    disclosed, when, and for what purpose, which I think you would

        10    need to know, in order to carry a routine use.

        11              THE COURT:   All right.    I didn't see any documentation

        12    in the administrative record about any disclosure or the purpose

        13    of a disclosure for routine use, so -- you agree with that,

        14    right?

        15              MR. HUMPHREYS:   Yes, Your Honor.

        16              THE COURT:   All right, okay.

        17              Okay.   Let's talk about irreparable harm.         Your brief

        18    largely just refers to the other judges in the District of

        19    Columbia and Eastern District of Virginia, and now -- yeah, the

        20    most recent one is out of D.C.

        21              Those courts have found no irreparable harm.         Tell me

        22    why they're right.

        23              MR. HUMPHREYS:   A couple of reasons, Your Honor.

        24              I think we would, of course, as we've discussed, find

        25    that there's no -- or we would -- we're not able to find -- we



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         1    would argue there is no standing here and then sort of --

         2                THE COURT:   All right.    If there's no standing --

         3                MR. HUMPHREYS:   Right, if there's no standing, there's

         4    clearly no irreparable harm, that's right, Your Honor.

         5                THE COURT:   Okay.   Then let me ask you this.

         6                MR. HUMPHREYS:   Yes.

         7                THE COURT:   If I find standing based on the same

         8    theory I found standing at the TRO stage, is there irreparable

         9    harm?     In your view, do they rise and fall with each other?

        10                MR. HUMPHREYS:   No, Your Honor.     I think that for

        11    irreparable harm, there's case law, including in the

        12    Fourth Circuit, suggesting that -- or holding that if money

        13    damages can -- the same argument applies in both standing and

        14    irreparable harm, but it's, I think, conceptually distinct, that

        15    if you can be remedied at a later point by money damages, as one

        16    could be through the Privacy Act, that that is not irreparable

        17    harm.

        18                THE COURT:   How can these plaintiffs, if they have

        19    standing, be rem- -- their damage be remedied or their harm

        20    remedied through money damages?

        21                MR. HUMPHREYS:   That is the --

        22                THE COURT:   I mean, you would say, there has to be,

        23    you know, identity theft or some public disclosure that hurt

        24    their reputation.

        25                MR. HUMPHREYS:   Something like that, Your Honor, and



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         1    that could be remedied, yes.

         2              THE COURT:   All right.    But one of the judges in D.C.

         3    found standing based on intrusion upon seclusion but no

         4    irreparable harm.

         5              MR. HUMPHREYS:   That's correct, Your Honor,

         6    Judge Kollar-Kotelly in the --

         7              THE COURT:   Right.   So how do you reconcile that with

         8    what you just said?

         9              MR. HUMPHREYS:   Because I think, for the extraordinary

        10    remedy of a preliminary injunction, that irreparable harm

        11    requires a clear imminent showing even more than Article III

        12    standing and that that can't be remedied at a later date, and

        13    because the injuries here can be remedied at a later date

        14    through money damages, that there is a delta between standing

        15    and irreparable harm, with irreparable harm being the more

        16    burdensome showing for Plaintiffs.

        17              THE COURT:   Is it still the government's position that

        18    the DOGE affiliates at all three agencies have a need to know

        19    the PII in the systems that they have access to?

        20              MR. HUMPHREYS:   Yes, Your Honor, by virtue of their

        21    job duties, yes.

        22              THE COURT:   Okay, all right.

        23              All right.   Is there anything else, Mr. Humphreys?

        24              MR. HUMPHREYS:   I would say, Your Honor, if the Court

        25    is inclined to grant a preliminary injunction, that there should



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         1    be some guidance as to what the government can do to bring

         2    itself within compliance, I mean, if it's that the government

         3    needs to write a memo for each specific person, or background

         4    checks, or whatever it is.

         5               I don't think that this sort of theory of Plaintiffs

         6    that there is final agency action here is workable if it

         7    effectively shuts down agency operations for any agency employee

         8    with whom Plaintiffs disagree who are carrying out the policy

         9    goals of the agency; I think there has to be, eventually, some

        10    route for the policymakers within an agency to get their chosen

        11    people within data systems, access to.

        12               And I think, you know, in SDNY, Judge Vargas has set

        13    out a process to show that certain, you know, trainings have

        14    been accomplished.     We don't think that's necessary or

        15    appropriate, but we would ask for some guidance as to how the

        16    Court -- or how the agencies can bring themselves into

        17    compliance to be able to do the work of the agency.

        18               THE COURT:   Doesn't that assume that they have a need

        19    to know?   I mean, we're just -- we're talking in circles, here.

        20    If they don't have a need to know, then they're not entitled to

        21    it.   So if you were able -- so there's that problem.

        22               MR. HUMPHREYS:    Yes, Your Honor.

        23               THE COURT:   The other issue is, I've seen nothing in

        24    the record indicating whether or not PII can be redacted or has

        25    even been contemplated.     I understand from certain documents in



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         1    the record and also from privacy impact statements and publicly

         2    available documents that redactions in at least some of the

         3    systems is possible, but I haven't seen any of that in the

         4    record or in the government's briefing.

         5              If you need some water, take your time.

         6              MR. HUMPHREYS:    No, thank you.     Excuse me, Your Honor.

         7              THE COURT:   All right.

         8              MR. HUMPHREYS:    Yes, as discussed, we can't point you

         9    to anything specifically in the record to that.

        10              THE COURT:   Yeah.    Okay, all right.     Thank you.

        11              MR. HUMPHREYS:    Thank you, Your Honor.

        12              THE COURT:   Actually, Mr. Humphreys, if I were to

        13    grant the PI as to one or more of the agencies in some fashion,

        14    is the government going to appeal?

        15              MR. HUMPHREYS:    That's ultimately a decision for the

        16    Solicitor General, Your Honor.      I can't comment on that; I just

        17    don't know.

        18              THE COURT:   All right.     Because I've got the

        19    plaintiffs asking for expedited discovery and an expedited

        20    briefing schedule if I were to grant a PI.        Of course, all of

        21    that would be unnecessary if there's notice of appeal to the

        22    Fourth Circuit, so ...

        23              MR. HUMPHREYS:    As I said, it's the Solicitor

        24    General's decision.    I think there's a fair chance, Your Honor.

        25              THE COURT:   All right.     Let's take it step by step.



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         1               MR. HUMPHREYS:     Thank you, Judge.

         2               THE COURT:    All right.

         3               Ms. Hu, let's start where Mr. Humphreys left off.           The

         4    government is asking, if I do enter a preliminary injunction,

         5    for some guidance as to how they could get into compliance with

         6    the law.   What is your response to that?        I think Judge Vargas

         7    was doing something -- something like that in New York.

         8               MS. HU:     Your Honor, our response there is that we

         9    think the government -- sorry, not the government; the Court's

        10    description of DOGE affiliates, which adopted the government's

        11    suggestion last time, was appropriate and that what the

        12    government should have done here for Ms. Scales and for any

        13    other employees, where they are not sure if the individual falls

        14    within the scope of the Court's order, is to do as they did in

        15    the SDNY action, which is to submit a filing to the Court

        16    seeking clarification as to whether this individual falls within

        17    the scope of the order.

        18               Clearly, they are able to identify the relevant

        19    universe of people, as they have done here, and to the extent

        20    they believe some exception applies, I think I heard that their

        21    argument there was, Ms. Scales is Chief of Staff.           That may well

        22    be, but it is not for the government to decide, unilaterally,

        23    whether, by dint of someone's position, somehow they have a need

        24    to know.   They can seek permission from the Court to disclose

        25    information if they believe that the standards have been



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         1    satisfied under the Privacy Act.

         2                THE COURT:    So your position is, I don't tell them how

         3    to remedy it; they come back and say, this person does not meet

         4    that definition, or this particular person does have a need to

         5    know.     Is that what you're suggesting the government should do?

         6                MS. HU:     I think that is one possibility, Your Honor.

         7                I think to the extent you wish to provide additional

         8    guidance, it may be possible, through the administrative record,

         9    here, to identify people such as ED-4 or people such as OPM-2 or

        10    -5, who have received notices of appointment or some other job

        11    description that required them or that states that they should

        12    be given access, or it should be whomever these memos -- right,

        13    these memos use the term "DOGE" persons, like the memo from

        14    Education I think says -- specifically invokes DOGE access.

        15                So whomever the agency contemplated that these memos

        16    applied to, that is one way to also guide the decision-making

        17    here or the clarifying guidance that the government has

        18    requested.

        19                THE COURT:    Okay.    Let's talk about Garey, the

        20    Fourth Circuit case that I discussed with Mr. Humphreys.         Now,

        21    Mr. Humphreys, you know, I think appropriately, and much to his

        22    great credit, admitted he didn't quite remember the facts, but

        23    when I summarized some of them for him, he suggested the case

        24    was different because the information was disclosed -- I don't

        25    know if he knows this, but to a lawyer or a lawyer obtained it;



                                             JA793
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         1    I'm not sure it was -- I'm not sure how the lawyer got it, and

         2    that that lawyer would be akin, in this case, to someone outside

         3    the government.

         4              What is your position on Garey and that interpretation

         5    of it?

         6              MS. HU:     Your Honor, I don't think that the

         7    distinction between unauthorized access to someone within the

         8    government versus to a lawyer is a distinction recognized in the

         9    tort for intrusion upon seclusion or is a distinction that was

        10    even identified within Garey.      I think Garey's principles were

        11    quite clear, and I think they do apply with full force here.

        12              And I would actually note that Your Honor's analogy to

        13    the "home," to your data being housed in like a file cabinet

        14    that the government maintains, is on all fours, actually, with

        15    an example given in the restatement for torts, where they

        16    identify one of the examples of intrusion upon seclusion is, if

        17    a person brings a fake court subpoena to a bank and demands

        18    information about an individual's finances, the bank holds that

        19    information for a person, and if they disclose that information,

        20    that is obviously an intrusion upon seclusion.

        21              And I think that that is what we have here.          The

        22    government is the safeguard agent for these records, these

        23    highly sensitive records about individual people, including

        24    Plaintiffs, and their decision to open the vault doors, so to

        25    speak, to DOGE affiliates is intrusion upon seclusion.



                                           JA794
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         1               And so I think that Your Honor has it exactly right;

         2    I think the principles from Garey apply with full force here,

         3    and I think the analogy itself works because of what the

         4    restatement of torts says.

         5               THE COURT:    All right.     Anything else from your

         6    perspective?

         7               MS. HU:     I think, Your Honor, just two points very

         8    briefly.

         9               At varying points during today's argument, the

        10    government has suggested that Plaintiffs are motivated by

        11    politics or because Plaintiffs don't like the people within

        12    DOGE, and that is why we have brought this suit.

        13               I want to make the record very clear; that is not why

        14    Plaintiffs brought this suit.       Plaintiffs brought this suit

        15    because they are deeply concerned about the amount of

        16    information that has been disclosed, without any apparent need

        17    to know and in violation of the Privacy Act.

        18               I think that that is -- it is a great disservice to

        19    characterize this as a political act; it was not.           It is an act

        20    brought by concerned citizens, by everyday Americans who believe

        21    and trust in the government when they hand over their

        22    information, entrusting the government to keep and safeguard

        23    that information.      That is not what happened here, and that is

        24    why they brought their suit.       So I want to set the record clear

        25    on that.



                                            JA795
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         1              And I think the second point I would just make is,

         2    Your Honor had an exhaustive back-and-forth exchange with the

         3    government about the need to know, and I think my friend on the

         4    other side was not able to identify any need to know in the

         5    administrative record.

         6              And I would just point out a couple brief responses.

         7    I think he directed Your Honor to some documents in Education.

         8    Those documents purportedly setting forth the scope of work were

         9    dated February 12th.    That is one full week after Education

        10    issued the memorandum authorizing access to all DOGE affiliates.

        11    And so even if you were to consider the February 12th memo as

        12    somehow post hoc establishing the scope of duties, they would

        13    not be sufficient, but in this particular case, because they

        14    postdate the decision to grant access, it cannot have been that

        15    that need to know existed at the time, February 5th.

        16              On OPM --

        17              THE COURT:    Well, it could have existed; it just

        18    wasn't documented yet.

        19              MS. HU:     I don't think there is a basis to conclude

        20    that it existed on this record, yes.

        21              For OPM, I would say that my friend on the other side

        22    said we can simply repeat the notice of personnel action form

        23    language for all of the OPM employees.

        24         (Reporter requesting clarification.)

        25              MS. HU:     My friend on the other side said that we can



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         1    simply repeat the generic language of some of the OPM DOGE

         2    affiliates' duties and apply them across the board to all of the

         3    OPM DOGE affiliates.     I don't think that works, for two reasons.

         4              The first and most obvious is that this Notice of

         5    Personnel Action Form is missing for all but three OPM

         6    DOGE affiliates.      So there is no basis to conclude that those

         7    were the other 15 DOGE affiliates' duties.

         8              The second is that as I think my friend on the other

         9    side read out loud, the description itself is so generic that it

        10    could encompass virtually anything; it does not articulate a

        11    specific need to know the personally identifiable information

        12    contained within OPM systems.

        13              And then, finally, Your Honor, on Treasury, I would

        14    say that there is nothing in the record about Krause being

        15    granted access.    The only information that exists in the record

        16    is on page 65, ECF stamped page 65 of 51-2.          At the top of that

        17    page, it says, "USDS/DOGE requested to be granted 'over the

        18    shoulder' access to monitor Fiscal Service personnel, conducting

        19    payment processing roles, which was approved by Fiscal Service

        20    on January 23rd, 2025."

        21              It does not identify Krause as the person who received

        22    that approval, and it does not -- the record does not include

        23    any documentation regarding either the request for this

        24    over-the-shoulder access or the decision to grant that access on

        25    January 23rd, 2025.



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         1                And then, finally, Your Honor, on the point about

         2    monetary damages, I will simply direct the Court's attention to

         3    a case called Calvillo Manriquez v. DeVos.            This is at

         4    345 F. Supp. 3d 1077, pin cite 1106, and that Court found there

         5    was irreparable harm for the violation of the Privacy Act,

         6    notwithstanding the existence of monetary damages, because the

         7    emotional distress suffered by Plaintiffs from the unauthorized

         8    disclosure of their information was not something that could be

         9    remedied by monetary damages.        So that provides an additional

        10    basis for concluding that a monetary damages action under the

        11    Privacy Act is not an adequate remedy.

        12                THE COURT:    Did you just research and find that case

        13    in court?

        14                MS. HU:     No, Your Honor, I have known of this case's

        15    existence for quite some time, but the government I don't

        16    believe has leaned as heavily into the monetary damages argument

        17    as they did today, so I thought it was appropriate to identify

        18    it for you.

        19                THE COURT:    All right.     Okay.

        20                Anything else?

        21                MS. HU:     No, Your Honor.

        22                THE COURT:    All right.     Anything else from the

        23    government?

        24                MR. HUMPHREYS:     No, Your Honor.      Thank you.

        25                THE COURT:    All right, just give me one moment.



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         1              Maybe I can't to this alone.

         2              So Mr. Humphreys, let me just clarify the

         3    OPM employees.    We've got Acting Director Ezell and Chief of

         4    Staff Scales, who according to the administrative record, have

         5    access to the systems and are also DOGE affiliates.           Would those

         6    two have access to OPM's systems --

         7              MR. HUMPHREYS:    I'm sorry, Your Honor.

         8              THE COURT:   No problem.

         9              Would Ezell and Scales have access to OPM's systems

        10    without the DOGE agenda or the DOGE Executive Order?

        11              MR. HUMPHREYS:    Yes, absolutely, Your Honor, as would

        12    the other employees, too, people who were hired on -- within the

        13    Office of the Director.

        14              THE COURT:   So the other employ- -- but you've

        15    identified those OPM people as DOGE affiliates, so people who

        16    are accessing the information for the purpose of achieving the

        17    DOGE mission.

        18              MR. HUMPHREYS:    I mean, in a sense, Your Honor, the

        19    DOGE mission is somewhat pervasive, and it's hard for us to

        20    clearly define.

        21              THE COURT:   Thank you for admitting that.

        22              MR. HUMPHREYS:    Well, I mean -- well, it's -- OPM acts

        23    at the direction of the President, and various pre- -- you know,

        24    Executive Orders, and through -- direction through the Director,

        25    or the Acting Director, and so to say that Mr. --



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         1    Acting Director Ezell or the Chief of Staff -- you know, to go

         2    and represent that they're doing nothing related to DOGE is just

         3    not something we can do.

         4               They're certainly not the people we identified in our

         5    declarations in opposition to the motion for a temporary

         6    retraining order as the people who are in the systems

         7    implementing what we understood Plaintiffs to mean by, you know,

         8    Executive Order and DOGE, but I don't think one can completely

         9    separate out DOGE from other work that the Office of the

        10    Director may be doing.

        11               THE COURT:   All right.     It's not your fault, but it's

        12    clear as mud to me.     All right.

        13               MR. HUMPHREYS:    Thank you, Your Honor.

        14               THE COURT:   Okay.    I will not be ruling from the

        15    bench; I need additional time to consider both the record that

        16    came in on Saturday afternoon and additional time to write an

        17    opinion.

        18               So I am further extending the TRO another seven days.

        19    That will make it expire 28 days after I issued it, which is the

        20    longest that it can go.     It will expire on Monday, March 24th,

        21    at 8:00 a.m. or, if I issue a written opinion, sooner.

        22               As I stated, the good cause is the production of an

        23    administrative record just two days ago -- the final production

        24    of the administrative record two days ago.         This PI motion just

        25    became ripe on Friday.     I need additional time to consider the



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         1    arguments presented today and to draft an opinion that states

         2    all my reasons for my ruling.

         3              So for those reasons, I'll extend the TRO until

         4    Monday, March 24th, at 8:00 a.m., which is exactly 28 days from

         5    the date that I issued it, or until I rule on the PI, whichever

         6    is sooner.

         7              After I enter my ruling, I will likely ask the parties

         8    to meet and confer about next steps, and then we can have a

         9    phone call.

        10              Anything else from the plaintiffs' perspective?

        11              MS. HU:     Nothing further, Your Honor.

        12              THE COURT:    Mr. Humphreys.

        13              MR. HUMPHREYS:     Nothing further, Your Honor,

        14    thank you.

        15              THE COURT:    All right.

        16              Thank you all very much.

        17              THE COURTROOM DEPUTY:       All rise.    This Honorable Court

        18    now stands adjourned.

        19         (The proceedings were adjourned at 12:28 p.m.)

        20

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                                           JA801
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         1                     CERTIFICATE OF OFFICIAL REPORTER

         2         I, Patricia Klepp, Registered Merit Reporter, in and for

         3    the United States District Court for the District of Maryland,

         4    do hereby certify, pursuant to 28 U.S.C. § 753, that the

         5    foregoing is a true and correct transcript of the

         6    stenographically-reported proceedings held in the above-entitled

         7    matter and the transcript page format is in conformance with the

         8    regulations of the Judicial Conference of the United States.

         9                              Dated this 23rd day of March, 2025.

        10

        11
                                        ______________/s/______________________
        12                              PATRICIA KLEPP, RMR
                                        Official Court Reporter
        13

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                                         JA802
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

        AMERICAN FEDERATION OF                          *
        TEACHERS, et al.,
                                                        *
               Plaintiffs,
                                                        *
        v.                                                          Civ. No. DLB-25-0430
                                                        *
        SCOTT BESSENT, et al.,
                                                        *
               Defendants.
                                                        *

                                                    ORDER

               On March 24, 2025, the Court granted a preliminary injunction enjoining the U.S.

        Department of Education (“Education”); Denise L. Carter, the Acting Secretary of Education; the

        Office of Personnel Management (“OPM”); Charles Ezell, the Acting Director of OPM; the U.S.

        Department of the Treasury (“Treasury”); Scott Bessent, the Secretary of the Treasury; and their

        officers, agents, servants, employees, and attorneys from disclosing the personally identifiable

        information of the plaintiffs and the members of the plaintiff organizations to any “DOGE”

        affiliates.” 1 ECF 69. Within hours of the ruling, the defendants filed a notice of appeal of the

        preliminary injunction order to the United States Court of Appeals for the Fourth Circuit, ECF 70,

        and moved to stay the preliminary injunction pending appeal, ECF 72. The plaintiffs opposed the

        motion to stay. ECF 75. The motion to stay pending appeal is denied.




        1
          The Department of Government Efficiency (“DOGE”) was established on January 20, 2025 by
        Executive Order 14,158. 90 Fed. Reg. 8441 (Jan. 29, 2025). The Court’s March 24 Order defines
        “DOGE affiliates” as “individuals whose principal role is to implement the DOGE agenda as
        described in Executive Order 14,158 and who were granted access to agency systems of records
        for the principal purpose of implementing that agenda.” ECF 69, ¶ 1. “DOGE affiliates” includes
        Thomas Krause and Ryan Wunderly but does not include OPM Acting Director Ezell, OPM Chief
        Information Officer Greg Hogan, or OPM Chief of Staff Amanda Scales. Id.



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                Courts consider four factors when determining whether to stay an order pending appeal:

        “(1) whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

        (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

        will substantially injure the other parties interested in the proceeding; and (4) where the public

        interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill, 481 U.S.

        770, 776 (1987)). Of these factors, “[t]he first two . . . are the most critical.” Id. The party seeking

        the stay bears the burden of showing that the circumstances justify an exercise of judicial

        discretion. Id. at 433–34. “A stay is not a matter of right, even if irreparable injury might otherwise

        result.” Id. at 433 (quoting Virginian Ry. v. United States, 272 U.S. 658, 672 (1926)).

                The defendants argue that they will likely succeed on appeal because the plaintiffs do not

        have standing, have not challenged a final agency action reviewable under the Administrative

        Procedure Act, and are not likely to succeed on the merits of their claims. The defendants made

        these same arguments twice before—once during the temporary restraining order briefing and then

        again during the preliminary injunction briefing. And twice, the Court rejected them. See ECF 38,

        at 10–29; ECF 68, at 14–61. These stale arguments are not grounds for a stay pending appeal.

                The remaining factors—irreparable harm to the defendants, prejudice to the plaintiffs, and

        the public interest—do not weigh in favor of a stay. The Court has found—and stands by its

        finding—that the plaintiffs will suffer irreparable harm without an injunction. See ECF 68, at 61–

        65. As for harm to the defendants, the government argues that the injunction “impinges on the

        President’s broad authority over and responsibility for directing employees in important work to

        modernize federal government systems and identify fraud, waste, and abuse throughout the federal

        government.” ECF 72, at 5. If the injunction “impinges on the President’s broad authority,” that is

        a direct consequence of the likely unlawful actions of the agency defendants. The President’s




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        power to direct federal agencies to implement his agenda does not authorize the agencies to

        disregard the law. By entering a preliminary injunction, the Court is upholding the law, not, as the

        government says, “curtail[ing] the Executive Branch’s core duty to manage the day-to-day

        operations of its agencies.” ECF 72, at 5. If an injunction curtails the management of the daily

        operations of the federal agencies, that, too, is a direct consequence of the likely unlawful agency

        actions. The public interest lies in protecting the privacy rights of individuals who gave sensitive

        personal information to the federal government with the understanding that the government would

        protect this information from unlawful disclosure. The likely unauthorized disclosure of their

        information to DOGE affiliates breaches the public’s trust and is an unlawful government intrusion

        into these individuals’ private lives. The public interest does not favor a stay of the preliminary

        injunction.

               The defendants’ motion to stay the preliminary injunction, ECF 72, is DENIED.




              March 28, 2025
        Date: ______________
                                                                     Deborah L. Boardman
                                                                     United States District Judge




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                                CERTIFICATE OF SERVICE

              I hereby certify that on April 14, 2025, I electronically filed the

        foregoing joint appendix with the Clerk of the Court for the United States

        Court of Appeals for the Fourth Circuit by using the appellate CM/ECF

        system. Service will be accomplished by the appellate CM/ECF system.


                                                     s/ Jack Starcher
                                                    Jack Starcher
